Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Strategies 360, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Western Consultants
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1505 Westlake Ave N, Suite 1000
                                  Seattle, WA 98109
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  King                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.strategies360.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
               Case 23-12303-TWD                   Doc 1        Filed 11/27/23           Ent. 11/27/23 17:49:33                Pg. 1 of 127
Debtor    Strategies 360, Inc.                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5418

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 23-12303-TWD                      Doc 1     Filed 11/27/23              Ent. 11/27/23 17:49:33                    Pg. 2 of 127
Debtor    Strategies 360, Inc.                                                                            Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                 Case 23-12303-TWD                          Doc 1       Filed 11/27/23             Ent. 11/27/23 17:49:33                  Pg. 3 of 127
Debtor   Strategies 360, Inc.                                                          Case number (if known)
         Name

                                $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                Case 23-12303-TWD            Doc 1       Filed 11/27/23         Ent. 11/27/23 17:49:33            Pg. 4 of 127
Debtor    Strategies 360, Inc.                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 27, 2023
                                                  MM / DD / YYYY


                             X /s/ John Rosenberg                                                         John Rosenberg
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X /s/ Thomas A. Buford                                                        Date November 27, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Thomas A. Buford
                                 Printed name

                                 Bush Kornfeld LLP
                                 Firm name

                                 601 Union St., Suite 5000
                                 Seattle, WA 98101-2373
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (206) 292-2110                Email address      tbuford@bskd.com

                                 WSBA 52969 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 Case 23-12303-TWD                 Doc 1        Filed 11/27/23             Ent. 11/27/23 17:49:33                 Pg. 5 of 127
Case 23-12303-TWD   Doc 1   Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 6 of 127
Fill in this information to identify the case:

Debtor name         Strategies 360, Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       November 27, 2023               X /s/ John Rosenberg
                                                           Signature of individual signing on behalf of debtor

                                                            John Rosenberg
                                                            Printed name

                                                            Chief Financial Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




           Case 23-12303-TWD                     Doc 1        Filed 11/27/23            Ent. 11/27/23 17:49:33              Pg. 7 of 127
 Fill in this information to identify the case:
 Debtor name Strategies 360, Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Basis Global              Amy Patten                Professional                                                                                                $65,188.55
 Technologies, Inc                                   Services
 11 E Madison St.,         amy.patten@basis.
 6th Floor                 com
 Chicago, IL 60602
 Brave the Woods                                     Professional                                                                                                  $5,800.00
 1054 W Darrah DR          hello@bravethewo          Services
 Meridian, ID 83646        ods.com
                           208-360-8168
 Eidolon                   Chris Monroe              Professional                                                                                                $78,473.00
 9803 NewHaven                                       Services
 Loop
 Anchorage, AK             907-632-5575
 99507
 Eric Sorenson                                       Judgment                                                                                                $6,163,768.90
 c/o Christopher M.        Christopher.Wyant
 Wyant                     @klgates.com
 K&L Gates                 206-370-7893
 925 Fourth Avenue,
 Suite 2900
 Seattle, WA 98104
 ESP                       K. Catlin                 Professional                                                                                                  $6,435.26
 317 East 37th Street                                Services
 Boise, ID 83714           kcatlin@espdirect
                           mail.com
                           208-345-4644
 Facebook                  Accounts                  Professional                                                                                              $133,075.22
 15161 Collections         Receiveable               Services
 Center Drive
 Chicago, IL 60693
                    512-516-6101
 Google Inc.                                         Professional                                                                                                $87,568.36
 P.O. Box 883654                                     Services
 Los Angeles, CA
 90088
 Hooligan                                            Professional                                                                                                  $8,300.00
 119 5th Ave.                                        Services
 New York, NY 10003 215-529-1991

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                    Case 23-12303-TWD              Doc 1         Filed 11/27/23             Ent. 11/27/23 17:49:33                         Pg. 8 of 127
 Debtor    Strategies 360, Inc.                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 In the Bag                                 Professional                                                                                                         $67,868.30
 Promotions                accounts@itbprom Services
 480 N. Latah St.          os.com
 Boise, ID 83706           208-853-2655
 Jago Inc.                 Abraham Godong   Professional                                                                                                       $159,460.23
 4321 196th St. SW,                         Services
 Suite B-246               abeg@gojago.com
 Lynnwood, WA              206-612-2267
 98036
 Jago Inc.                 Abraham Godong            Professional                                                                                              $146,474.71
 4322 196th St. SW,                                  Services
 Suite B-246               abeg@gojago.com
 Lynnwood, WA              206-612-2267
 98036
 KeyBank National                                    Personal Property                                  $3,665,639.30                         $0.00          $3,665,639.30
 Association
 1301 5th Avenue
 Seattle, WA 98101
 KGS Research Inc.                                   Professional                                                                                                $37,127.75
 (Revolution Capital)      info@kgsresearch.         Services
 1050 E Flamingo           com
 RD, Suite E120            702-602-7701
 Las Vegas, NV
 89119
 MOI - DC                                            Goods                                                                                                       $17,712.52
 Box 826500                ar@moii.com
 Philadelphia, PA          410-265-5600
 19182
 Sago (Schlesinger                          Professional                                                                                                           $6,337.50
 Group)                    accounts@sago.co Services
 PO Box 360764             m
 Pittsburgh, PA            732-906-1122
 15251
 Smith Bunday                                        Professional                                                                                                $13,100.00
 Berman                                              Services
 Britton, P.S.             425-827-8255
 11808 Northup Way,
 Suite 240
 Bellevue, WA 98005
 Strategic Research                                  Professional                                                                                                $22,584.69
 Assoc. LLC                                          Services
 29 W Pacific Ave.         509-324-6960
 Spokane, WA 99201
 Team Labs, Inc.                                     Professional                                                                                                  $7,002.00
 228 Park Ave S                                      Services
 PMB 85099
 New York, NY 10003
 The Knowledge Mill,                        Professional                                                                                                         $11,748.00
 LLC                       kate@theknowledg Services
 Attn: Kate Dove           emill.org
 813 N Ford St.            818-429-4091
 Burbank, CA 91505

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                    Case 23-12303-TWD              Doc 1         Filed 11/27/23             Ent. 11/27/23 17:49:33                         Pg. 9 of 127
 Debtor    Strategies 360, Inc.                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Treasure Valley                                     Professional                                                                                                $11,253.51
 Litho                                               Services
 29 N Phillippi St         208-375-7700
 Boise, ID 83706




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3




                    Case 23-12303-TWD             Doc 1         Filed 11/27/23             Ent. 11/27/23 17:49:33                         Pg. 10 of 127
 Fill in this information to identify the case:

 Debtor name            Strategies 360, Inc.

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                                                                        Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        8,781,083.80

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        8,781,083.80


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        3,665,639.30


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        7,073,076.50


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $         10,738,715.80




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com



             Case 23-12303-TWD                                      Doc 1               Filed 11/27/23                        Ent. 11/27/23 17:49:33                               Pg. 11 of 127
Fill in this information to identify the case:

Debtor name         Strategies 360, Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     KeyBank                                           Zero Balance Account                  5677                                             $0.00



                   KeyBank
          3.2.     Balace as of 11/21/23 - fluctuates daily          Checking                              4654                                  $668,718.83




          3.3.     KeyBank                                           Checking                              6154                                             $0.00




          3.4.     KeyBank                                           Checking                              7018                                             $0.00



                   Bank of America
          3.5.     Balance as of November 22,2023                    Checking                              9722                                $1,524,067.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                 $2,192,785.83
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1



           Case 23-12303-TWD                     Doc 1     Filed 11/27/23            Ent. 11/27/23 17:49:33                    Pg. 12 of 127
Debtor           Strategies 360, Inc.                                                     Case number (If known)
                 Name

6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     See attachment                                                                                                   $190,272.09



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                      $190,272.09
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                   5,057,906.46     -                                 0.00 = ....              $5,057,906.46
                                        face amount                         doubtful or uncollectible accounts
                                       Accounts Receivable generated from business operations


          11b. Over 90 days old:                       541,674.21      -                                0.00 =....                  $541,674.21
                                        face amount                         doubtful or uncollectible accounts
                                       Accounts Receivable generated from business operations

12.       Total of Part 3.                                                                                                    $5,599,580.67
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

                                                                                                   Valuation method used   Current value of
                                                                                                   for current value       debtor's interest

14.       Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
          partnership, or joint venture
          Name of entity:                                               % of ownership
                    Political Group LLC
          15.1.     Delaware limited liability company                         100         %                                          Unknown



                    S360 M&A Holding Group Inc.
          15.2.     Washington corporation                                     100         %                                          Unknown


Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                     page 2



          Case 23-12303-TWD                     Doc 1         Filed 11/27/23         Ent. 11/27/23 17:49:33            Pg. 13 of 127
Debtor       Strategies 360, Inc.                                                           Case number (If known)
             Name



16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
          Describe:


17.       Total of Part 4.                                                                                                               $0.00
          Add lines 14 through 16. Copy the total to line 83.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          Office tables, chairs, desks, etc.
          See attachment to B39
          Cost is 429,334.88                                                              $0.00                                      $146,625.49



40.       Office fixtures
          Tenant Improvements
          See Attachment to B39
          Cost is $307,474.79                                                             $0.00                                       $34,716.15



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Laptops, PCs, Software
          See Attachment to B39
          Cost is $1,165,315.12                                                           $0.00                                      $495,023.57



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                          $676,365.21
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
             Yes

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3



          Case 23-12303-TWD                    Doc 1         Filed 11/27/23            Ent. 11/27/23 17:49:33           Pg. 14 of 127
Debtor        Strategies 360, Inc.                                                        Case number (If known)
              Name

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                    See attached                                                        $0.00                                                     $0.00




56.        Total of Part 9.                                                                                                                  $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used    Current value of
                                                                        debtor's interest             for current value        debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 4



           Case 23-12303-TWD                   Doc 1        Filed 11/27/23           Ent. 11/27/23 17:49:33               Pg. 15 of 127
Debtor        Strategies 360, Inc.                                                         Case number (If known)
              Name

           Domains:
           strategies360.net
           strategies360.info
           strategies360.org
           strategies360.ca
           westernconsultants.com

           Websites:
           strategies360.com
           resources.strategies360.com                                               Unknown                                               Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                                  $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                                Current value of
                                                                                                                                debtor's interest


71.        Notes receivable
           Description (include name of obligor)
                                                                       100,000.00 -                                    0.00 =
           Obligor: Ron Dotzauer                                 Total face amount      doubtful or uncollectible amount                 $100,000.00



72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

           See attached.                                                                                                                   Unknown



74.        Causes of action against third parties (whether or not a lawsuit

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                           page 5



           Case 23-12303-TWD                    Doc 1        Filed 11/27/23           Ent. 11/27/23 17:49:33               Pg. 16 of 127
Debtor      Strategies 360, Inc.                                                    Case number (If known)
            Name

         has been filed)

         Claims against Anthony Trujillo and Jeniffer Trujillo                                                          Unknown
         Nature of claim       Breach of employment and
                               purchase contracts. Amount
                               requested is a minimum.
         Amount requested                    $1,500,000.00



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

         2024 Season Tickets Seattle Mariners                                                                           $22,080.00




78.      Total of Part 11.                                                                                           $122,080.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                          page 6



         Case 23-12303-TWD                    Doc 1        Filed 11/27/23      Ent. 11/27/23 17:49:33        Pg. 17 of 127
Debtor          Strategies 360, Inc.                                                                                Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                        $2,192,785.83

81. Deposits and prepayments. Copy line 9, Part 2.                                                               $190,272.09

82. Accounts receivable. Copy line 12, Part 3.                                                                 $5,599,580.67

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                        $676,365.21

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                $122,080.00

91. Total. Add lines 80 through 90 for each column                                                         $8,781,083.80            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $8,781,083.80




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 7



            Case 23-12303-TWD                               Doc 1           Filed 11/27/23                    Ent. 11/27/23 17:49:33                 Pg. 18 of 127
    Strategies 360, Inc.
    Attachment to Schedule B #7 – Security Deposits

     Property Address                                     Deposit
     745 W 4th Avenue                                     $4,608.00 (Feb 2018)
     Suite 400
     Anchorage, AK 99501
     4455 E. Camelback Road                               $8,273.99 (Aug 2022)
     Suite D-145
     Phoenix, AZ 85018
     445 S Figueroa Street                                $12,896.54 (Feb 2020) + holding sublessee deposit of $12,136.00 (June 2023)
     Los Angeles, CA 90071
     (23rd Floor)
     555 Capitol Mall                                     $17,033.58 ($9,649.07 paid Jan 2020 upon first amendment/expansion, $7,384.51 paid
     Suite 180                                            May 2018)
     Sacramento, CA 95814
     4660 La Jolla Village Drive                          $1,333.50 (July 2023)
     San Diego, CA 92122
     Office %23250

     595 Pacific Avenue                                   $1,100 (Feb 2020)
     Floor 4
     San Francisco, CA 94133
     1660 Lincoln Street                                  $7,170.17 (Sept 2022)
     Suite 2500
     Denver, CO 80264



    Strategies 360, Inc.
    Attachment to Schedule B #7 – Security Deposits - 1
gk27cr010v
                                  Case 23-12303-TWD              Doc 1   Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 19 of 127
     Property Address                                     Deposit
     601 New Jersey Avenue NW                             $24,485.00 (March 2016)
     Washington, DC 20001

     850 Richards Street                                  $7,030.38 (July 2020)
     Suite 300
     Honolulu, HI 96813
     800 W Main Street                                    $6,114.33 (March 2021)
     Suite 1250
     Boise, ID 83702
     10801 W Charleston Blvd                              $8,410.35 (June 2013)
     Suite 520
     Las Vegas, NV 89135
     240 N. Broadway Street                               $4,827.24 (June 2015)
     Suite 215
     Portland, OR 97227
     919 Congress Avenue                                  $5,873.26 (moved out Sept 30, haven't received deposit back yet)
     Suite 1100
     Austin, TX 78701
     1018 Capitol Way S                                   $1,610 (Feb 2018)
     Suite 204
     Olympia, WA 98501
     20 Pacifica                                          $12,083.75 (Dec 2021) + waiting on mailed check of $3,000 for subleasee deposit part 1,
     Suite 260                                            then $3,390 due in Jan 2024 for deposit part 2
     Irvine, CA 92618
     1505 Westlake Avenue N                               $67,422 ($10,000 for 10th Fwloor June 2004 + $57,422 for 9th Floor Dec 2021)
     Suite 900 and 1000
     Seattle, WA 98109

    Strategies 360, Inc.
    Attachment to Schedule B #7 – Security Deposits - 2
gk27cr010v
                                  Case 23-12303-TWD              Doc 1   Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 20 of 127
Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture
 Category               System   Description               Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                        No.                                Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Furniture & Fixtures   5        Two Desks                 1/1/1994     M /HY      7
                                                                                          1,200.00       1,200.00         -              1,200.00       -
 Furniture & Fixtures   6        Phone System              11/18/1994   M /HY      7
                                                                                          900.00         900.00           -              900.00         -
 Furniture & Fixtures   7        Copier                    11/30/1994   M /HY      7
                                                                                          2,792.00       2,792.00         -              2,792.00       -
 Furniture & Fixtures   8        Carpeting                 12/1/1994    M /HY      7
                                                                                          621.00         621.00           -              621.00         -
 Furniture & Fixtures   10       Anywhere Chairs           1/1/1995     M /HY      5
                                                                                          476.00         476.00           -              476.00         -
 Furniture & Fixtures   30       Carpet                    1/1/1995     M /HY      7
                                                                                          891.00         891.00           -              891.00         -
 Furniture & Fixtures   11       File Cabinets             1/1/1995     M /HY      7
                                                                                          246.00         246.00           -              246.00         -
 Furniture & Fixtures   9        Workstation Desk          1/1/1995     M /HY      7
                                                                                          870.00         870.00           -              870.00         -
 Furniture & Fixtures   12       Underdesk Drawer          2/1/1995     M /HY      7
                                                                                          204.00         204.00           -              204.00         -
 Furniture & Fixtures   13       Underdesk Drawer          2/1/1995     M /HY      7
                                                                                          204.00         204.00           -              204.00         -
 Furniture & Fixtures   14       Underdesk Drawer          2/1/1995     M /HY      7
                                                                                          204.00         204.00           -              204.00         -
 Furniture & Fixtures   15       Desk                      3/1/1995     M /HY      7
                                                                                          2,070.00       2,070.00         -              2,070.00       -
 Furniture & Fixtures   16       Chairs (8)                4/1/1995     M /HY      7
                                                                                          792.00         792.00           -              792.00         -
 Furniture & Fixtures   17       Desk (3)                  4/1/1995     M /HY      7
                                                                                          1,898.00       1,898.00         -              1,898.00       -
 Furniture & Fixtures   18       Bookcase                  10/1/1995    M /HY      7
                                                                                          162.00         162.00           -              162.00         -
 Furniture & Fixtures   19       Worktable                 10/1/1995    M /HY      7
                                                                                          185.00         185.00           -              185.00         -
 Furniture & Fixtures   21       Desk, Chairs (2),         6/1/1996     M /HY      7
                                 Couch                                                    990.00         990.00           -              990.00         -
 Furniture & Fixtures   69       Art Work - Painting       12/1/1997    M /HY      0
                                 Livesay                                                  800.00         -                -              -              800.00
 Furniture & Fixtures   22       Phone System              8/5/1999     M /HY      7
                                                                                          3,272.00       3,272.00         -              3,272.00       -
 Furniture & Fixtures   24       File Cabinets and         3/20/2000    M /HY      7
                                 Typewriter                                               278.00         278.00           -              278.00         -

Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 1



                                 Case 23-12303-TWD     Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 21 of 127
 Category               System   Description               Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                        No.                                Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Furniture & Fixtures   4        Mahogany                  10/12/2001   M /HY      7
                                 Credenza                                                 238.00         238.00           -              238.00         -
 Furniture & Fixtures   3        Mahogany Desk             10/12/2001   M /HY      7
                                                                                          238.00         238.00           -              238.00         -
 Furniture & Fixtures   31       Office Furniture          1/8/2004     M /HY      7
                                                                                          761.00         761.00           -              761.00         -
 Furniture & Fixtures   43       L" Shaped Desks           8/25/2004    M /HY      7
                                 (8)"                                                     16,364.00      16,364.00        -              16,364.00      -
 Furniture & Fixtures   46       42 SQ Fusion Tops         8/25/2004    M /HY      7
                                 (2)"                                                     1,262.00       1,262.00         -              1,262.00       -
 Furniture & Fixtures   47       6 Staxx" Chairs           8/25/2004    M /HY      7
                                 w/Rondo Arms"                                            1,469.00       1,469.00         -              1,469.00       -
 Furniture & Fixtures   40       9 Staxx" Chairs"          8/25/2004    M /HY      7
                                                                                          2,203.00       2,203.00         -              2,203.00       -
 Furniture & Fixtures   32       Brown Leather             8/25/2004    M /HY      7
                                 Bench                                                    2,416.00       2,416.00         -              2,416.00       -
 Furniture & Fixtures   48       Chestnut Leather          8/25/2004    M /HY      7
                                 Lounge Chair                                             2,541.00       2,541.00         -              2,541.00       -
 Furniture & Fixtures   42       Elektra Fusion Top        8/25/2004    M /HY      7
                                                                                          3,482.00       3,482.00         -              3,482.00       -
 Furniture & Fixtures   37       Leather Club Chair        8/25/2004    M /HY      7
                                                                                          1,692.00       1,692.00         -              1,692.00       -
 Furniture & Fixtures   33       Leather Lounge            8/25/2004    M /HY      5
                                 Chairs (2)                                               4,519.00       4,519.00         -              4,519.00       -
 Furniture & Fixtures   38       Leather Love Seat         8/25/2004    M /HY      7
                                                                                          2,772.00       2,772.00         -              2,772.00       -
 Furniture & Fixtures   49       Leather Sofa              8/25/2004    M /HY      7
                                                                                          4,598.00       4,598.00         -              4,598.00       -
 Furniture & Fixtures   70       Mesh/Fabric               8/25/2004    M /HY      7
                                 Conference Chairs                                        16,218.00      16,218.00        -              16,218.00      -
                                 (37)
 Furniture & Fixtures   41       Oval Fusion               8/25/2004    M /HY      7
                                 Laminate Tops (2)                                        2,052.00       2,052.00         -              2,052.00       -
 Furniture & Fixtures   45       Privacy Panels - 2        8/25/2004    M /HY      7
                                 Workstations                                             8,631.00       8,631.00         -              8,631.00       -
 Furniture & Fixtures   44       Privacy Panels - 6        8/25/2004    M /HY      7
                                 Workstations                                             15,046.00      15,046.00        -              15,046.00      -
 Furniture & Fixtures   36       Utility Whiteboards       8/25/2004    M /HY      7
                                                                                          359.00         359.00           -              359.00         -
 Furniture & Fixtures   39       Walnut Coffee             8/25/2004    M /HY      7
                                 Table                                                    1,048.00       1,048.00         -              1,048.00       -
 Furniture & Fixtures   34       Whiteboards (4)           8/25/2004    M /HY      7
                                                                                          2,322.00       2,322.00         -              2,322.00       -
 Furniture & Fixtures   35       Whiteboards (4)           8/25/2004    M /HY      7
                                                                                          190.00         190.00           -              190.00         -

Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 2



                                 Case 23-12303-TWD     Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 22 of 127
 Category               System   Description              Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                        No.                               Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                        depreciation
 Furniture & Fixtures   25       Furniture and            9/4/2004     M /HY      7
                                 Equipment                                               660.00         660.00           -              660.00         -
 Furniture & Fixtures   51       Office Furniture         9/26/2004    M /HY      7
                                                                                         348.00         348.00           -              348.00         -
 Furniture & Fixtures   50       Refrigerator             9/26/2004    M /HY      7
                                                                                         870.00         870.00           -              870.00         -
 Furniture & Fixtures   23       Office Furniture         9/29/2004    M /HY      7
                                                                                         2,497.00       2,497.00         -              2,497.00       -
 Furniture & Fixtures   52       File Cabinet             10/6/2004    M /HY      7
                                                                                         2,015.00       2,015.00         -              2,015.00       -
 Furniture & Fixtures   53       Panels into              11/5/2004    M /HY      7
                                 Furniture                                               579.00         579.00           -              579.00         -
 Furniture & Fixtures   55       Hot Water                11/26/2004   M /HY      7
                                 Dispenser                                               500.00         500.00           -              500.00         -
 Furniture & Fixtures   58       Office Furniture         11/26/2004   M /HY      7
                                                                                         1,218.00       1,218.00         -              1,218.00       -
 Furniture & Fixtures   54       File Cabinets            11/29/2004   M /HY      7
                                                                                         3,440.00       3,440.00         -              3,440.00       -
 Furniture & Fixtures   56       Block Table              12/1/2004    M /HY      7
                                                                                         750.00         750.00           -              750.00         -
 Furniture & Fixtures   57       Lamps (3)                12/1/2004    M /HY      7
                                                                                         1,740.00       1,740.00         -              1,740.00       -
 Furniture & Fixtures   59       Coffee Table             12/17/2004   M /HY      7
                                                                                         950.00         950.00           -              950.00         -
 Furniture & Fixtures   60       Track Lights             12/17/2004   M /HY      7
                                                                                         149.00         149.00           -              149.00         -
 Furniture & Fixtures   26       Time Clock               6/15/2005    M /HY      7
                                                                                         237.00         237.00           -              237.00         -
 Furniture & Fixtures   61       Furniture and            7/1/2005     M /HY      7
                                 Equipment                                               3,635.00       3,635.00         -              3,635.00       -
 Furniture & Fixtures   27       Furniture                2/14/2006    M /HY      7
                                                                                         220.00         220.00           -              220.00         -
 Furniture & Fixtures   28       Chair                    4/13/2006    M /HY      7
                                                                                         314.00         314.00           -              314.00         -
 Furniture & Fixtures   62       Stonongton Gallery       2/16/2007    M /HY      7
                                 Art                                                     1,050.00       1,050.00         -              1,050.00       -
 Furniture & Fixtures   29       Lighting                 2/10/2009    M /HY      7
                                                                                         401.00         401.00           -              401.00         -
 Furniture & Fixtures   63       Desk - Dynamic           4/1/2009     M /HY      7
                                 Business                                                2,162.00       2,162.00         -              2,162.00       -
 Furniture & Fixtures   64       Conference Table         9/23/2009    M /HY      7
                                                                                         700.00         700.00           -              700.00         -
 Furniture & Fixtures   65       Couch                    9/23/2009    M /HY      7
                                                                                         1,200.00       1,200.00         -              1,200.00       -


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 3



                                 Case 23-12303-TWD    Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 23 of 127
 Category               System   Description               Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                        No.                                Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Furniture & Fixtures   66       Artopex Charlie           9/30/2009    M /HY      7
                                 Series LH Pedastal                                       565.00         565.00           -              565.00         -
 Furniture & Fixtures   67       Artopex Storage           9/30/2009    M /HY      7
                                 Unit w/ Wardrobe                                         796.00         796.00           -              796.00         -
 Furniture & Fixtures   71       Conference Table          9/30/2009    M /HY      7
                                                                                          538.00         538.00           -              538.00         -
 Furniture & Fixtures   2        Conference Table          5/17/2012    M /HY      7
                                                                                          3,491.00       3,491.00         -              3,491.00       -
 Furniture & Fixtures   1        Lobby Furniture           6/25/2012    M /HY      7
                                                                                          2,954.00       2,954.00         -              2,954.00       -
 Furniture & Fixtures   72       Arrowood 48x120           1/21/2013    M /HY      7
                                 Conference Table                                         1,367.12       1,367.12         -              1,367.12       -
 Furniture & Fixtures   73       CO - Office               10/21/2013   M /HY      7
                                 Furniture                                                17,784.51      17,784.51        -              17,784.51      -
 Furniture & Fixtures   74       Utah - Furniture          10/30/2013   M /HY      7
                                 Ikea                                                     4,040.79       4,040.79         -              4,040.79       -
 Furniture & Fixtures   255      Garbage Disposal          11/23/2015   M /MQ      5
                                 for Kitchen Sink                                         2,080.50       2,080.50         -              2,080.50       -
 Furniture & Fixtures   306      Standing Desks (2)        3/1/2016     M /HY      7
                                                                                          851.20         794.22           37.98          832.20         19.00
 Furniture & Fixtures   309      Couch for Karen's         5/5/2016     M /HY      7
                                 office                                                   437.49         408.20           19.52          427.72         9.77
 Furniture & Fixtures   311      Workstations for          6/1/2016     M /HY      7
                                 the office                                               6,411.60       5,982.43         286.12         6,268.55       143.05
 Furniture & Fixtures   313      Office furniture          6/30/2016    M /HY      7
                                 from target                                              920.34         858.74           41.07          899.81         20.53
 Furniture & Fixtures   310      Furniture for Patty       7/14/2016    M /HY      7
                                 Wentz                                                    287.34         268.10           12.82          280.92         6.42
 Furniture & Fixtures   312      Hilt sign and white       7/15/2016    M /HY      7
                                 board                                                    3,300.00       3,079.11         147.26         3,226.37       73.63
 Furniture & Fixtures   314      Office chairs             7/24/2016    M /HY      7
                                                                                          656.22         612.29           29.28          641.57         14.65
 Furniture & Fixtures   315      Desk for Bilguun          8/3/2016     M /HY      7
                                                                                          495.00         461.87           22.09          483.96         11.04
 Furniture & Fixtures   317      Abe's Desk                9/13/2016    M /HY      7
                                                                                          568.00         529.98           25.34          555.32         12.68
 Furniture & Fixtures   316      Desks                     9/13/2016    M /HY      7
                                                                                          1,443.00       1,346.41         64.40          1,410.81       32.19
 Furniture & Fixtures   318      Furniture for WEG         9/15/2016    M /HY      7
                                                                                          591.90         552.28           26.41          578.69         13.21
 Furniture & Fixtures   319      New Chairs                10/6/2016    M /HY      7
                                                                                          812.60         758.20           36.26          794.46         18.14
 Furniture & Fixtures   322      Furniture                 1/25/2017    SL         7
                                                                                          1,124.43       789.76           160.63         950.39         174.04


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 4



                                 Case 23-12303-TWD     Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 24 of 127
 Category               System   Description               Date In     Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                        No.                                Service     Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                        depreciation
 Furniture & Fixtures   340      Desks                     2/1/2017    SL         7
                                                                                         559.00         392.65           79.86          472.51         86.49
 Furniture & Fixtures   339      Standing Desks            2/1/2017    SL         7
                                                                                         3,954.00       2,777.23         564.86         3,342.09       611.91
 Furniture & Fixtures   341      Furniture supplies        2/13/2017   SL         7
                                                                                         370.08         259.94           52.87          312.81         57.27
 Furniture & Fixtures   342      Furniture                 3/13/2017   SL         7
                                                                                         1,253.75       865.70           179.11         1,044.81       208.94
 Furniture & Fixtures   371      Furniture                 3/15/2017   SL         7
                                                                                         307.82         212.52           43.97          256.49         51.33
 Furniture & Fixtures   370      Furnitures                3/15/2017   SL         7
                                                                                         750.75         518.37           107.25         625.62         125.13
 Furniture & Fixtures   344      Furniture                 3/23/2017   SL         7
                                                                                         3,541.50       2,403.17         505.93         2,909.10       632.40
 Furniture & Fixtures   346      Bookcase                  4/1/2017    SL         7
                                                                                         412.95         280.20           58.99          339.19         73.76
 Furniture & Fixtures   345      Chairs                    4/1/2017    SL         7
                                                                                         291.57         197.84           41.65          239.49         52.08
 Furniture & Fixtures   349      Office                    4/1/2017    SL         7
                                                                                         600.00         407.12           85.71          492.83         107.17
 Furniture & Fixtures   348      Office furniture          4/1/2017    SL         7
                                                                                         1,517.94       1,030.04         216.85         1,246.89       271.05
 Furniture & Fixtures   347      Rugs                      4/1/2017    SL         7
                                                                                         466.00         316.21           66.57          382.78         83.22
 Furniture & Fixtures   374      Furniture -               4/18/2017   SL         7
                                 Equipment                                               790.78         527.19           112.97         640.16         150.62
 Furniture & Fixtures   350      Office supplies           4/19/2017   SL         7
                                                                                         263.85         175.89           37.69          213.58         50.27
 Furniture & Fixtures   351      Bar cooler                4/24/2017   SL         7
                                                                                         1,738.56       1,159.06         248.37         1,407.43       331.13
 Furniture & Fixtures   352      Desk                      4/26/2017   SL         7
                                                                                         500.00         333.34           71.43          404.77         95.23
 Furniture & Fixtures   353      Cabinet                   5/2/2017    SL         7
                                                                                         6,164.50       4,109.65         880.64         4,990.29       1,174.21
 Furniture & Fixtures   354      Equipment                 5/11/2017   SL         7
                                                                                         604.78         403.20           86.40          489.60         115.18
 Furniture & Fixtures   383      Everett Office            6/12/2017   SL         7
                                 Furnitue                                                656.01         429.55           93.72          523.27         132.74
 Furniture & Fixtures   385      Chairs, Side Table,       6/23/2017   SL         7
                                 Shelves, Art                                            841.11         540.72           120.16         660.88         180.23
 Furniture & Fixtures   384      Espresso Table            6/23/2017   SL         7
                                                                                         328.10         210.92           46.87          257.79         70.31
 Furniture & Fixtures   386      Office Paintings          7/14/2017   SL         7
                                                                                         900.00         578.57           128.57         707.14         192.86


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 5



                                 Case 23-12303-TWD     Doc 1    Filed 11/27/23        Ent. 11/27/23 17:49:33           Pg. 25 of 127
 Category               System   Description              Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                        No.                               Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                        depreciation
 Furniture & Fixtures   387      Furniture for            8/9/2017     SL         7
                                 Everett                                                 960.97         606.32           137.28         743.60         217.37
 Furniture & Fixtures   388      Furniture                9/1/2017     SL         7
                                                                                         790.93         489.62           112.99         602.61         188.32
 Furniture & Fixtures   389      Coffee Table             9/8/2017     SL         7
                                                                                         1,096.95       679.08           156.71         835.79         261.16
 Furniture & Fixtures   390      Furniture                10/1/2017    SL         7
                                                                                         810.58         492.15           115.80         607.95         202.63
 Furniture & Fixtures   391      Desk and Chair           10/6/2017    SL         7
                                                                                         599.96         364.27           85.71          449.98         149.98
 Furniture & Fixtures   392      Furniture                10/11/2017   SL         7
                                                                                         763.17         463.34           109.02         572.36         190.81
 Furniture & Fixtures   394      New Office               10/16/2017   SL         7
                                 Furniture                                               792.69         481.27           113.24         594.51         198.18
 Furniture & Fixtures   395      Refrigerator             10/17/2017   SL         7
                                                                                         898.39         534.75           128.34         663.09         235.30
 Furniture & Fixtures   396      Furniture                10/26/2017   SL         7
                                                                                         1,339.40       797.25           191.34         988.59         350.81
 Furniture & Fixtures   393      Conference Room          11/1/2017    SL         7
                                 Desk                                                    1,105.16       657.83           157.88         815.71         289.45
 Furniture & Fixtures   397      Office Furniture         11/20/2017   SL         7
                                                                                         435.58         254.11           62.23          316.34         119.24
 Furniture & Fixtures   338      Furnitures               12/26/2017   SL         7
                                                                                         4,491.02       2,566.28         641.57         3,207.85       1,283.17
 Furniture & Fixtures   398      Office Chairs            12/27/2017   SL         7
                                                                                         726.54         415.16           103.79         518.95         207.59
 Furniture & Fixtures   422      Table                    1/4/2018     SL         7
                                                                                         478.86         273.64           68.41          342.05         136.81
 Furniture & Fixtures   429      Furniture                2/22/2018    SL         7
                                                                                         1,140.00       624.30           162.86         787.16         352.84
 Furniture & Fixtures   433      Furniture                3/2/2018     SL         7
                                                                                         2,413.77       1,321.81         344.82         1,666.63       747.14
 Furniture & Fixtures   441      Furniture                3/2/2018     SL /HY     7
                                                                                         2,413.77       1,206.88         344.82         1,551.70       862.07
 Furniture & Fixtures   435      Furniture                3/30/2018    SL         7
                                                                                         1,365.00       731.25           195.00         926.25         438.75
 Furniture & Fixtures   440      Furniture                3/30/2018    SL         7
                                                                                         1,365.00       731.25           195.00         926.25         438.75
 Furniture & Fixtures   442      Standup Desk             4/2/2018     SL         7
                                                                                         299.99         160.73           42.86          203.59         96.40
 Furniture & Fixtures   446      Standup Desk             4/5/2018     SL         7
                                                                                         907.38         486.11           129.63         615.74         291.64
 Furniture & Fixtures   453      Furniture                5/1/2018     SL         7
                                                                                         1,365.00       715.00           195.00         910.00         455.00


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 6



                                 Case 23-12303-TWD    Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 26 of 127
 Category               System   Description              Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                        No.                               Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                        depreciation
 Furniture & Fixtures   450      Furniture                5/10/2018    SL         7
                                                                                         959.98         502.85           137.14         639.99         319.99
 Furniture & Fixtures   451      Standup Desk             5/19/2018    SL         7
                                                                                         220.19         112.73           31.46          144.19         76.00
 Furniture & Fixtures   468      Furniture                7/6/2018     SL         7
                                                                                         867.96         433.97           123.99         557.96         310.00
 Furniture & Fixtures   469      AC Unit                  7/12/2018    SL         7
                                                                                         659.50         329.74           94.21          423.95         235.55
 Furniture & Fixtures   489      Furniture                9/26/2018    SL         7
                                                                                         478.58         222.20           68.37          290.57         188.01
 Furniture & Fixtures   490      Sign                     9/27/2018    SL         7
                                                                                         430.49         199.88           61.50          261.38         169.11
 Furniture & Fixtures   514      Furniture                10/10/2018   SL         7
                                                                                         1,167.06       541.84           166.72         708.56         458.50
 Furniture & Fixtures   509      Furniture                10/11/2018   SL         7
                                                                                         300.00         139.30           42.86          182.16         117.84
 Furniture & Fixtures   505      Dishwasher               10/13/2018   SL         7
                                                                                         791.62         367.54           113.09         480.63         310.99
 Furniture & Fixtures   506      Furniture                10/17/2018   SL         7
                                                                                         831.39         376.11           118.77         494.88         336.51
 Furniture & Fixtures   507      Furniture                10/20/2018   SL         7
                                                                                         179.45         81.19            25.64          106.83         72.62
 Furniture & Fixtures   508      Furniture                10/30/2018   SL         7
                                                                                         223.54         101.11           31.93          133.04         90.50
 Furniture & Fixtures   510      Furniture                10/30/2018   SL         7
                                                                                         606.27         274.27           86.61          360.88         245.39
 Furniture & Fixtures   462      Furniture                10/31/2018   SL         7
                                                                                         3,529.06       1,596.48         504.15         2,100.63       1,428.43
 Furniture & Fixtures   501      Furniture                10/31/2018   SL         7
                                                                                         21,367.73      9,666.35         3,052.53       12,718.88      8,648.85
 Furniture & Fixtures   502      Furniture                10/31/2018   SL         7
                                                                                         452.98         204.92           64.71          269.63         183.35
 Furniture & Fixtures   517      Furniture                11/9/2018    SL         7
                                                                                         214.68         97.12            30.67          127.79         86.89
 Furniture & Fixtures   518      Furniture                11/10/2018   SL         7
                                                                                         2,100.71       950.32           300.10         1,250.42       850.29
 Furniture & Fixtures   516      Furniture                11/19/2018   SL         7
                                                                                         309.99         136.53           44.28          180.81         129.18
 Furniture & Fixtures   520      Furniture                12/27/2018   SL         7
                                                                                         599.63         256.98           85.66          342.64         256.99
 Furniture & Fixtures   525      MT office sign           2/15/2019    SL         7
                                                                                         1,331.11       538.79           190.16         728.95         602.16
 Furniture & Fixtures   534      Boise sign               3/21/2019    SL         7
                                                                                         630.00         247.50           90.00          337.50         292.50


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 7



                                 Case 23-12303-TWD    Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 27 of 127
 Category               System   Description                  Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                        No.                                   Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                            depreciation
 Furniture & Fixtures   535      wood paneling for            4/12/2019    SL         7
                                 sign wall ID offic                                          556.35         218.57           79.48          298.05         258.30
 Furniture & Fixtures   536      Noel Treat standing          4/13/2019    SL         7
                                 desk                                                        743.18         291.97           106.17         398.14         345.04
 Furniture & Fixtures   537      Furnish and install          4/26/2019    SL         7
                                 blinds, removal and                                         8,130.89       3,097.49         1,161.56       4,259.05       3,871.84
                                 disposal of existing
                                 blinds
 Furniture & Fixtures   539      standing desks for           5/2/2019     SL         7
                                 Austin Hicks and                                            1,288.17       490.72           184.02         674.74         613.43
                                 Jack Goldberg
 Furniture & Fixtures   540      deck furniture               5/3/2019     SL         7
                                                                                             1,506.08       573.73           215.15         788.88         717.20
 Furniture & Fixtures   541      deck furniture               5/8/2019     SL         7
                                                                                             5,347.81       2,037.25         763.97         2,801.22       2,546.59
 Furniture & Fixtures   542      deck furniture               5/11/2019    SL         7
                                                                                             5,060.12       1,927.65         722.87         2,650.52       2,409.60
 Furniture & Fixtures   544      new hallway                  5/23/2019    SL         7
                                 lighting                                                    692.03         255.39           98.86          354.25         337.78
 Furniture & Fixtures   545      replacing hallway            5/30/2019    SL         7
                                 lights                                                      571.53         210.93           81.65          292.58         278.95
 Furniture & Fixtures   558      furniture                    6/13/2019    SL         7
                                                                                             964.43         355.93           137.78         493.71         470.72
 Furniture & Fixtures   570      replacing hallway            7/10/2019    SL         7
                                 lights                                                      571.53         204.13           81.65          285.78         285.75
 Furniture & Fixtures   581      add workstations             9/3/2019     SL         7
                                 Seattle office                                              4,789.35       1,596.44         684.19         2,280.63       2,508.72
 Furniture & Fixtures   582      standing desk for            9/5/2019     SL         7
                                 Aya and AJ                                                  1,593.59       531.21           227.66         758.87         834.72
 Furniture & Fixtures   584      OLY new office               9/10/2019    SL         7
                                 furniture (filing                                           628.61         209.53           89.80          299.33         329.28
                                 cabinet, desk chair)
 Furniture & Fixtures   587      add workstations             9/24/2019    SL         7
                                 Seattle office                                              3,831.48       1,231.54         547.35         1,778.89       2,052.59
 Furniture & Fixtures   598      add workstations             10/14/2019   SL         7
                                 Seattle office - final                                      957.87         307.89           136.84         444.73         513.14
                                 payment
 Furniture & Fixtures   607      new refrigerator for         11/1/2019    SL         7
                                 office kitchen                                              2,529.70       783.01           361.39         1,144.40       1,385.30
 Furniture & Fixtures   625      Office Furniture for         1/31/2020    SL         5
                                 DC                                                          1,235.37       473.55           247.07         720.62         514.75
 Furniture & Fixtures   671      Furniture                    1/6/2021     SL         5
                                                                                             4,393.50       878.70           878.70         1,757.40       2,636.10
 Furniture & Fixtures   670      Furniture                    1/15/2021    SL         5
                                                                                             520.00         104.00           104.00         208.00         312.00

Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 8



                                 Case 23-12303-TWD        Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 28 of 127
 Category               System   Description                                   Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                        No.                                                    Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                                             depreciation
 Furniture & Fixtures   690      Chairs                                        2/2/2021     SL         5
                                                                                                              1,296.84       237.76           259.37         497.13         799.71
 Furniture & Fixtures   691      Desk                                          2/2/2021     SL         5
                                                                                                              1,035.51       189.84           207.10         396.94         638.57
 Furniture & Fixtures   684      Furniture                                     2/2/2021     SL         5
                                                                                                              3,552.67       651.32           710.53         1,361.85       2,190.82
 Furniture & Fixtures   686      Furniture                                     2/2/2021     SL         5
                                                                                                              578.00         105.97           115.60         221.57         356.43
 Furniture & Fixtures   688      Furniture                                     2/2/2021     SL         5
                                                                                                              1,977.73       362.59           395.55         758.14         1,219.59
 Furniture & Fixtures   689      Furniture                                     2/2/2021     SL         5
                                                                                                              584.24         107.11           116.85         223.96         360.28
 Furniture & Fixtures   685      Office Fridge                                 2/2/2021     SL         5
                                                                                                              1,380.49       253.09           276.10         529.19         851.30
 Furniture & Fixtures   764      Paintings                                     2/22/2021    SL         5
                                                                                                              6,011.00       1,001.83         1,202.20       2,204.03       3,806.97
 Furniture & Fixtures   763      Wall Signs                                    3/31/2021    SL         5
                                                                                                              1,859.19       278.88           371.84         650.72         1,208.47
 Furniture & Fixtures   713      Furniture                                     5/14/2021    SL         5
                                                                                                              651.41         86.85            130.28         217.13         434.28
 Furniture & Fixtures   735      Furniture                                     9/9/2021     SL         5
                                                                                                              1,195.83       79.72            239.17         318.89         876.94
 Furniture & Fixtures   744      Furniture                                     10/26/2021   SL         5
                                                                                                              1,204.54       40.15            240.91         281.06         923.48
 Furniture & Fixtures   753      Furniture                                     11/10/2021   SL         5
                                                                                                              1,111.48       37.05            222.30         259.35         852.13
 Furniture & Fixtures   765      Furniture for CA-       Office supplies       2/1/2022     SL         7
                                 Sac office                                                                   6,024.76       -                787.58         787.58         5,237.18
 Furniture & Fixtures   783      Office chairs for the   office supplies       4/1/2022     SL         5
                                 OR office                                                                    2,169.90       -                326.97         326.97         1,842.93
 Furniture & Fixtures   802      Furniture for Sea       office supplies       5/1/2022     SL         7
                                 office                                                                       1,567.95       -                150.35         150.35         1,417.60
 Furniture & Fixtures   804      Furniture for Sea       office supplies       5/1/2022     SL         7
                                 office                                                                       1,401.24       -                134.37         134.37         1,266.87
 Furniture & Fixtures   807      Furniture               office                5/1/2022     SL         7
                                                                                                              1,246.56       -                119.53         119.53         1,127.03
 Furniture & Fixtures   808      Furniture               office                5/1/2022     SL         7
                                                                                                              1,204.54       -                115.50         115.50         1,089.04
 Furniture & Fixtures   809      Furniture               office                6/1/2022     SL         7
                                                                                                              1,223.74       -                102.50         102.50         1,121.24
 Furniture & Fixtures   820      Reception Desk for      office supplies       8/1/2022     SL         7
                                 Sac office                                                                   2,946.04       -                176.42         176.42         2,769.62
 Furniture & Fixtures   837      Furniture               office supplies       8/1/2022     SL         7
                                                                                                              2,946.03       -                176.42         176.42         2,769.61


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 9



                                 Case 23-12303-TWD                         Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 29 of 127
 Category               System   Description                                 Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                        No.                                                  Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                                           depreciation
 Furniture & Fixtures   840      Art for La office     office supplies       9/1/2022     SL         7
                                                                                                            4,100.00       -                195.77         195.77         3,904.23
 Furniture & Fixtures   843      Office chairs for     office                10/1/2022    SL         7
                                 Hawaii office                                                              2,095.18       -                75.44          75.44          2,019.74
 Furniture & Fixtures   849      Couch for Ron's       office supplies       10/1/2022    SL         7
                                 office                                                                     4,182.89       -                150.62         150.62         4,032.27
 Furniture & Fixtures   850      Art for CO office     office supplies       11/1/2022    SL         7
                                                                                                            3,100.00       -                74.01          74.01          3,025.99
 Furniture & Fixtures   855      Furniture for AZ      Office                12/1/2022    SL         7
                                 office                                                                     16,526.45      -                200.52         200.52         16,325.93
 Furniture & Fixtures   857      Office table for Bc   Office                12/1/2022    SL         7
                                 office - Rove                                                              1,666.01       -                20.21          20.21          1,645.80
                                 Concepts
 Furniture & Fixtures   858      Furniture for new     Office                12/1/2022    SL         7
                                 Az office                                                                  30,186.10      -                366.25         366.25         29,819.85
 Furniture & Fixtures   N/A      Misc. Diff
                                                                                                            144.85         -                -              -              144.85
 Leasehold              79       Office Renovation                           1/1/1995     MSL /MM    39
 Improvements                                                                                               4,960.00       3,428.00         127.23         3,555.23       1,404.77
 Leasehold              80       Entry Tile                                  4/1/1995     M /HY      7
 Improvements                                                                                               300.00         300.00           -              300.00         -
 Leasehold              81       Building                                    2/20/2004    SL         15
 Improvements                    Improvements                                                               1,665.00       1,665.00         -              1,665.00       -
 Leasehold              91       Office Space                                9/2/2004     DBA /N/A   15
 Improvements                    Design                                                                     4,598.00       4,598.00         -              4,598.00       -
 Leasehold              92       Design Fees                                 9/26/2004    DBA /N/A   15
 Improvements                                                                                               805.00         805.00           -              805.00         -
 Leasehold              99       Lobby Sign                                  9/27/2004    DBA /N/A   15
 Improvements                                                                                               927.00         927.00           -              927.00         -
 Leasehold              95       Building Permits                            10/7/2004    DBA /N/A   15
 Improvements                                                                                               978.00         978.00           -              978.00         -
 Leasehold              93       Walker Architecture                         10/7/2004    DBA /N/A   15
 Improvements                                                                                               4,662.00       4,662.00         -              4,662.00       -
 Leasehold              94       Walker Architecture                         10/7/2004    DBA /N/A   15
 Improvements                                                                                               3,370.00       3,370.00         -              3,370.00       -
 Leasehold              96       Logo on Wall                                10/15/2004   DBA /N/A   15
 Improvements                                                                                               2,330.00       2,330.00         -              2,330.00       -
 Leasehold              97       Water Heater                                11/12/2004   SL         15
 Improvements                                                                                               169.00         169.00           -              169.00         -
 Leasehold              98       A/V's                                       11/15/2004   SL         15
 Improvements                                                                                               1,699.00       1,699.00         -              1,699.00       -
 Leasehold              100      Design Within                               11/26/2004   DBA /N/A   15
 Improvements                    Reach                                                                      805.00         805.00           -              805.00         -
 Leasehold              101      Riel Construction                           12/10/2004   SL         15
 Improvements                                                                                               35,000.00      35,000.00        -              35,000.00      -

Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 10



                                 Case 23-12303-TWD                       Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 30 of 127
 Category           System    Description                  Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Leasehold          102       Office Construction          12/14/2004   SL         15
 Improvements                                                                             25,000.00      25,000.00        -              25,000.00      -
 Leasehold          83        Lighting and                 12/17/2004   M /HY      7
 Improvements                 Instalation                                                 2,804.00       2,804.00         -              2,804.00       -
 Leasehold          103       Issaquah Cedar &             12/26/2004   SL         15
 Improvements                 Lumbar                                                      2,111.00       2,111.00         -              2,111.00       -
 Leasehold          82        Budget Blinds                4/13/2010    M /HY      5
 Improvements                                                                             706.00         706.00           -              706.00         -
 Leasehold          84        Improvements                 5/10/2010    DBA /N/A   15
 Improvements                                                                             1,900.00       1,709.69         57.10          1,766.79       133.21
 Leasehold          68        Conference Room              6/14/2010    M /HY      15
 Improvements                 Glass                                                       6,164.00       5,527.04         181.99         5,709.03       454.97
 Leasehold          85        Painting and                 7/21/2010    DBA /N/A   15
 Improvements                 Cabinets                                                    5,225.00       4,677.02         152.92         4,829.94       395.06
 Leasehold          86        Electrician,                 9/20/2010    DBA /N/A   15
 Improvements                 Plumber, Carpenter                                          3,043.00       3,043.00         -              3,043.00       -
 Leasehold          87        Rewiring of MT               9/21/2010    DBA /N/A   15
 Improvements                 Office                                                      5,438.00       5,438.00         -              5,438.00       -
 Leasehold          88        Onsite Carpentry -           1/18/2011    DBA /N/A   15
 Improvements                 Cabinet                                                     1,550.00       1,550.00         -              1,550.00       -
 Leasehold          89        Space Planning for           3/10/2011    DBA /N/A   15
 Improvements                 OR Office                                                   1,750.00       1,750.00         -              1,750.00       -
 Leasehold          90        Hans Arenz Custom            8/9/2011     SL         15
 Improvements                 Remodel                                                     15,592.00      15,592.00        -              15,592.00      -
 Leasehold          76        Lobby Sign                   5/15/2012    SL         15
 Improvements                                                                             5,042.00       5,042.00         -              5,042.00       -
 Leasehold          77        Seattle Leasehold            7/10/2012    SL         15
 Improvements                 Improvements                                                23,780.00      23,780.00        -              23,780.00      -
 Leasehold          75        MT Signage                   8/22/2012    SL         15
 Improvements                                                                             1,750.00       1,750.00         -              1,750.00       -
 Leasehold          78        Leasehold                    10/23/2012   SL         15
 Improvements                 Improvements -                                              10,686.00      10,686.00        -              10,686.00      -
                              November
 Leasehold          104       ID - Tenant                  6/26/2013    MSL /HY    15
 Improvements                 Improvements                                                1,375.00       1,375.00         -              1,375.00       -
 Leasehold          320       Office remodel               3/7/2016     M /HY      15
 Improvements                                                                             4,260.00       3,065.14         132.76         3,197.90       1,062.10
 Leasehold          321       DC improvements              12/1/2016    M /HY      15
 Improvements                                                                             3,674.85       2,644.13         114.53         2,758.66       916.19
 Leasehold          323       Left Bank Suite              12/1/2017    SL         15
 Improvements                 214                                                         5,000.00       1,361.10         333.33         1,694.43       3,305.57
 Leasehold          497       Renovations                  10/31/2018   SL         5
 Improvements                                                                             16,469.17      10,064.48        3,293.83       13,358.31      3,110.86
 Leasehold          498       Renovations                  10/31/2018   SL         5
 Improvements                                                                             4,632.49       2,830.97         926.50         3,757.47       875.02

Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 11



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 31 of 127
 Category           System    Description                                 Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                                   Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                                        depreciation
 Leasehold          499       Renovations                                 10/31/2018   SL         5
 Improvements                                                                                            42,282.05      25,839.03        8,456.41       34,295.44      7,986.61
 Leasehold          500       Renovations                                 10/31/2018   SL         5
 Improvements                                                                                            34,351.79      20,992.77        6,870.36       27,863.13      6,488.66
 Leasehold          620       Final 10% Painting                          2/7/2019     SL         5
 Improvements                 for the HI office                                                          1,119.00       652.75           223.80         876.55         242.45
 Leasehold          621       furnish and install                         2/20/2019    SL         5
 Improvements                 rubber cove base                                                           2,280.34       1,292.20         456.07         1,748.27       532.07
                              and snap down
                              reducer
 Leasehold          622       Leasehold                                   3/18/2019    SL         5
 Improvements                 Improvement                                                                9,478.18       5,213.01         1,895.64       7,108.65       2,369.53
 Leasehold          623       Painting the SEA                            4/18/2019    SL         5
 Improvements                 office                                                                     1,506.92       803.68           301.38         1,105.06       401.86
 Leasehold          624       provided                                    10/8/2019    SL         5
 Improvements                 connection for 2                                                           1,350.00       607.50           270.00         877.50         472.50
                              new workstations
                              on Hilt side
 Leasehold          784       Window coverings      office supplies       4/1/2022     SL         7
 Improvements                 manual roller                                                              2,443.00       -                262.95         262.95         2,180.05
                              shades
 Leasehold          854       Window coverings      Office                11/1/2022    SL         7
 improvements                 manual roller                                                              2,443.00       -                58.33          58.33          2,384.67
                              shades
 Office             119       16 MB Memory                                1/1/1994     M /HY      5
 Equip/Computers              Module                                                                     541.00         541.00           -              541.00         -
 Office             125       Apple 20 Multiple                           1/1/1994     M /HY      5
 Equip/Computers              Scan Display"                                                              1,948.00       1,948.00         -              1,948.00       -
 Office             126       Apple Equipment                             1/1/1994     M /HY      5
 Equip/Computers              (Bonnie)                                                                   5,621.00       5,621.00         -              5,621.00       -
 Office             121       Apple Extended                              1/1/1994     M /HY      5
 Equip/Computers              Keyboard                                                                   155.00         155.00           -              155.00         -
 Office             123       Apple Extended                              1/1/1994     M /HY      5
 Equip/Computers              Keyboard (2)                                                               154.00         154.00           -              154.00         -
 Office             122       Apple Powermac                              1/1/1994     M /HY      5
 Equip/Computers              Upgrade                                                                    439.00         439.00           -              439.00         -
 Office             124       Apple Pwermac                               1/1/1994     M /HY      5
 Equip/Computers              6100                                                                       1,259.00       1,259.00         -              1,259.00       -
 Office             128       McIntosh 2vx and                            1/1/1994     M /HY      5
 Equip/Computers              Laser (Amy)                                                                5,000.00       5,000.00         -              5,000.00       -
 Office             127       Powerbook and                               1/1/1994     M /HY      5
 Equip/Computers              Style Writer                                                               1,350.00       1,350.00         -              1,350.00       -
 Office             118       Quadra System 5                             1/1/1994     M /HY      5
 Equip/Computers              Computer                                                                   1,199.00       1,199.00         -              1,199.00       -


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 12



                              Case 23-12303-TWD                       Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 32 of 127
 Category           System    Description                  Date In     Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service     Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                        depreciation
 Office             120       Sony Multiscan               1/1/1994    M /HY      5
 Equip/Computers              Color Monitor                                              445.00         445.00           -              445.00         -
 Office             117       Micro - Tech                 10/1/1994   M /HY      5
 Equip/Computers              Scanmaker                                                  2,447.00       2,447.00         -              2,447.00       -
 Office             133       Apple Color                  1/1/1995    M /HY      5
 Equip/Computers              Monitor                                                    500.00         500.00           -              500.00         -
 Office             131       Apple Extended               1/1/1995    M /HY      5
 Equip/Computers              Keyboard                                                   160.00         160.00           -              160.00         -
 Office             132       Apple Extended               1/1/1995    M /HY      5
 Equip/Computers              Keyboard                                                   100.00         100.00           -              100.00         -
 Office             129       Apple Mac IICS               1/1/1995    M /HY      5
 Equip/Computers                                                                         4,825.00       4,825.00         -              4,825.00       -
 Office             130       Apple Mac SE                 1/1/1995    M /HY      5
 Equip/Computers              Computer                                                   2,495.00       2,495.00         -              2,495.00       -
 Office             134       Computers                    2/1/1995    M /HY      5
 Equip/Computers                                                                         206.00         206.00           -              206.00         -
 Office             135       Computer Drive               3/1/1995    M /HY      5
 Equip/Computers                                                                         396.00         396.00           -              396.00         -
 Office             137       Computer                     4/1/1995    M /HY      5
 Equip/Computers                                                                         3,124.00       3,124.00         -              3,124.00       -
 Office             136       Computer                     4/1/1995    M /HY      5
 Equip/Computers              Equip/Hardware                                             2,605.00       2,605.00         -              2,605.00       -
 Office             138       Hayes Accura 288             8/1/1995    M /HY      5
 Equip/Computers                                                                         209.00         209.00           -              209.00         -
 Office             139       Zip Drive                    8/8/1995    M /HY      5
 Equip/Computers                                                                         239.00         239.00           -              239.00         -
 Office             140       Power Mac (Diana)            10/1/1995   M /HY      5
 Equip/Computers                                                                         4,495.00       4,495.00         -              4,495.00       -
 Office             141       Scanmaker                    10/1/1995   M /HY      5
 Equip/Computers                                                                         680.00         680.00           -              680.00         -
 Office             147       15 Multiscan                 3/1/1996    M /HY      5
 Equip/Computers              Monitor"                                                   349.00         349.00           -              349.00         -
 Office             145       Apple 17 Display"            3/1/1996    M /HY      5
 Equip/Computers                                                                         749.00         749.00           -              749.00         -
 Office             142       Hard Drive 8MB               3/1/1996    M /HY      5
 Equip/Computers              Ram                                                        1,289.00       1,289.00         -              1,289.00       -
 Office             146       HP Fax 700                   3/1/1996    M /HY      5
 Equip/Computers                                                                         575.00         575.00           -              575.00         -
 Office             149       Mac IICI 4/100               3/1/1996    M /HY      5
 Equip/Computers                                                                         256.00         256.00           -              256.00         -
 Office             148       Supra 28.8 Modem             3/1/1996    M /HY      5
 Equip/Computers                                                                         209.00         209.00           -              209.00         -
 Office             144       Supra Fax Modem              3/1/1996    M /HY      5
 Equip/Computers                                                                         615.00         615.00           -              615.00         -


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 13



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23        Ent. 11/27/23 17:49:33           Pg. 33 of 127
 Category           System    Description                  Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Office             143       Thunderbird Tape             3/1/1996     M /HY      5
 Equip/Computers              Drive                                                       749.00         749.00           -              749.00         -
 Office             20        HP Fax Machine               5/1/1996     M /HY      5
 Equip/Computers                                                                          603.00         603.00           -              603.00         -
 Office             150       PCC Power                    7/29/1997    M /HY      5
 Equip/Computers              Computer 684                                                3,195.00       3,195.00         -              3,195.00       -
 Office             151       4.5 GB Ultra                 8/31/1998    M /HY      5
 Equip/Computers                                                                          365.00         365.00           -              365.00         -
 Office             152       Micro Warehouse              9/12/1998    M /HY      5
 Equip/Computers                                                                          294.00         294.00           -              294.00         -
 Office             153       Apple Computer               12/22/1998   M /HY      5
 Equip/Computers                                                                          1,527.00       1,527.00         -              1,527.00       -
 Office             154       Microwave                    7/4/1999     M /HY      5
 Equip/Computers                                                                          192.00         192.00           -              192.00         -
 Office             155       IMac Computers               1/1/2000     M /HY      5
 Equip/Computers              (2)                                                         1,762.00       1,762.00         -              1,762.00       -
 Office             156       Color Printer                9/1/2000     M /HY      5
 Equip/Computers                                                                          300.00         300.00           -              300.00         -
 Office             157       Palm Pilot                   12/21/2000   M /HY      5
 Equip/Computers                                                                          239.00         239.00           -              239.00         -
 Office             158       Ram Upgrade                  4/21/2001    M /HY      5
 Equip/Computers                                                                          228.00         228.00           -              228.00         -
 Office             159       Laptop Computer              5/14/2001    M /HY      5
 Equip/Computers                                                                          1,798.00       1,798.00         -              1,798.00       -
 Office             160       G4 Power Mac                 8/6/2001     M /HY      5
 Equip/Computers              Computer                                                    1,895.00       1,895.00         -              1,895.00       -
 Office             161       HP Fax Machine               8/6/2001     M /HY      5
 Equip/Computers                                                                          300.00         300.00           -              300.00         -
 Office             162       IMac and Modem               2/11/2002    M /HY      5
 Equip/Computers                                                                          845.00         845.00           -              845.00         -
 Office             163       Palm M100                    2/13/2002    M /HY      5
 Equip/Computers                                                                          149.00         149.00           -              149.00         -
 Office             164       Apple Laser Writer           9/13/2002    M /HY      5
 Equip/Computers                                                                          300.00         300.00           -              300.00         -
 Office             165       Monitor                      11/12/2003   M /HY      5
 Equip/Computers                                                                          263.00         263.00           -              263.00         -
 Office             167       Card Printer and             12/5/2003    M /HY      5
 Equip/Computers              Laser Printer                                               355.00         355.00           -              355.00         -
 Office             166       CP 1700 Color Ink            12/5/2003    M /HY      5
 Equip/Computers              Printer                                                     619.00         619.00           -              619.00         -
 Office             168       PE 16 Work Center            12/5/2003    M /HY      5
 Equip/Computers                                                                          599.00         599.00           -              599.00         -
 Office             185       Parallel Panel &             4/29/2004    M /HY      5
 Equip/Computers              Connector                                                   196.00         196.00           -              196.00         -


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 14



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 34 of 127
 Category           System    Description                  Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Office             169       Power Mac G5                 6/11/2004    M /HY      5
 Equip/Computers              Computer                                                    1,547.00       1,547.00         -              1,547.00       -
 Office             210       Computer                     9/1/2004     DBA /N/A   15
 Equip/Computers              Installation                                                9,750.00       9,750.00         -              9,750.00       -
 Office             182       Dishwasher                   11/4/2004    M /HY      5
 Equip/Computers                                                                          294.00         294.00           -              294.00         -
 Office             183       Magnolia TV                  11/4/2004    M /HY      5
 Equip/Computers                                                                          6,589.00       6,589.00         -              6,589.00       -
 Office             186       2005 Assets from             7/1/2005     M /HY      5
 Equip/Computers              1700                                                        10,397.00      10,397.00        -              10,397.00      -
 Office             170       RAM                          2/14/2006    M /HY      5
 Equip/Computers                                                                          150.00         150.00           -              150.00         -
 Office             171       Multi Fax Copier             5/24/2006    M /HY      5
 Equip/Computers                                                                          249.00         249.00           -              249.00         -
 Office             172       Digital Camera               5/26/2006    M /HY      5
 Equip/Computers                                                                          250.00         250.00           -              250.00         -
 Office             173       250 GB External              6/12/2006    M /HY      5
 Equip/Computers              Hard Drive                                                  216.00         216.00           -              216.00         -
 Office             174       Apple Notebook               6/29/2007    M /HY      5
 Equip/Computers                                                                          1,100.00       1,100.00         -              1,100.00       -
 Office             187       Phone System                 10/1/2008    M /HY      5
 Equip/Computers                                                                          8,469.00       8,469.00         -              8,469.00       -
 Office             175       Bernina 210                  11/14/2008   M /HY      5
 Equip/Computers              Sewing Machine                                              599.00         599.00           -              599.00         -
 Office             176       Nikon 5560 Digital           12/16/2008   M /HY      5
 Equip/Computers              Camera                                                      180.00         180.00           -              180.00         -
 Office             189       Dell Computer                1/8/2009     M /HY      5
 Equip/Computers                                                                          1,109.00       1,109.00         -              1,109.00       -
 Office             177       Flat Screen Monitor          2/17/2009    M /HY      5
 Equip/Computers                                                                          400.00         400.00           -              400.00         -
 Office             190       Best Buy Computer            3/2/2009     M /HY      5
 Equip/Computers                                                                          801.00         801.00           -              801.00         -
 Office             192       Best Buy Computer            4/27/2009    M /HY      5
 Equip/Computers                                                                          1,095.00       1,095.00         -              1,095.00       -
 Office             194       CDW Computer                 5/18/2009    M /HY      5
 Equip/Computers                                                                          964.00         964.00           -              964.00         -
 Office             193       CDW Direct                   5/18/2009    M /HY      5
 Equip/Computers              Computer                                                    1,481.00       1,481.00         -              1,481.00       -
 Office             196       Computer from                5/20/2009    M /HY      5
 Equip/Computers              CDW                                                         665.00         665.00           -              665.00         -
 Office             197       Dell Computer                5/20/2009    M /HY      5
 Equip/Computers                                                                          3,090.00       3,090.00         -              3,090.00       -
 Office             195       Dell Laptop                  5/20/2009    M /HY      5
 Equip/Computers              (Alaska)                                                    820.00         820.00           -              820.00         -


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 15



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 35 of 127
 Category           System    Description                  Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Office             198       Computer CDW                 7/28/2009    M /HY      5
 Equip/Computers              Direct                                                      2,994.00       2,994.00         -              2,994.00       -
 Office             199       Dell Laptop                  8/17/2009    M /HY      5
 Equip/Computers                                                                          1,067.00       1,067.00         -              1,067.00       -
 Office             200       Alpha Tech                   9/14/2009    M /HY      5
 Equip/Computers              Computer                                                    1,008.00       1,008.00         -              1,008.00       -
 Office             201       Alpha Tech                   10/21/2009   M /HY      5
 Equip/Computers              Computer                                                    1,285.00       1,285.00         -              1,285.00       -
 Office             202       Lenovo Laptop -              10/27/2009   M /HY      5
 Equip/Computers              Eric Sorenson                                               2,079.00       2,079.00         -              2,079.00       -
 Office             178       HP Photosmart Pro            11/12/2009   M /HY      5
 Equip/Computers              B8850 Printer                                               417.00         417.00           -              417.00         -
 Office             203       CDW Direct                   12/28/2009   M /HY      5
 Equip/Computers              Firewall                                                    871.00         871.00           -              871.00         -
 Office             204       Phone System - MT            5/6/2010     M /HY      5
 Equip/Computers                                                                          3,576.00       3,576.00         -              3,576.00       -
 Office             205       Dell Computer -              1/17/2011    M /HY      5
 Equip/Computers              Jason Yorrmar                                               2,120.00       2,120.00         -              2,120.00       -
 Office             206       Dell Monitors -              1/20/2011    M /HY      5
 Equip/Computers              Jason Yormar                                                1,012.00       1,012.00         -              1,012.00       -
 Office             207       Dell Computer - M.           4/8/2011     M /HY      5
 Equip/Computers              Killiam                                                     1,096.00       1,096.00         -              1,096.00       -
 Office             208       Mac Computer - C.            5/19/2011    M /HY      5
 Equip/Computers              Couris                                                      1,700.00       1,700.00         -              1,700.00       -
 Office             209       Dell Online - Kevin          8/19/2011    M /HY      5
 Equip/Computers                                                                          1,221.00       1,221.00         -              1,221.00       -
 Office             179       Computer                     12/28/2011   M /HY      5
 Equip/Computers              Equipment                                                   9,469.00       9,469.00         -              9,469.00       -
 Office             181       Computer                     12/28/2011   M /HY      5
 Equip/Computers              Equipment - Tim                                             5,868.00       5,868.00         -              5,868.00       -
                              Warner
 Office             184       Computer                     12/28/2011   M /HY      5
 Equip/Computers              Equipment - Tim                                             247.00         247.00           -              247.00         -
                              Warner
 Office             105       Dell Computer                2/25/2012    M /HY      5
 Equip/Computers              Server                                                      6,759.00       6,759.00         -              6,759.00       -
 Office             107       Dell Desktop - RG            4/11/2012    M /HY      5
 Equip/Computers                                                                          2,078.00       2,078.00         -              2,078.00       -
 Office             106       Mac Desktop B                4/11/2012    M /HY      5
 Equip/Computers              Barker                                                      1,019.00       1,019.00         -              1,019.00       -
 Office             108       Mac Desktop - L.             4/14/2012    M /HY      5
 Equip/Computers              Bennett                                                     1,165.00       1,165.00         -              1,165.00       -
 Office             109       Computer - Jason             4/25/2012    M /HY      5
 Equip/Computers              Yomack                                                      1,685.00       1,685.00         -              1,685.00       -


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 16



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 36 of 127
 Category           System    Description                  Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Office             116       Office Refrigerator          5/5/2012     M /HY      7
 Equip/Computers                                                                          210.00         210.00           -              210.00         -
 Office             110       Laptop - Jenny               5/25/2012    M /HY      5
 Equip/Computers              Leland                                                      765.00         765.00           -              765.00         -
 Office             111       Lobby TV                     5/25/2012    M /HY      5
 Equip/Computers                                                                          1,040.00       1,040.00         -              1,040.00       -
 Office             112       Apple Laptop -               6/25/2012    M /HY      5
 Equip/Computers              Bradley Mayer                                               1,815.00       1,815.00         -              1,815.00       -
 Office             113       DC Phone System -            8/27/2012    M /HY      5
 Equip/Computers              Conference Rm                                               1,515.00       1,515.00         -              1,515.00       -
 Office             114       MacBook Pro -                10/25/2012   M /HY      5
 Equip/Computers              Neal Levine                                                 1,653.00       1,653.00         -              1,653.00       -
 Office             115       Apple Computer               12/27/2012   M /HY      5
 Equip/Computers                                                                          1,960.00       1,960.00         -              1,960.00       -
 Office             211       Computer -                   1/24/2013    M /HY      5
 Equip/Computers              Christina Barsky                                            1,137.71       1,137.71         -              1,137.71       -
 Office             212       AK Office - Front            4/2/2013     M /HY      7
 Equip/Computers              Reception Desk                                              9,827.00       9,827.00         -              9,827.00       -
 Office             213       Compview                     4/24/2013    M /HY      5
 Equip/Computers              Conferencing                                                6,709.07       6,709.07         -              6,709.07       -
                              Equipment
 Office             215       Molly Beier -                10/18/2013   M /HY      5
 Equip/Computers              Apple Laptop                                                1,377.51       1,377.51         -              1,377.51       -
 Office             214       Molly Blakey -               10/18/2013   M /HY      5
 Equip/Computers              Apple Laptop                                                1,377.51       1,377.51         -              1,377.51       -
 Office             216       Tim Raphael -                11/11/2013   M /HY      5
 Equip/Computers              Apple Laptop                                                1,249.00       1,249.00         -              1,249.00       -
 Office             217       Sorenson -                   12/6/2013    M /HY      5
 Equip/Computers              Samsung Laptop                                              1,970.99       1,970.99         -              1,970.99       -
 Office             218       Epson Projector              12/12/2013   M /HY      5
 Equip/Computers                                                                          1,328.95       1,328.95         -              1,328.95       -
 Office             180       OR Mondopad with             1/17/2014    M /HY      5
 Equip/Computers              Rolling Cart                                                4,564.00       4,564.00         -              4,564.00       -
 Office             188       Seattle Mondopad             2/18/2014    M /HY      5
 Equip/Computers              with Rolling Cart                                           4,286.94       4,286.94         -              4,286.94       -
 Office             191       OR Mondopad with             3/17/2014    M /HY      5
 Equip/Computers              Rolling Cart                                                691.66         691.66           -              691.66         -
 Office             245       2 Refurbished 15.4-          5/19/2014    M /HY      5
 Equip/Computers              inch MacBook Pro                                            3,398.47       3,398.47         -              3,398.47       -
 Office             256       Apple MacBook                1/14/2015    M /MQ      5
 Equip/Computers                                                                          1,093.91       1,093.91         -              1,093.91       -
 Office             253       Apple MacBook                2/12/2015    M /MQ      5
 Equip/Computers                                                                          1,069.99       1,069.99         -              1,069.99       -
 Office             257       Amazon Samsung               7/17/2015    M /MQ      5
 Equip/Computers              TV                                                          535.17         535.17           -              535.17         -

Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 17



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 37 of 127
 Category           System    Description                  Date In     Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service     Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                        depreciation
 Office             264       Dell Lapop                   8/26/2015   M /MQ      5
 Equip/Computers                                                                         798.98         798.98           -              798.98         -
 Office             265       Dell Laptop                  8/26/2015   M /MQ      5
 Equip/Computers                                                                         1,533.30       1,533.30         -              1,533.30       -
 Office             263       Dell Laptop                  9/25/2015   M /MQ      5
 Equip/Computers                                                                         849.99         849.99           -              849.99         -
 Office             267       Dell Laptop                  9/25/2015   M /MQ      5
 Equip/Computers                                                                         849.99         849.99           -              849.99         -
 Office             252       Surface Pro 3 &              9/30/2015   M /MQ      5
 Equip/Computers              Cover                                                      1,127.77       1,127.77         -              1,127.77       -
 Office             259       Adjusting Heigt              11/6/2015   M /MQ      5
 Equip/Computers              Desk                                                       776.00         776.00           -              776.00         -
 Office             260       Adjusting Heigt              11/6/2015   M /MQ      5
 Equip/Computers              Desk                                                       776.00         776.00           -              776.00         -
 Office             261       Adjusting Heigt              11/6/2015   M /MQ      5
 Equip/Computers              Desk                                                       776.00         776.00           -              776.00         -
 Office             254       Dell Laptop-                 11/9/2015   M /MQ      5
 Equip/Computers              Meredith Shield                                            952.42         952.42           -              952.42         -
 Office             262       Apple Design                 1/22/2016   M /HY      5
 Equip/Computers              Computer                                                   2,738.90       2,738.90         -              2,738.90       -
 Office             266       Dell Laptop                  2/1/2016    M /HY      5
 Equip/Computers                                                                         798.98         798.98           -              798.98         -
 Office             305       Multiple pieces of           2/1/2016    M /HY      5
 Equip/Computers              Equipment                                                  2,492.63       2,492.63         -              2,492.63       -
 Office             268       Multiple pieces of           2/9/2016    M /HY      5
 Equip/Computers              Equipment                                                  1,694.98       1,694.98         -              1,694.98       -
 Office             297       Desktop for Robert           2/10/2016   M /HY      5
 Equip/Computers              Dillon                                                     598.00         598.00           -              598.00         -
 Office             269       Laptop                       2/10/2016   M /HY      5
 Equip/Computers                                                                         1,747.94       1,747.94         -              1,747.94       -
 Office             270       Laptop                       3/1/2016    M /HY      5
 Equip/Computers                                                                         831.86         831.86           -              831.86         -
 Office             298       Phone                        3/1/2016    M /HY      5
 Equip/Computers                                                                         1,340.00       1,340.00         -              1,340.00       -
 Office             307       Multiple pieces of           3/8/2016    M /HY      5
 Equip/Computers              Equipment                                                  722.94         722.94           -              722.94         -
 Office             271       Televisions                  3/8/2016    M /HY      5
 Equip/Computers                                                                         754.22         754.22           -              754.22         -
 Office             299       Backup device                3/11/2016   M /HY      5
 Equip/Computers                                                                         1,099.00       1,099.00         -              1,099.00       -
 Office             272       Laptop                       4/1/2016    M /HY      5
 Equip/Computers                                                                         842.82         842.82           -              842.82         -
 Office             273       Laptop                       4/1/2016    M /HY      5
 Equip/Computers                                                                         2,322.42       2,322.42         -              2,322.42       -


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 18



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23        Ent. 11/27/23 17:49:33           Pg. 38 of 127
 Category           System    Description                  Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Office             300       Phone                        4/6/2016     M /HY      5
 Equip/Computers                                                                          370.00         370.00           -              370.00         -
 Office             274       Laptop                       4/7/2016     M /HY      5
 Equip/Computers                                                                          1,423.70       1,423.70         -              1,423.70       -
 Office             308       Multiple pieces of           4/13/2016    M /HY      5
 Equip/Computers              Equipment                                                   749.90         749.90           -              749.90         -
 Office             275       TV and furnishings           4/13/2016    M /HY      5
 Equip/Computers                                                                          447.43         447.43           -              447.43         -
 Office             276       Apple Laptop for             4/15/2016    M /HY      5
 Equip/Computers              Glenn O MT new                                              999.00         999.00           -              999.00         -
                              hire
 Office             277       Laptop                       4/18/2016    M /HY      5
 Equip/Computers                                                                          2,011.96       2,011.96         -              2,011.96       -
 Office             278       Laptop for Claire P          4/20/2016    M /HY      5
 Equip/Computers                                                                          759.00         759.00           -              759.00         -
 Office             279       Laptop for                   5/7/2016     M /HY      5
 Equip/Computers              Christina R                                                 1,260.39       1,260.39         -              1,260.39       -
 Office             280       Laptop for Tara              5/10/2016    M /HY      5
 Equip/Computers                                                                          1,182.51       1,182.51         -              1,182.51       -
 Office             301       Computer Monitor             5/11/2016    M /HY      5
 Equip/Computers                                                                          509.99         509.99           -              509.99         -
 Office             281       Tower for Bilguun            6/6/2016     M /HY      5
 Equip/Computers                                                                          656.51         656.51           -              656.51         -
 Office             282       Printer                      6/9/2016     M /HY      5
 Equip/Computers                                                                          301.45         301.45           -              301.45         -
 Office             283       Conference                   7/14/2016    M /HY      5
 Equip/Computers              Telephone                                                   342.95         342.95           -              342.95         -
 Office             284       Dell Laptop for              7/20/2016    M /HY      5
 Equip/Computers              Adam S                                                      1,455.47       1,455.47         -              1,455.47       -
 Office             285       New Laptop for               7/23/2016    M /HY      5
 Equip/Computers              Shelby Bosset                                               930.51         930.51           -              930.51         -
 Office             286       Ipad                         8/3/2016     M /HY      5
 Equip/Computers                                                                          840.62         840.62           -              840.62         -
 Office             288       Laptop for Jake              8/17/2016    M /HY      5
 Equip/Computers                                                                          1,773.25       1,773.25         -              1,773.25       -
 Office             289       Laptop for Keisha            9/1/2016     M /HY      5
 Equip/Computers                                                                          831.86         831.86           -              831.86         -
 Office             290       Laptop for John              9/17/2016    M /HY      5
 Equip/Computers              White                                                       1,665.47       1,665.47         -              1,665.47       -
 Office             291       Laptop for Devin             10/5/2016    M /HY      5
 Equip/Computers                                                                          2,322.42       2,322.42         -              2,322.42       -
 Office             302       Phone                        10/7/2016    M /HY      5
 Equip/Computers                                                                          800.00         800.00           -              800.00         -
 Office             303       Laptop for Nicole            10/15/2016   M /HY      5
 Equip/Computers                                                                          1,164.94       1,164.94         -              1,164.94       -

Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 19



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 39 of 127
 Category           System    Description                  Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Office             292       Desktop for Brad             10/20/2016   M /HY      5
 Equip/Computers                                                                          864.10         864.10           -              864.10         -
 Office             293       Desktops (2)                 10/21/2016   M /HY      5
 Equip/Computers                                                                          1,728.20       1,728.20         -              1,728.20       -
 Office             304       Laptop for Tylynn            10/25/2016   M /HY      5
 Equip/Computers                                                                          1,113.75       1,113.75         -              1,113.75       -
 Office             294       Laptop for Ron               11/15/2016   M /HY      5
 Equip/Computers                                                                          968.55         968.55           -              968.55         -
 Office             295       Laptop for Stacy P           12/2/2016    M /HY      5
 Equip/Computers                                                                          1,442.51       1,442.51         -              1,442.51       -
 Office             296       Laptop for Craig             12/13/2016   M /HY      5
 Equip/Computers                                                                          1,469.30       1,469.30         -              1,469.30       -
 Office             356       Laptop                       1/1/2017     SL         5
 Equip/Computers                                                                          1,509.34       1,509.34         -              1,509.34       -
 Office             357       Ipad                         1/6/2017     SL         5
 Equip/Computers                                                                          739.19         739.19           -              739.19         -
 Office             358       Laptop                       1/6/2017     SL         5
 Equip/Computers                                                                          1,548.00       1,548.00         -              1,548.00       -
 Office             359       Laptop                       1/10/2017    SL         5
 Equip/Computers                                                                          1,017.08       1,017.08         -              1,017.08       -
 Office             360       Laptop                       1/13/2017    SL         5
 Equip/Computers                                                                          843.43         843.43           -              843.43         -
 Office             324       Desk Panels                  1/19/2017    SL         5
 Equip/Computers                                                                          695.96         684.35           -              684.35         11.61
 Office             361       Laptop                       1/23/2017    SL         5
 Equip/Computers                                                                          1,461.43       1,437.09         -              1,437.09       24.34
 Office             362       Laptop                       2/3/2017     SL         5
 Equip/Computers                                                                          1,526.84       1,501.40         -              1,501.40       25.44
 Office             363       Laptop                       2/5/2017     SL         5
 Equip/Computers                                                                          1,428.19       1,404.40         -              1,404.40       23.79
 Office             364       Laptops                      2/9/2017     SL         5
 Equip/Computers                                                                          6,458.00       6,350.37         -              6,350.37       107.63
 Office             365       Apple product                2/13/2017    SL         5
 Equip/Computers                                                                          799.99         786.67           -              786.67         13.32
 Office             366       Computer and                 2/17/2017    SL         5
 Equip/Computers              monitor                                                     1,625.00       1,570.83         -              1,570.83       54.17
 Office             367       Monitor                      2/18/2017    SL         5
 Equip/Computers                                                                          615.80         595.27           -              595.27         20.53
 Office             368       Conference Phone             3/2/2017     SL         5
 Equip/Computers                                                                          331.28         320.26           -              320.26         11.02
 Office             325       Furniture                    3/10/2017    SL         5
 Equip/Computers                                                                          433.65         419.19           -              419.19         14.46
 Office             369       Laptop                       3/11/2017    SL         5
 Equip/Computers                                                                          1,029.95       995.62           -              995.62         34.33


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 20



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 40 of 127
 Category           System    Description                  Date In     Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service     Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                        depreciation
 Office             343       Microsoft Purchase           3/13/2017   SL         5
 Equip/Computers                                                                         1,527.06       1,476.15         -              1,476.15       50.91
 Office             373       Laptop                       4/14/2017   SL         5
 Equip/Computers                                                                         2,699.97       2,564.95         -              2,564.95       135.02
 Office             372       Laptop                       4/25/2017   SL         5
 Equip/Computers                                                                         770.69         719.32           -              719.32         51.37
 Office             375       laptop                       4/25/2017   SL         5
 Equip/Computers                                                                         880.79         822.08           -              822.08         58.71
 Office             376       TV                           5/1/2017    SL         5
 Equip/Computers                                                                         385.34         359.66           -              359.66         25.68
 Office             377       Laptop                       5/4/2017    SL         5
 Equip/Computers                                                                         794.91         741.91           -              741.91         53.00
 Office             378       laptop                       5/15/2017   SL         5
 Equip/Computers                                                                         880.79         822.08           -              822.08         58.71
 Office             379       laptop                       5/19/2017   SL         5
 Equip/Computers                                                                         783.90         718.57           -              718.57         65.33
 Office             380       Laptop                       5/19/2017   SL         5
 Equip/Computers                                                                         1,679.00       1,539.08         -              1,539.08       139.92
 Office             326       Equipment                    5/23/2017   SL         5
 Equip/Computers                                                                         419.92         384.91           -              384.91         35.01
 Office             381       Laptop                       5/24/2017   SL         5
 Equip/Computers                                                                         770.69         706.47           -              706.47         64.22
 Office             399       Computer                     6/1/2017    SL         5
 Equip/Computers                                                                         902.81         827.57           -              827.57         75.24
 Office             400       Laptop for Brian L           6/2/2017    SL         5
 Equip/Computers                                                                         1,464.30       1,342.27         -              1,342.27       122.03
 Office             401       Laptop for Carter L          6/5/2017    SL         5
 Equip/Computers                                                                         825.74         756.94           -              756.94         68.80
 Office             402       Computer                     6/7/2017    SL         5
 Equip/Computers                                                                         890.71         816.47           -              816.47         74.24
 Office             382       Office Equipment             6/12/2017   SL         5
 Equip/Computers                                                                         819.45         751.16           -              751.16         68.29
 Office             403       Polycom                      6/18/2017   SL         5
 Equip/Computers              SoundStation 2                                             283.99         255.60           -              255.60         28.39
 Office             404       Accounting                   6/22/2017   SL         5
 Equip/Computers              Computers                                                  1,045.93       941.36           -              941.36         104.57
 Office             405       Dry Erase                    6/23/2017   SL         5
 Equip/Computers              Wallpapers                                                 337.70         303.93           -              303.93         33.77
 Office             406       Laptop                       7/21/2017   SL         5
 Equip/Computers                                                                         779.44         688.51           -              688.51         90.93
 Office             407       Ipad                         8/10/2017   SL         5
 Equip/Computers                                                                         560.74         495.33           -              495.33         65.41
 Office             408       Laptop                       8/22/2017   SL         5
 Equip/Computers                                                                         803.72         696.54           -              696.54         107.18


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 21



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23        Ent. 11/27/23 17:49:33           Pg. 41 of 127
 Category           System    Description                  Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Office             327       TV                           9/7/2017     SL         5
 Equip/Computers                                                                          843.87         731.34           -              731.34         112.53
 Office             328       Laptop                       9/14/2017    SL         5
 Equip/Computers                                                                          1,077.88       934.18           -              934.18         143.70
 Office             329       Computer                     9/22/2017    SL         5
 Equip/Computers                                                                          1,402.84       1,192.42         -              1,192.42       210.42
 Office             330       Laptop                       9/25/2017    SL         5
 Equip/Computers                                                                          913.82         776.73           -              776.73         137.09
 Office             409       2 Computers - CO,            10/3/2017    SL         5
 Equip/Computers              DM                                                          2,860.40       2,431.34         -              2,431.34       429.06
 Office             410       Computer for HILT            10/5/2017    SL         5
 Equip/Computers              Designer                                                    1,496.26       1,271.81         -              1,271.81       224.45
 Office             411       Laptop                       10/18/2017   SL         5
 Equip/Computers                                                                          1,321.19       1,101.00         -              1,101.00       220.19
 Office             331       Conference Table             11/1/2017    SL         5
 Equip/Computers                                                                          1,054.70       878.92           -              878.92         175.78
 Office             332       New Laptop                   11/5/2017    SL         5
 Equip/Computers                                                                          1,584.34       1,320.29         -              1,320.29       264.05
 Office             333       Laptop                       11/16/2017   SL         5
 Equip/Computers                                                                          1,121.92       916.22           -              916.22         205.70
 Office             414       Conference Phone             11/27/2017   SL         5
 Equip/Computers                                                                          295.14         241.04           -              241.04         54.10
 Office             334       Conference table             12/1/2017    SL         5
 Equip/Computers                                                                          1,054.70       861.34           -              861.34         193.36
 Office             335       Laptop                       12/1/2017    SL         5
 Equip/Computers                                                                          2,250.35       1,837.79         -              1,837.79       412.56
 Office             337       laptop                       12/1/2017    SL         5
 Equip/Computers                                                                          1,121.92       916.22           -              916.22         205.70
 Office             336       New Fridge                   12/1/2017    SL         5
 Equip/Computers                                                                          1,098.01       896.70           -              896.70         201.31
 Office             412       2 Laptops                    12/19/2017   SL         5
 Equip/Computers                                                                          2,201.98       1,761.60         -              1,761.60       440.38
 Office             413       TV for Employee              12/27/2017   SL         5
 Equip/Computers              Office                                                      363.10         290.48           72.62          363.10         -
 Office             419       Standup Desk                 1/9/2018     SL         7
 Equip/Computers                                                                          675.00         385.72           96.43          482.15         192.85
 Office             421       Computer                     1/13/2018    SL         5
 Equip/Computers                                                                          1,121.92       897.52           224.40         1,121.92       -
 Office             417       Design Computer              1/14/2018    SL         5
 Equip/Computers                                                                          2,035.75       1,628.60         407.15         2,035.75       -
 Office             418       Design Computer              1/14/2018    SL         5
 Equip/Computers                                                                          2,035.75       1,628.60         407.15         2,035.75       -
 Office             415       Standup Desk                 1/19/2018    SL         7
 Equip/Computers                                                                          615.00         344.12           87.86          431.98         183.02


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 22



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 42 of 127
 Category           System    Description                  Date In     Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service     Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                        depreciation
 Office             420       Standup Desk                 1/19/2018   SL         7
 Equip/Computers                                                                         1,230.00       688.20           175.71         863.91         366.09
 Office             416       Computer                     1/21/2018   SL         5
 Equip/Computers                                                                         1,265.05       990.96           253.01         1,243.97       21.08
 Office             424       Computer                     2/1/2018    SL         5
 Equip/Computers                                                                         913.82         715.81           182.76         898.57         15.25
 Office             425       Computer                     2/1/2018    SL         5
 Equip/Computers                                                                         715.64         560.59           143.13         703.72         11.92
 Office             423       Computer                     2/3/2018    SL         5
 Equip/Computers                                                                         1,121.92       878.82           224.38         1,103.20       18.72
 Office             428       Computer                     2/12/2018   SL         5
 Equip/Computers                                                                         1,451.93       1,137.36         290.39         1,427.75       24.18
 Office             426       Computer                     2/18/2018   SL         5
 Equip/Computers                                                                         966.62         741.06           193.32         934.38         32.24
 Office             427       Computer                     2/20/2018   SL         5
 Equip/Computers                                                                         737.66         565.53           147.53         713.06         24.60
 Office             430       Computer                     3/3/2018    SL         5
 Equip/Computers                                                                         924.81         709.01           184.96         893.97         30.84
 Office             431       Computer                     3/6/2018    SL         5
 Equip/Computers                                                                         1,355.95       1,039.56         271.19         1,310.75       45.20
 Office             432       Computer                     3/7/2018    SL         5
 Equip/Computers                                                                         719.51         551.62           143.90         695.52         23.99
 Office             434       Computer                     3/9/2018    SL         5
 Equip/Computers                                                                         1,240.96       951.39           248.19         1,199.58       41.38
 Office             437       Computer                     3/16/2018   SL         5
 Equip/Computers                                                                         1,279.82       981.18           255.96         1,237.14       42.68
 Office             439       Computer                     3/19/2018   SL         5
 Equip/Computers                                                                         1,279.82       959.85           255.96         1,215.81       64.01
 Office             436       Printer                      3/29/2018   SL         5
 Equip/Computers                                                                         281.27         210.94           56.25          267.19         14.08
 Office             438       Computer                     4/2/2018    SL         5
 Equip/Computers                                                                         880.79         660.60           176.16         836.76         44.03
 Office             443       Computer                     4/3/2018    SL         5
 Equip/Computers                                                                         1,397.17       1,047.86         279.43         1,327.29       69.88
 Office             444       Computer                     4/4/2018    SL         5
 Equip/Computers                                                                         1,486.34       1,114.76         297.27         1,412.03       74.31
 Office             445       Computer                     4/4/2018    SL         5
 Equip/Computers                                                                         1,486.34       1,114.76         297.27         1,412.03       74.31
 Office             447       Computer                     4/18/2018   SL         5
 Equip/Computers                                                                         1,870.60       1,371.77         374.12         1,745.89       124.71
 Office             448       Computer                     4/18/2018   SL         5
 Equip/Computers                                                                         1,229.00       901.27           245.80         1,147.07       81.93
 Office             449       Computer                     5/1/2018    SL         5
 Equip/Computers                                                                         283.80         208.12           56.76          264.88         18.92


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 23



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23        Ent. 11/27/23 17:49:33           Pg. 43 of 127
 Category           System    Description                  Date In     Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service     Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                        depreciation
 Office             454       Computer                     5/1/2018    SL         5
 Equip/Computers                                                                         361.74         265.28           72.35          337.63         24.11
 Office             452       Server                       5/24/2018   SL         5
 Equip/Computers                                                                         329.73         236.32           65.95          302.27         27.46
 Office             455       Computer Switch              6/1/2018    SL         5
 Equip/Computers                                                                         377.00         270.18           75.40          345.58         31.42
 Office             456       Computer Switch              6/1/2018    SL         5
 Equip/Computers                                                                         377.00         270.18           75.40          345.58         31.42
 Office             460       Computer                     6/6/2018    SL         5
 Equip/Computers                                                                         218.97         156.91           43.79          200.70         18.27
 Office             457       TV                           6/6/2018    SL         5
 Equip/Computers                                                                         550.49         394.52           110.10         504.62         45.87
 Office             458       TV                           6/6/2018    SL         5
 Equip/Computers                                                                         883.19         632.96           176.64         809.60         73.59
 Office             459       TV                           6/6/2018    SL         5
 Equip/Computers                                                                         883.19         632.96           176.64         809.60         73.59
 Office             465       Computer                     6/7/2018    SL         5
 Equip/Computers                                                                         1,121.92       804.03           224.38         1,028.41       93.51
 Office             466       Computer                     6/7/2018    SL         5
 Equip/Computers                                                                         1,121.92       804.03           224.38         1,028.41       93.51
 Office             464       Projector                    6/11/2018   SL         5
 Equip/Computers                                                                         322.48         231.12           64.50          295.62         26.86
 Office             463       Telephone                    6/15/2018   SL         5
 Equip/Computers                                                                         288.32         206.61           57.66          264.27         24.05
 Office             461       Telephone                    6/16/2018   SL         5
 Equip/Computers                                                                         239.23         167.48           47.85          215.33         23.90
 Office             467       Server                       6/19/2018   SL         5
 Equip/Computers                                                                         2,101.80       1,471.26         420.36         1,891.62       210.18
 Office             470       Computer                     7/13/2018   SL         5
 Equip/Computers                                                                         1,130.73       791.53           226.15         1,017.68       113.05
 Office             471       Computer                     7/19/2018   SL         5
 Equip/Computers                                                                         616.98         421.62           123.40         545.02         71.96
 Office             472       Computer                     8/1/2018    SL         5
 Equip/Computers                                                                         1,130.73       772.68           226.15         998.83         131.90
 Office             473       Computer                     8/1/2018    SL         5
 Equip/Computers                                                                         1,156.04       789.97           231.21         1,021.18       134.86
 Office             474       Computer                     8/1/2018    SL         5
 Equip/Computers                                                                         547.78         374.33           109.56         483.89         63.89
 Office             475       Computer                     8/1/2018    SL         5
 Equip/Computers                                                                         299.95         204.97           59.99          264.96         34.99
 Office             476       Computer                     8/9/2018    SL         5
 Equip/Computers                                                                         932.96         637.52           186.59         824.11         108.85
 Office             477       Computer                     8/9/2018    SL         5
 Equip/Computers                                                                         932.95         637.52           186.59         824.11         108.84


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 24



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23        Ent. 11/27/23 17:49:33           Pg. 44 of 127
 Category           System    Description                  Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Office             478       Computer                     8/18/2018    SL         5
 Equip/Computers                                                                          1,265.05       843.37           253.01         1,096.38       168.67
 Office             479       Computer                     8/21/2018    SL         5
 Equip/Computers                                                                          1,130.73       753.83           226.15         979.98         150.75
 Office             480       Computer                     8/21/2018    SL         5
 Equip/Computers                                                                          933.53         622.37           186.71         809.08         124.45
 Office             481       Computer                     8/23/2018    SL         5
 Equip/Computers                                                                          1,130.73       753.83           226.15         979.98         150.75
 Office             482       Computer                     8/23/2018    SL         5
 Equip/Computers                                                                          1,762.70       1,175.13         352.54         1,527.67       235.03
 Office             483       Computer                     8/23/2018    SL         5
 Equip/Computers                                                                          1,130.73       753.83           226.15         979.98         150.75
 Office             484       Phone                        8/25/2018    SL         5
 Equip/Computers                                                                          1,703.19       1,135.47         340.64         1,476.11       227.08
 Office             491       VOIP                         8/31/2018    SL         5
 Equip/Computers                                                                          2,835.74       1,890.50         567.15         2,457.65       378.09
 Office             485       Computer                     9/1/2018     SL         5
 Equip/Computers                                                                          934.22         622.80           186.84         809.64         124.58
 Office             486       Computer                     9/8/2018     SL         5
 Equip/Computers                                                                          1,397.17       931.43           279.43         1,210.86       186.31
 Office             487       Computer                     9/11/2018    SL         5
 Equip/Computers                                                                          1,130.73       753.83           226.15         979.98         150.75
 Office             488       Computer                     9/18/2018    SL         5
 Equip/Computers                                                                          639.38         415.61           127.88         543.49         95.89
 Office             492       VOIP                         9/30/2018    SL         5
 Equip/Computers                                                                          4,478.28       2,910.90         895.66         3,806.56       671.72
 Office             493       VOIP                         9/30/2018    SL         5
 Equip/Computers                                                                          5,463.24       3,551.11         1,092.65       4,643.76       819.48
 Office             494       VOIP                         9/30/2018    SL         5
 Equip/Computers                                                                          2,957.58       1,922.44         591.52         2,513.96       443.62
 Office             495       VOIP                         9/30/2018    SL         5
 Equip/Computers                                                                          2,007.43       1,304.84         401.49         1,706.33       301.10
 Office             512       Computer                     10/2/2018    SL         5
 Equip/Computers                                                                          937.67         609.47           187.53         797.00         140.67
 Office             503       Computer                     10/18/2018   SL         5
 Equip/Computers                                                                          935.52         592.48           187.10         779.58         155.94
 Office             511       Computer                     10/18/2018   SL         5
 Equip/Computers                                                                          935.52         592.48           187.10         779.58         155.94
 Office             513       Computer                     10/22/2018   SL         5
 Equip/Computers                                                                          1,130.73       716.14           226.15         942.29         188.44
 Office             504       Computer                     10/24/2018   SL         5
 Equip/Computers                                                                          1,335.62       845.88           267.12         1,113.00       222.62
 Office             496       Network Cabling              10/31/2018   SL         5
 Equip/Computers                                                                          18,943.48      11,997.55        3,788.70       15,786.25      3,157.23


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 25



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 45 of 127
 Category           System    Description                  Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Office             515       VOIP                         11/30/2018   SL         5
 Equip/Computers                                                                          979.07         603.75           195.81         799.56         179.51
 Office             521       Computer                     12/1/2018    SL         5
 Equip/Computers                                                                          934.11         576.03           186.82         762.85         171.26
 Office             522       Computer                     12/3/2018    SL         5
 Equip/Computers                                                                          2,101.81       1,296.11         420.36         1,716.47       385.34
 Office             519       Computer                     12/7/2018    SL         5
 Equip/Computers                                                                          253.88         156.57           50.78          207.35         46.53
 Office             523       Computer                     12/20/2018   SL         5
 Equip/Computers                                                                          1,419.19       851.52           283.84         1,135.36       283.83
 Office             524       Jeff Reading                 1/4/2019     SL         5
 Equip/Computers              ergonomic                                                   607.03         364.23           121.41         485.64         121.39
                              adjustable standing
                              desk (10.8.18)
 Office             526       Lesley Rogers                2/16/2019    SL         5
 Equip/Computers              computer                                                    953.43         540.29           190.69         730.98         222.45
 Office             527       Computer for Colt            2/20/2019    SL         5
 Equip/Computers                                                                          1,071.79       607.35           214.36         821.71         250.08
 Office             528       Computer for Ilana           2/21/2019    SL         5
 Equip/Computers              Brown                                                       1,121.92       635.74           224.38         860.12         261.80
 Office             529       Computer for                 2/21/2019    SL         5
 Equip/Computers              Montana                                                     1,121.92       635.74           224.38         860.12         261.80
 Office             530       Alex Torres new              2/23/2019    SL         5
 Equip/Computers              computer                                                    1,397.17       791.72           279.43         1,071.15       326.02
 Office             531       Mac for DM new               2/25/2019    SL         5
 Equip/Computers              hire                                                        1,411.48       799.85           282.30         1,082.15       329.33
 Office             532       back order                   3/1/2019     SL         5
 Equip/Computers              macbook pro                                                 1,405.98       796.73           281.20         1,077.93       328.05
 Office             533       Ben Winston new              3/2/2019     SL         5
 Equip/Computers              laptop                                                      953.43         540.29           190.69         730.98         222.45
 Office             538       Lisa Wang new                5/1/2019     SL         5
 Equip/Computers              computer                                                    1,405.98       749.87           281.20         1,031.07       374.91
 Office             543       new computer                 5/11/2019    SL         5
 Equip/Computers                                                                          2,476.15       1,320.61         495.23         1,815.84       660.31
 Office             552       AK Computer                  5/31/2019    SL         5
 Equip/Computers                                                                          1,405.98       726.43           281.20         1,007.63       398.35
 Office             554       Andrew C.S.                  5/31/2019    SL         5
 Equip/Computers              equipment                                                   5,533.61       2,859.03         1,106.72       3,965.75       1,567.86
 Office             549       CO Voip                      5/31/2019    SL         5
 Equip/Computers                                                                          1,102.96       569.86           220.59         790.45         312.51
 Office             547       HI Computer                  5/31/2019    SL         5
 Equip/Computers                                                                          948.28         489.95           189.66         679.61         268.67
 Office             553       ID computer                  5/31/2019    SL         5
 Equip/Computers                                                                          1,405.98       726.43           281.20         1,007.63       398.35


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 26



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 46 of 127
 Category           System    Description                  Date In     Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service     Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                        depreciation
 Office             546       ID Furniture                 5/31/2019   SL         5
 Equip/Computers                                                                         935.93         483.57           187.19         670.76         265.17
 Office             550       NM computer                  5/31/2019   SL         5
 Equip/Computers                                                                         1,309.09       676.37           261.82         938.19         370.90
 Office             551       nm computer                  5/31/2019   SL         5
 Equip/Computers                                                                         1,397.17       721.86           279.43         1,001.29       395.88
 Office             548       UT                           5/31/2019   SL         5
 Equip/Computers                                                                         953.43         492.62           190.69         683.31         270.12
 Office             555       WA                           5/31/2019   SL         5
 Equip/Computers                                                                         7,863.11       4,062.60         1,572.62       5,635.22       2,227.89
 Office             556       tech stuff                   6/4/2019    SL         5
 Equip/Computers                                                                         1,686.72       871.46           337.34         1,208.80       477.92
 Office             557       new laptop for new           6/5/2019    SL         5
 Equip/Computers              comms hire                                                 1,411.48       729.27           282.30         1,011.57       399.91
 Office             559       Router for Seattle           6/14/2019   SL         5
 Equip/Computers              Network Upgrade                                            2,751.40       1,421.56         550.28         1,971.84       779.56
 Office             560       New computer Hilt            6/18/2019   SL         5
 Equip/Computers              Contractor                                                 2,200.90       1,100.45         440.18         1,540.63       660.27
 Office             568       AK Computer                  6/30/2019   SL         5
 Equip/Computers                                                                         2,808.65       1,404.33         561.73         1,966.06       842.59
 Office             563       CA-SAC computer              6/30/2019   SL         5
 Equip/Computers                                                                         964.98         482.50           193.00         675.50         289.48
 Office             566       DC computer                  6/30/2019   SL         5
 Equip/Computers                                                                         1,405.98       703.00           281.20         984.20         421.78
 Office             567       HI computer                  6/30/2019   SL         5
 Equip/Computers                                                                         2,142.62       1,071.30         428.52         1,499.82       642.80
 Office             565       ID computer                  6/30/2019   SL         5
 Equip/Computers                                                                         1,397.17       698.58           279.43         978.01         419.16
 Office             564       MR computer                  6/30/2019   SL         5
 Equip/Computers                                                                         1,216.00       608.00           243.20         851.20         364.80
 Office             561       NM computer                  6/30/2019   SL         5
 Equip/Computers                                                                         758.82         379.40           151.76         531.16         227.66
 Office             562       NV computer                  6/30/2019   SL         5
 Equip/Computers                                                                         856.62         428.30           171.32         599.62         257.00
 Office             569       new hilt computer            7/1/2019    SL         5
 Equip/Computers                                                                         2,498.17       1,249.08         499.63         1,748.71       749.46
 Office             571       Jack G new                   7/10/2019   SL         5
 Equip/Computers              computer                                                   1,021.24       510.63           204.25         714.88         306.36
 Office             572       Conference room              7/12/2019   SL         5
 Equip/Computers              computers                                                  1,733.81       866.90           346.76         1,213.66       520.15
 Office             573       hard drives and              7/13/2019   SL         5
 Equip/Computers              memory thing                                               842.16         421.08           168.43         589.51         252.65
 Office             574       tech stuff                   7/13/2019   SL         5
 Equip/Computers                                                                         924.83         462.43           184.97         647.40         277.43


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 27



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23        Ent. 11/27/23 17:49:33           Pg. 47 of 127
 Category           System    Description                  Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Office             576       HI new hire                  7/31/2019    SL         5
 Equip/Computers              computer                                                    1,323.40       639.64           264.68         904.32         419.08
 Office             575       MR - ben winston             7/31/2019    SL         5
 Equip/Computers              new desk and chair                                          925.93         447.54           185.19         632.73         293.20
 Office             577       NV - TV for office           7/31/2019    SL         5
 Equip/Computers                                                                          6,551.11       3,166.37         1,310.22       4,476.59       2,074.52
 Office             578       Yvette T new                 8/1/2019     SL         5
 Equip/Computers              computer                                                    919.03         444.21           183.81         628.02         291.01
 Office             579       Andrew CS gear               8/2/2019     SL         5
 Equip/Computers                                                                          526.43         254.45           105.29         359.74         166.69
 Office             580       Computer for                 8/23/2019    SL         5
 Equip/Computers              Kevin P                                                     2,200.90       1,027.09         440.18         1,467.27       733.63
 Office             583       computer                     9/7/2019     SL         5
 Equip/Computers                                                                          904.24         421.98           180.85         602.83         301.41
 Office             585       new computer for             9/10/2019    SL         5
 Equip/Computers              Pep B                                                       1,483.05       692.09           296.61         988.70         494.35
 Office             586       Ron electronics?             9/23/2019    SL         5
 Equip/Computers                                                                          905.24         407.36           181.05         588.41         316.83
 Office             588       Chandler G new               9/25/2019    SL         5
 Equip/Computers              laptop                                                      1,429.32       643.19           285.86         929.05         500.27
 Office             589       iPads for                    9/26/2019    SL         5
 Equip/Computers              conference rooms                                            822.45         370.10           164.49         534.59         287.86
 Office             590       Lynea H new                  9/26/2019    SL         5
 Equip/Computers              computer                                                    1,429.32       643.19           285.86         929.05         500.27
 Office             591       Kayla U new                  9/27/2019    SL         5
 Equip/Computers              computer                                                    1,309.09       589.10           261.82         850.92         458.17
 Office             593       AK - network                 9/30/2019    SL         5
 Equip/Computers              hardware                                                    1,083.92       487.76           216.78         704.54         379.38
 Office             595       DM - computer for            9/30/2019    SL         5
 Equip/Computers              Makenna                                                     1,318.91       593.51           263.78         857.29         461.62
 Office             596       ID - new computer            9/30/2019    SL         5
 Equip/Computers              for Katy H                                                  1,323.40       595.53           264.68         860.21         463.19
 Office             597       LA - 5 standing              9/30/2019    SL         5
 Equip/Computers              desks for LA office                                         4,352.65       1,958.69         870.53         2,829.22       1,523.43
 Office             592       NM - refigerator             9/30/2019    SL         5
 Equip/Computers                                                                          538.30         242.24           107.66         349.90         188.40
 Office             594       SAC - new                    9/30/2019    SL         5
 Equip/Computers              computer for                                                1,309.09       589.10           261.82         850.92         458.17
                              Andrea D
 Office             599       AZ Chad                      10/31/2019   SL         5
 Equip/Computers                                                                          605.54         262.41           121.11         383.52         222.02
 Office             601       AZ Yleina                    10/31/2019   SL         5
 Equip/Computers              computer                                                    1,309.09       567.28           261.82         829.10         479.99
 Office             602       CA-LA Brian S                10/31/2019   SL         5
 Equip/Computers                                                                          1,309.09       567.28           261.82         829.10         479.99

Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 28



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 48 of 127
 Category           System    Description                  Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Office             605       ID Brian C                   10/31/2019   SL         5
 Equip/Computers              computer                                                    2,626.99       1,138.37         525.40         1,663.77       963.22
 Office             606       Matt D new                   10/31/2019   SL         5
 Equip/Computers              computer                                                    2,993.62       1,297.23         598.72         1,895.95       1,097.67
 Office             600       NM office furniture          10/31/2019   SL         5
 Equip/Computers              coffee table                                                622.24         269.64           124.45         394.09         228.15
 Office             604       SAC Leah B                   10/31/2019   SL         5
 Equip/Computers              computer                                                    1,405.98       609.27           281.20         890.47         515.51
 Office             603       Stephanie new                10/31/2019   SL         5
 Equip/Computers              computer                                                    1,309.09       567.28           261.82         829.10         479.99
 Office             609       Jake Martin                  11/30/2019   SL         5
 Equip/Computers              computer                                                    1,309.09       545.46           261.82         807.28         501.81
 Office             608       Josh Rosen                   11/30/2019   SL         5
 Equip/Computers              computer                                                    1,267.15       527.98           253.43         781.41         485.74
 Office             612       Karen's new                  11/30/2019   SL         5
 Equip/Computers              computer                                                    1,465.90       610.79           293.18         903.97         561.93
 Office             611       Nathan's computer            11/30/2019   SL         5
 Equip/Computers                                                                          1,323.40       551.42           264.68         816.10         507.30
 Office             614       new devices for              11/30/2019   SL         5
 Equip/Computers              portland team                                               4,690.26       1,954.27         938.05         2,892.32       1,797.94
 Office             613       OR new hires                 11/30/2019   SL         5
 Equip/Computers                                                                          1,878.18       782.58           375.64         1,158.22       719.96
 Office             610       Tonette S computer           11/30/2019   SL         5
 Equip/Computers                                                                          1,317.90       549.12           263.58         812.70         505.20
 Office             615       Chris' s computer            12/31/2019   SL         5
 Equip/Computers              LA                                                          824.66         329.86           164.93         494.79         329.87
 Office             617       Eliot and Spenser            12/31/2019   SL         5
 Equip/Computers                                                                          2,618.18       1,047.28         523.64         1,570.92       1,047.26
 Office             618       Laura and Mel's              12/31/2019   SL         5
 Equip/Computers              laptops                                                     3,672.41       1,468.96         734.48         2,203.44       1,468.97
 Office             616       new computer                 12/31/2019   SL         5
 Equip/Computers                                                                          1,177.51       471.00           235.50         706.50         471.01
 Office             628       Areen new laptop             1/31/2020    SL         5
 Equip/Computers              LA                                                          1,463.75       561.10           292.75         853.85         609.90
 Office             626       conference phone             1/31/2020    SL         5
 Equip/Computers              system SEA                                                  2,296.59       880.36           459.32         1,339.68       956.91
 Office             627       conference room              1/31/2020    SL         5
 Equip/Computers              TV SEA                                                      990.89         379.85           198.18         578.03         412.86
 Office             629       Melissa Shannon              1/31/2020    SL         5
 Equip/Computers              laptop MT                                                   1,879.41       720.44           375.88         1,096.32       783.09
 Office             632       areen new                    2/25/2020    SL         5
 Equip/Computers              computer                                                    1,463.75       536.71           292.75         829.46         634.29
 Office             631       Guest chair                  2/25/2020    SL         5
 Equip/Computers                                                                          1,235.37       452.96           247.07         700.03         535.34


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 29



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 49 of 127
 Category           System    Description                  Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Office             630       Laura and Mel's              2/25/2020    SL         5
 Equip/Computers              laptops                                                     3,287.48       1,205.42         657.50         1,862.92       1,424.56
 Office             633       melissa s new                2/25/2020    SL         5
 Equip/Computers              computer                                                    1,879.41       689.11           375.88         1,064.99       814.42
 Office             637       ella new computer            2/29/2020    SL         5
 Equip/Computers                                                                          1,407.08       515.94           281.42         797.36         609.72
 Office             634       forest new                   2/29/2020    SL         5
 Equip/Computers              computer                                                    2,057.77       754.51           411.55         1,166.06       891.71
 Office             638       greg new computer            2/29/2020    SL         5
 Equip/Computers                                                                          1,407.08       515.94           281.42         797.36         609.72
 Office             635       IT network,                  2/29/2020    SL         5
 Equip/Computers              espresso machine                                            11,160.65      4,092.24         2,232.13       6,324.37       4,836.28
 Office             636       new computer for             2/29/2020    SL         5
 Equip/Computers              oregon new hire                                             3,770.92       1,382.66         754.18         2,136.84       1,634.08
 Office             640       Tylynn new                   2/29/2020    SL         5
 Equip/Computers              computer                                                    2,135.47       783.00           427.09         1,210.09       925.38
 Office             639       will kane new                2/29/2020    SL         5
 Equip/Computers              computer                                                    1,411.48       517.55           282.30         799.85         611.63
 Office             644       Brooklyn's new               3/31/2020    SL         5
 Equip/Computers              computer                                                    1,411.48       494.03           282.30         776.33         635.15
 Office             642       new computer for             3/31/2020    SL         5
 Equip/Computers              Charles wright                                              1,411.48       494.03           282.30         776.33         635.15
 Office             641       new computer for             3/31/2020    SL         5
 Equip/Computers              Sid                                                         1,375.33       481.37           275.07         756.44         618.89
 Office             643       Standing desk for            3/31/2020    SL         5
 Equip/Computers              melanie, computer                                           6,754.10       2,363.94         1,350.82       3,714.76       3,039.34
 Office             645       gina computer and            5/31/2020    SL         5
 Equip/Computers              other IT supplies                                           2,344.66       742.47           468.93         1,211.40       1,133.26
 Office             646       tonnette                     5/31/2020    SL         5
 Equip/Computers                                                                          1,050.00       332.50           210.00         542.50         507.50
 Office             647       Jennifer Trejullo            6/30/2020    SL         5
 Equip/Computers              Laptop                                                      1,397.17       419.15           279.43         698.58         698.59
 Office             650       equipment for Jenn           11/30/2020   SL         5
 Equip/Computers              and TJ                                                      2,741.49       593.99           548.30         1,142.29       1,599.20
 Office             651       eric C new                   11/30/2020   SL         5
 Equip/Computers              computer AZ                                                 1,397.17       302.72           279.43         582.15         815.02
 Office             648       laptops for                  11/30/2020   SL         5
 Equip/Computers              incoming interns                                            1,366.71       296.12           273.34         569.46         797.25
 Office             649       NM new laptop                11/30/2020   SL         5
 Equip/Computers              Jenn and TJ                                                 7,299.14       1,581.48         1,459.83       3,041.31       4,257.83
 Office             653       CO employee                  12/1/2020    SL         5
 Equip/Computers              laptop                                                      2,000.00       433.33           400.00         833.33         1,166.67
 Office             655       ID new employee              12/1/2020    SL         5
 Equip/Computers              laptop                                                      1,344.32       291.26           268.86         560.12         784.20


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 30



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 50 of 127
 Category           System    Description                  Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Office             654       Kayla new laptop             12/1/2020    SL         5
 Equip/Computers                                                                          2,538.00       549.90           507.60         1,057.50       1,480.50
 Office             652       laptops for wa               12/1/2020    SL         5
 Equip/Computers              office                                                      3,251.97       704.59           650.39         1,354.98       1,896.99
 Office             657       DC new employee              12/18/2020   SL         5
 Equip/Computers              laptop                                                      2,759.59       551.92           551.92         1,103.84       1,655.75
 Office             668       furniture for SAC            12/18/2020   SL         5
 Equip/Computers              office                                                      515.44         103.09           103.09         206.18         309.26
 Office             661       HILT mathew                  12/18/2020   SL         5
 Equip/Computers              nickols laptop                                              2,498.17       499.63           499.63         999.26         1,498.91
 Office             662       laptop equipment             12/18/2020   SL         5
 Equip/Computers              for NM office                                               1,497.01       299.40           299.40         598.80         898.21
 Office             664       laptop supplies for          12/18/2020   SL         5
 Equip/Computers              Obai                                                        2,908.02       581.60           581.60         1,163.20       1,744.82
 Office             666       laptops for Alyson           12/18/2020   SL         5
 Equip/Computers              M                                                           3,885.04       777.01           777.01         1,554.02       2,331.02
 Office             660       laptops for                  12/18/2020   SL         5
 Equip/Computers              incoming hires                                              3,199.98       640.00           640.00         1,280.00       1,919.98
 Office             667       laptops for Kurt             12/18/2020   SL         5
 Equip/Computers                                                                          3,196.89       639.38           639.38         1,278.76       1,918.13
 Office             665       laptops for TX               12/18/2020   SL         5
 Equip/Computers                                                                          2,437.62       487.52           487.52         975.04         1,462.58
 Office             659       Missi Currier                12/18/2020   SL         5
 Equip/Computers              laptop                                                      1,536.30       307.26           307.26         614.52         921.78
 Office             658       MT employee                  12/18/2020   SL         5
 Equip/Computers              laptop                                                      1,344.32       268.86           268.86         537.72         806.60
 Office             663       office supplies for          12/18/2020   SL         5
 Equip/Computers              AZ                                                          538.92         107.78           107.78         215.56         323.36
 Office             669       office supplies for          12/18/2020   SL         5
 Equip/Computers              OR                                                          615.51         123.10           123.10         246.20         369.31
 Office             656       replacement                  12/18/2020   SL         5
 Equip/Computers              equipment for wa                                            1,457.12       291.42           291.42         582.84         874.28
                              office
 Office             673       Laptops - AZ                 1/6/2021     SL         5
 Equip/Computers                                                                          2,498.17       499.63           499.63         999.26         1,498.91
 Office             672       Laptops - WA                 1/6/2021     SL         5
 Equip/Computers                                                                          1,134.01       226.80           226.80         453.60         680.41
 Office             679       Laptops - WA                 1/7/2021     SL         5
 Equip/Computers                                                                          644.13         128.83           128.83         257.66         386.47
 Office             680       Laptops - WA                 1/7/2021     SL         5
 Equip/Computers                                                                          2,705.33       541.07           541.07         1,082.14       1,623.19
 Office             675       Laptops                      1/13/2021    SL         5
 Equip/Computers                                                                          968.67         193.73           193.73         387.46         581.21
 Office             676       Computer                     1/15/2021    SL         5
 Equip/Computers              Equipment                                                   608.51         121.70           121.70         243.40         365.11

Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 31



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 51 of 127
 Category           System    Description                  Date In     Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service     Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                        depreciation
 Office             674       Laptops                      1/15/2021   SL         5
 Equip/Computers                                                                         2,688.64       537.73           537.73         1,075.46       1,613.18
 Office             678       Computer                     1/22/2021   SL         5
 Equip/Computers              Equipment                                                  1,465.53       268.68           293.11         561.79         903.74
 Office             677       Laptops                      2/1/2021    SL         5
 Equip/Computers                                                                         1,218.41       223.37           243.68         467.05         751.36
 Office             687       Office Chair                 2/2/2021    SL         5
 Equip/Computers                                                                         2,247.00       411.95           449.40         861.35         1,385.65
 Office             692       Television                   2/2/2021    SL         5
 Equip/Computers                                                                         2,301.68       421.98           460.34         882.32         1,419.36
 Office             682       Television Mounts            2/2/2021    SL         5
 Equip/Computers                                                                         578.04         105.98           115.61         221.59         356.45
 Office             683       Wall and Door                2/2/2021    SL         5
 Equip/Computers              Signage                                                    1,859.19       340.85           371.84         712.69         1,146.50
 Office             681       Wall Controller              2/2/2021    SL         5
 Equip/Computers                                                                         703.61         128.99           140.72         269.71         433.90
 Office             693       Laptop                       2/3/2021    SL         5
 Equip/Computers                                                                         1,353.13       248.08           270.63         518.71         834.42
 Office             694       Laptop                       2/5/2021    SL         5
 Equip/Computers                                                                         2,907.61       533.06           581.52         1,114.58       1,793.03
 Office             695       Laptop                       2/8/2021    SL         5
 Equip/Computers                                                                         708.65         129.92           141.73         271.65         437.00
 Office             697       Computer                     2/15/2021   SL         5
 Equip/Computers              Equipment                                                  1,320.29       220.05           264.06         484.11         836.18
 Office             696       Laptop                       2/22/2021   SL         5
 Equip/Computers                                                                         1,724.71       287.45           344.94         632.39         1,092.32
 Office             698       Computer                     3/8/2021    SL         5
 Equip/Computers              Equipment                                                  2,838.38       473.07           567.68         1,040.75       1,797.63
 Office             699       Computer                     3/8/2021    SL         5
 Equip/Computers              Equipment                                                  693.94         115.66           138.79         254.45         439.49
 Office             700       Computer                     3/10/2021   SL         5
 Equip/Computers              Equipment                                                  709.01         118.17           141.80         259.97         449.04
 Office             701       Computer                     3/12/2021   SL         5
 Equip/Computers              Equipment                                                  1,377.18       229.53           275.44         504.97         872.21
 Office             702       Laptops                      3/19/2021   SL         5
 Equip/Computers                                                                         3,454.94       518.24           690.99         1,209.23       2,245.71
 Office             703       Laptops                      3/22/2021   SL         5
 Equip/Computers                                                                         1,210.00       181.50           242.00         423.50         786.50
 Office             704       Laptops                      4/1/2021    SL         5
 Equip/Computers                                                                         1,218.81       182.82           243.76         426.58         792.23
 Office             705       Computer                     4/6/2021    SL         5
 Equip/Computers              Equipment                                                  2,863.94       429.59           572.79         1,002.38       1,861.56
 Office             706       Laptops                      4/10/2021   SL         5
 Equip/Computers                                                                         1,335.54       200.33           267.11         467.44         868.10


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 32



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23        Ent. 11/27/23 17:49:33           Pg. 52 of 127
 Category           System    Description                  Date In     Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service     Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                        depreciation
 Office             707       Laptops                      4/12/2021   SL         5
 Equip/Computers                                                                         2,246.90       337.04           449.38         786.42         1,460.48
 Office             708       Equipment                    4/16/2021   SL         5
 Equip/Computers                                                                         1,064.82       141.97           212.96         354.93         709.89
 Office             709       Equipment                    4/16/2021   SL         5
 Equip/Computers                                                                         880.48         117.40           176.10         293.50         586.98
 Office             710       Equipment                    4/17/2021   SL         5
 Equip/Computers                                                                         804.32         107.24           160.86         268.10         536.22
 Office             711       Electronic                   4/28/2021   SL         5
 Equip/Computers              Equipment                                                  747.60         99.68            149.52         249.20         498.40
 Office             712       Computer                     5/6/2021    SL         5
 Equip/Computers                                                                         2,880.02       384.00           576.00         960.00         1,920.02
 Office             714       Computer                     6/14/2021   SL         5
 Equip/Computers              Equipment                                                  2,869.81       334.81           573.96         908.77         1,961.04
 Office             715       Monitor                      6/21/2021   SL         5
 Equip/Computers                                                                         661.50         66.15            132.30         198.45         463.05
 Office             718       Electronic                   7/6/2021    SL         5
 Equip/Computers              Equipment                                                  700.26         70.03            140.05         210.08         490.18
 Office             717       Laptop                       7/6/2021    SL         5
 Equip/Computers                                                                         2,884.49       288.45           576.90         865.35         2,019.14
 Office             719       Uplift Desk                  7/8/2021    SL         5
 Equip/Computers                                                                         1,035.25       103.53           207.05         310.58         724.67
 Office             720       Monitor                      7/9/2021    SL         5
 Equip/Computers                                                                         930.28         93.03            186.06         279.09         651.19
 Office             721       Monitor                      7/9/2021    SL         5
 Equip/Computers                                                                         1,504.80       150.48           300.96         451.44         1,053.36
 Office             722       Keyboards                    7/12/2021   SL         5
 Equip/Computers                                                                         772.37         77.24            154.47         231.71         540.66
 Office             723       Laptop                       7/12/2021   SL         5
 Equip/Computers                                                                         1,007.45       100.75           201.49         302.24         705.21
 Office             716       Cubicle                      7/22/2021   SL         5
 Equip/Computers                                                                         1,154.32       96.19            230.86         327.05         827.27
 Office             724       Coffee Machine               8/5/2021    SL         5
 Equip/Computers                                                                         2,204.94       183.75           440.99         624.74         1,580.20
 Office             725       Laptop                       8/5/2021    SL         5
 Equip/Computers                                                                         2,900.57       241.71           580.11         821.82         2,078.75
 Office             726       Desk                         8/13/2021   SL         5
 Equip/Computers                                                                         947.05         78.92            189.41         268.33         678.72
 Office             728       Laptops                      8/16/2021   SL         5
 Equip/Computers                                                                         1,708.66       142.39           341.73         484.12         1,224.54
 Office             727       Monitors                     8/16/2021   SL         5
 Equip/Computers                                                                         807.44         67.29            161.49         228.78         578.66
 Office             733       Laptop                       9/6/2021    SL         5
 Equip/Computers                                                                         1,216.06       81.07            243.21         324.28         891.78


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 33



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23        Ent. 11/27/23 17:49:33           Pg. 53 of 127
 Category           System    Description                  Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                         depreciation
 Office             734       Laptop                       9/6/2021     SL         5
 Equip/Computers                                                                          1,216.06       81.07            243.21         324.28         891.78
 Office             739       Laptop                       9/6/2021     SL         5
 Equip/Computers                                                                          706.19         47.08            141.24         188.32         517.87
 Office             729       Laptops                      9/6/2021     SL         5
 Equip/Computers                                                                          2,918.72       194.58           583.74         778.32         2,140.40
 Office             738       Monitor                      9/8/2021     SL         5
 Equip/Computers                                                                          744.56         49.64            148.91         198.55         546.01
 Office             731       Monitor                      9/13/2021    SL         5
 Equip/Computers                                                                          1,564.21       104.28           312.84         417.12         1,147.09
 Office             740       Monitor                      9/14/2021    SL         5
 Equip/Computers                                                                          660.87         44.06            132.17         176.23         484.64
 Office             736       Monitor                      9/15/2021    SL         5
 Equip/Computers                                                                          937.05         62.47            187.41         249.88         687.17
 Office             730       Monitor                      9/20/2021    SL         5
 Equip/Computers                                                                          2,121.80       106.09           424.36         530.45         1,591.35
 Office             737       Laptop                       9/23/2021    SL         5
 Equip/Computers                                                                          1,049.58       52.48            209.92         262.40         787.18
 Office             732       Laptop                       9/30/2021    SL         5
 Equip/Computers                                                                          1,222.62       61.13            244.52         305.65         916.97
 Office             746       Monitor                      10/4/2021    SL         5
 Equip/Computers                                                                          709.59         35.48            141.92         177.40         532.19
 Office             747       Laptop                       10/5/2021    SL         5
 Equip/Computers                                                                          704.00         35.20            140.80         176.00         528.00
 Office             742       Laptop                       10/6/2021    SL         5
 Equip/Computers                                                                          2,911.16       145.56           582.23         727.79         2,183.37
 Office             741       Laptop                       10/14/2021   SL         5
 Equip/Computers                                                                          3,445.31       172.27           689.06         861.33         2,583.98
 Office             743       Laptop                       10/18/2021   SL         5
 Equip/Computers                                                                          1,370.75       45.69            274.15         319.84         1,050.91
 Office             745       Laptop                       10/28/2021   SL         5
 Equip/Computers                                                                          953.99         31.80            190.80         222.60         731.39
 Office             752       Laptop                       11/1/2021    SL         5
 Equip/Computers                                                                          1,322.99       44.10            264.60         308.70         1,014.29
 Office             749       Laptop                       11/4/2021    SL         5
 Equip/Computers                                                                          2,926.77       97.56            585.35         682.91         2,243.86
 Office             754       Laptops                      11/4/2021    SL         5
 Equip/Computers                                                                          854.39         28.48            170.88         199.36         655.03
 Office             755       Laptops                      11/4/2021    SL         5
 Equip/Computers                                                                          854.39         28.48            170.88         199.36         655.03
 Office             750       Laptop                       11/18/2021   SL         5
 Equip/Computers                                                                          1,337.83       22.30            267.57         289.87         1,047.96
 Office             751       Laptop                       11/18/2021   SL         5
 Equip/Computers                                                                          1,354.38       22.57            270.88         293.45         1,060.93


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 34



                              Case 23-12303-TWD        Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 54 of 127
 Category           System    Description                               Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                                 Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                                      depreciation
 Office             748       Laptop                                    11/19/2021   SL         5
 Equip/Computers                                                                                       8,118.82       135.31           1,623.76       1,759.07       6,359.75
 Office             759       Laptops                                   12/1/2021    SL         5
 Equip/Computers                                                                                       2,866.48       47.77            573.30         621.07         2,245.41
 Office             757       Laptops                                   12/6/2021    SL         5
 Equip/Computers                                                                                       3,643.76       60.73            728.75         789.48         2,854.28
 Office             758       Laptops                                   12/6/2021    SL         5
 Equip/Computers                                                                                       3,012.07       50.20            602.41         652.61         2,359.46
 Office             760       Laptops                                   12/6/2021    SL         5
 Equip/Computers                                                                                       2,452.95       40.88            490.59         531.47         1,921.48
 Office             756       Laptops                                   12/8/2021    SL         5
 Equip/Computers                                                                                       4,068.23       67.80            813.65         881.45         3,186.78
 Office             766       Microsoft store     office supplies       2/1/2022     SL         5
 Equip/Computers              supplies                                                                 2,971.69       -                543.86         543.86         2,427.83
 Office             767       CDW store           office supplies       2/1/2022     SL         5
 Equip/Computers                                                                                       1,473.30       -                269.63         269.63         1,203.67
 Office             769       Apple laptop        office supplies       2/1/2022     SL         5
 Equip/Computers                                                                                       4,038.46       -                739.09         739.09         3,299.37
 Office             770       Laptop for Forest   office supplies       2/1/2022     SL         5
 Equip/Computers                                                                                       1,631.68       -                298.62         298.62         1,333.06
 Office             771       Lenovo laptop       IT supplies           2/1/2022     SL         5
 Equip/Computers                                                                                       2,423.69       -                443.57         443.57         1,980.12
 Office             772       Apple laptop        office supplies       2/1/2022     SL         5
 Equip/Computers                                                                                       2,708.85       -                495.76         495.76         2,213.09
 Office             773       Computer            office supplies       2/1/2022     SL         5
 Equip/Computers              equipment from                                                           1,433.25       -                262.30         262.30         1,170.95
                              Microsoft
 Office             774       Ipad and Keyboard   office Supplies       3/1/2022     SL         5
 Equip/Computers                                                                                       1,094.62       -                183.54         183.54         911.08
 Office             775       Apple laptops       office supplies       3/1/2022     SL         5
 Equip/Computers                                                                                       2,755.15       -                461.96         461.96         2,293.19
 Office             776       Apple laptops       office supplies       3/1/2022     SL         5
 Equip/Computers                                                                                       1,416.66       -                237.53         237.53         1,179.13
 Office             777       Apple laptops       office supplies       3/1/2022     SL         5
 Equip/Computers                                                                                       1,376.94       -                230.87         230.87         1,146.07
 Office             778       Apple laptops       office supplies       3/1/2022     SL         5
 Equip/Computers                                                                                       1,376.94       -                230.87         230.87         1,146.07
 Office             779       Apple laptops       office supplies       3/1/2022     SL         5
 Equip/Computers                                                                                       1,360.21       -                228.07         228.07         1,132.14
 Office             781       Microsoft store     IT supplies           3/1/2022     SL         5
 Equip/Computers              supplies                                                                 2,971.58       -                498.25         498.25         2,473.33
 Office             785       Apple laptops for   IT supplies           4/1/2022     SL         5
 Equip/Computers              new employees                                                            1,432.15       -                215.80         215.80         1,216.35
 Office             786       Apple laptops for   IT supplies           4/1/2022     SL         5
 Equip/Computers              new employees                                                            1,416.66       -                213.47         213.47         1,203.19

Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 35



                              Case 23-12303-TWD                     Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 55 of 127
 Category           System    Description                                Date In    Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                                  Service    Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                                     depreciation
 Office             787       Apple laptops for    IT supplies           4/1/2022   SL         5
 Equip/Computers              new employees                                                           1,426.41       -                214.94         214.94         1,211.47
 Office             788       Apple laptops for    IT supplies           4/1/2022   SL         5
 Equip/Computers              new employees                                                           1,403.67       -                211.51         211.51         1,192.16
 Office             789       Apple laptops for    IT supplies           4/1/2022   SL         5
 Equip/Computers              new employees                                                           1,413.44       -                212.98         212.98         1,200.46
 Office             790       Apple laptops for    IT supplies           4/1/2022   SL         5
 Equip/Computers              new employees                                                           2,349.71       -                354.07         354.07         1,995.64
 Office             791       Amazon supplies      IT supplies           4/1/2022   SL         5
 Equip/Computers                                                                                      1,034.38       -                155.87         155.87         878.51
 Office             793       microsoft supplies   IT supplies           4/1/2022   SL         5
 Equip/Computers                                                                                      3,045.34       -                458.89         458.89         2,586.45
 Office             794       microsoft supplies   IT supplies           4/1/2022   SL         5
 Equip/Computers                                                                                      2,973.44       -                448.05         448.05         2,525.39
 Office             795       Coffee machine       office supplies       5/1/2022   SL         7
 Equip/Computers                                                                                      1,814.13       -                173.96         173.96         1,640.17
 Office             796       Microsoft store      IT supplies           5/1/2022   SL         5
 Equip/Computers              supplies                                                                3,126.80       -                419.76         419.76         2,707.04
 Office             797       Apple computer       IT supplies           5/1/2022   SL         5
 Equip/Computers                                                                                      1,354.00       -                181.77         181.77         1,172.23
 Office             798       Apple computer       IT supplies           5/1/2022   SL         5
 Equip/Computers                                                                                      1,484.74       -                199.32         199.32         1,285.42
 Office             800       Apple computer       IT supplies           5/1/2022   SL         5
 Equip/Computers                                                                                      1,999.00       -                268.36         268.36         1,730.64
 Office             801       Copier for the BC    office equipment-No   5/1/2022   SL         7
 Equip/Computers              office               movement needed.                                   2,802.69       -                268.75         268.75         2,533.94
 Office             803       Apple computer       IT supplies           5/1/2022   SL         5
 Equip/Computers                                                                                      1,493.54       -                200.50         200.50         1,293.04
 Office             805       Monitors             office supplies       5/1/2022   SL         5
 Equip/Computers                                                                                      1,267.50       -                170.16         170.16         1,097.34
 Office             810       Apple computer       IT supplies           6/1/2022   SL         5
 Equip/Computers                                                                                      2,755.15       -                323.07         323.07         2,432.08
 Office             811       Apple computer       IT supplies           6/1/2022   SL         5
 Equip/Computers                                                                                      1,308.04       -                153.38         153.38         1,154.66
 Office             812       Apple computer       IT supplies           6/1/2022   SL         5
 Equip/Computers                                                                                      1,760.69       -                206.46         206.46         1,554.23
 Office             813       Apple computer       IT supplies           6/1/2022   SL         5
 Equip/Computers                                                                                      8,512.87       -                998.22         998.22         7,514.65
 Office             814       Lenovo laptop        IT supplies           6/1/2022   SL         5
 Equip/Computers                                                                                      1,655.11       -                194.08         194.08         1,461.03
 Office             815       Apple computer       IT supplies           6/1/2022   SL         5
 Equip/Computers                                                                                      2,755.15       -                323.07         323.07         2,432.08
 Office             819       Computer             IT supplies           6/1/2022   SL         5
 Equip/Computers              equipment from                                                          5,969.38       -                699.97         699.97         5,269.41
                              CDW

Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 36



                              Case 23-12303-TWD                      Doc 1    Filed 11/27/23       Ent. 11/27/23 17:49:33           Pg. 56 of 127
 Category           System    Description                             Date In     Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                               Service     Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                                   depreciation
 Office             823       Apple computer        IT supplies       7/1/2022    SL         5
 Equip/Computers                                                                                    1,334.69       -                134.57         134.57         1,200.12
 Office             824       Apple computer        IT supplies       7/1/2022    SL         5
 Equip/Computers                                                                                    2,203.90       -                222.20         222.20         1,981.70
 Office             825       Monitors              IT supplies       7/1/2022    SL         5
 Equip/Computers                                                                                    2,998.80       -                302.34         302.34         2,696.46
 Office             826       Lenovo laptop         IT supplies       7/1/2022    SL         5
 Equip/Computers                                                                                    1,322.48       -                133.33         133.33         1,189.15
 Office             829       Apple computer        IT supplies       8/1/2022    SL         5
 Equip/Computers                                                                                    1,436.15       -                120.40         120.40         1,315.75
 Office             830       Apple computer        IT supplies       8/1/2022    SL         5
 Equip/Computers                                                                                    1,416.66       -                118.77         118.77         1,297.89
 Office             831       Lenovo laptop         IT supplies       8/1/2022    SL         5
 Equip/Computers                                                                                    1,271.93       -                106.63         106.63         1,165.30
 Office             832       Apple computer        IT supplies       8/1/2022    SL         5
 Equip/Computers                                                                                    1,410.71       -                118.27         118.27         1,292.44
 Office             833       Lenovo laptop         IT supplies       8/1/2022    SL         5
 Equip/Computers                                                                                    1,519.42       -                127.38         127.38         1,392.04
 Office             834       Lenovo laptop         IT supplies       8/1/2022    SL         5
 Equip/Computers                                                                                    1,231.99       -                103.28         103.28         1,128.71
 Office             836       Apple laptop          IT supplies       8/1/2022    SL         5
 Equip/Computers                                                                                    1,306.25       -                109.51         109.51         1,196.74
 Office             839       Microsoft supplies    IT supplies       9/1/2022    SL         5
 Equip/Computers                                                                                    3,118.42       -                208.46         208.46         2,909.96
 Office             844       Apple laptop          IT supplies       10/1/2022   SL         5
 Equip/Computers                                                                                    1,058.37       -                53.35          53.35          1,005.02
 Office             845       Apple laptop          IT supplies       10/1/2022   SL         5
 Equip/Computers                                                                                    2,864.30       -                144.39         144.39         2,719.91
 Office             846       Apple laptop          IT supplies       10/1/2022   SL         5
 Equip/Computers                                                                                    1,313.00       -                66.19          66.19          1,246.81
 Office             847       Apple laptop          IT supplies       10/1/2022   SL         5
 Equip/Computers                                                                                    1,438.66       -                72.52          72.52          1,366.14
 Office             848       Microsoft supplies    IT supplies       10/1/2022   SL         5
 Equip/Computers                                                                                    3,023.49       -                152.42         152.42         2,871.07
 Office             851       Apple laptop          IT supplies       11/1/2022   SL         5
 Equip/Computers                                                                                    2,710.17       -                90.59          90.59          2,619.58
 Office             852       Apple laptop          IT supplies       11/1/2022   SL         5
 Equip/Computers                                                                                    1,421.79       -                47.52          47.52          1,374.27
 Office             853       Apple laptop          IT supplies       11/1/2022   SL         5
 Equip/Computers                                                                                    1,448.41       -                48.41          48.41          1,400.00
 Office             856       Appliances for Bc     Office            12/1/2022   SL         7
 Equip/Computers              office - BC Coastal                                                   8,720.63       -                105.81         105.81         8,614.82
                              Projects
 Office             862       Lenovo laptop         IT supplies       12/1/2022   SL         5
 Equip/Computers                                                                                    2,233.40       -                37.94          37.94          2,195.46

Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 37



                              Case 23-12303-TWD                   Doc 1    Filed 11/27/23        Ent. 11/27/23 17:49:33           Pg. 57 of 127
 Category           System    Description                          Date In     Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                            Service     Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                                depreciation
 Office             863       Apple laptop       IT supplies       12/1/2022   SL         5
 Equip/Computers                                                                                 1,313.00       -                22.30          22.30          1,290.70
 Office             864       Apple laptop       IT supplies       12/1/2022   SL         5
 Equip/Computers                                                                                 1,417.00       -                24.07          24.07          1,392.93
 Office             865       Apple laptop       IT supplies       12/1/2022   SL         5
 Equip/Computers                                                                                 1,439.16       -                24.45          24.45          1,414.71
 Office             868       Apple laptop       IT supplies       12/1/2022   SL         5
 Equip/Computers                                                                                 1,447.59       -                24.59          24.59          1,423.00
 Office             869       Apple laptop       IT supplies       12/1/2022   SL         5
 Equip/Computers                                                                                 1,437.38       -                24.42          24.42          1,412.96
 Office             870       Apple laptop       IT supplies       12/1/2022   SL         5
 Equip/Computers                                                                                 1,428.67       -                24.27          24.27          1,404.40
 Office             871       Apple laptop       IT supplies       12/1/2022   SL         5
 Equip/Computers                                                                                 1,421.79       -                24.15          24.15          1,397.64
 Office             872       Lenovo laptop      IT supplies       12/1/2022   SL         5
 Equip/Computers                                                                                 3,127.68       -                53.13          53.13          3,074.55
 Office             873       Lenovo laptop      IT supplies       12/1/2022   SL         5
 Equip/Computers                                                                                 3,172.95       -                53.90          53.90          3,119.05
 Office             N/A       Misc Diff
 Equip/Computers                                                                                 1,056.23       -                33.50          33.50          1,022.73
 Software           221       Software                             1/1/1994    M /HY      5
                                                                                                 2,332.00       2,332.00         -              2,332.00       -
 Software           223       House Fonts                          3/1/1995    M /HY      3
                                                                                                 184.00         184.00           -              184.00         -
 Software           222       Quickbooks                           3/1/1995    M /HY      3
                                                                                                 123.00         123.00           -              123.00         -
 Software           224       Adobe                                8/1/1995    M /HY      3
                                                                                                 135.00         135.00           -              135.00         -
 Software           225       Adobe Pagemaker                      9/1/1995    M /HY      3
                                                                                                 1,725.00       1,725.00         -              1,725.00       -
 Software           226       Timeslips                            12/1/1995   M /HY      5
                                                                                                 80.00          80.00            -              80.00          -
 Software           227       Adman Accounting                     3/1/1996    M /HY      5
                              Program                                                            3,600.00       3,600.00         -              3,600.00       -
 Software           228       Other Software                       3/1/1996    M /HY      5
                                                                                                 1,356.00       1,356.00         -              1,356.00       -
 Software           229       Mac Warehouse                        5/19/1997   M /HY      5
                              Software                                                           1,054.00       1,054.00         -              1,054.00       -
 Software           230       Software                             3/30/1998   M /HY      5
                                                                                                 835.00         835.00           -              835.00         -
 Software           231       Fonthaus Inc                         7/3/1998    M /HY      5
                              Software                                                           107.00         107.00           -              107.00         -
 Software           232       Mac Warehouse                        7/3/1998    M /HY      5
                              Software                                                           134.00         134.00           -              134.00         -


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 38



                              Case 23-12303-TWD                Doc 1    Filed 11/27/23        Ent. 11/27/23 17:49:33           Pg. 58 of 127
 Category           System    Description                            Date In      Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                              Service      Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                                   depreciation
 Software           233       MWI Datacom                            7/3/1998     M /HY      5
                              Software                                                              58.00          58.00            -              58.00          -
 Software           234       Adobe Studio                           7/31/1998    M /HY      5
                              Software                                                              187.00         187.00           -              187.00         -
 Software           235       Light Impression                       9/12/1998    M /HY      5
                              Software                                                              83.00          83.00            -              83.00          -
 Software           236       Virex Protection                       9/15/1998    M /HY      5
                              Software                                                              75.00          75.00            -              75.00          -
 Software           237       Pac Mac Club                           10/12/1998   M /HY      5
                              Software                                                              215.00         215.00           -              215.00         -
 Software           238       Maclink Plus                           11/2/1999    M /HY      5
                              Checkmark                                                             251.00         251.00           -              251.00         -
 Software           239       C&P Software                           1/14/2000    M /HY      5
                                                                                                    5,778.00       5,778.00         -              5,778.00       -
 Software           240       LCD Projector                          8/15/2002    M /HY      5
                                                                                                    3,159.00       3,159.00         -              3,159.00       -
 Software           241       Adobe Creative                         6/11/2004    M /HY      5
                              Suite                                                                 727.00         727.00           -              727.00         -
 Software           242       Adobe CS Upgrade                       5/5/2006     M /HY      5
                                                                                                    182.00         182.00           -              182.00         -
 Software           247       Adobe CS Suite 4                       3/12/2009    SL         3
                                                                                                    514.00         514.00           -              514.00         -
 Software           248       Extensis                               4/10/2009    SL         3
                                                                                                    100.00         100.00           -              100.00         -
 Software           249       DRI Smith Micro                        5/12/2009    SL         3
                                                                                                    80.00          80.00            -              80.00          -
 Software           250       Microsoft Word                         4/13/2010    SL         3
                                                                                                    176.00         176.00           -              176.00         -
 Software           244       Analytical Poll                        8/31/2011    M /HY      3
                              Software                                                              2,495.00       2,495.00         -              2,495.00       -
 Software           246       MT Dell Laptop                         11/14/2011   M /HY      5
                                                                                                    1,191.00       1,191.00         -              1,191.00       -
 Software           243       Computer Software                      12/27/2011   M /HY      3
                                                                                                    300.00         300.00           -              300.00         -
 Software           219       Dell Software                          2/25/2012    M /HY      3
                              License                                                               10,034.00      10,034.00        -              10,034.00      -
 Software           220       Polling Software                       5/25/2012    M /HY      3
                              License                                                               1,995.00       1,995.00         -              1,995.00       -
 Software           251       MR Wincross                            1/24/2013    M /HY      3
                              Software                                                              2,730.00       2,730.00         -              2,730.00       -
 Software           355       Software                               5/4/2017     SL         5
                                                                                                    1,420.29       1,325.61         -              1,325.61       94.68
 Software           768       Adobe subscription   IT supplies       2/1/2022     SL         5
                                                                                                    3,390.41       -                620.49         620.49         2,769.92


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 39



                              Case 23-12303-TWD                  Doc 1    Filed 11/27/23         Ent. 11/27/23 17:49:33           Pg. 59 of 127
 Category           System    Description                                 Date In     Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                                   Service     Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                                       depreciation
 Software           780       Adobe subscription   IT supplies            3/1/2022    SL         5
                                                                                                        3,412.45       -                572.17         572.17         2,840.28
 Software           782       zoom subscription    IT supplies            3/1/2022    SL         5
                                                                                                        1,153.27       -                193.37         193.37         959.90
 Software           792       Adobe subscription   IT supplies            4/1/2022    SL         5
                                                                                                        3,484.07       -                525.00         525.00         2,959.07
 Software           799       GoToMyPC             IT supplies            5/1/2022    SL         5
                              software                                                                  14,553.00      -                1,953.69       1,953.69       12,599.31
 Software           806       Adobe                IT supplies            5/1/2022    SL         7
                                                                                                        3,484.07       -                334.09         334.09         3,149.98
 Software           816       Kandji               IT supplies            6/1/2022    SL         5
                                                                                                        9,588.00       -                1,124.29       1,124.29       8,463.71
 Software           817       Adobe subscription   IT supplies            6/1/2022    SL         5
                                                                                                        3,484.07       -                408.54         408.54         3,075.53
 Software           821       Torri Software       Software no need to    7/1/2022    SL         5
                                                   move                                                 21,829.50      -                2,200.89       2,200.89       19,628.61
 Software           822       Avalara              IT supplies            7/1/2022    SL         5
                                                                                                        11,223.17      -                1,131.54       1,131.54       10,091.63
 Software           828       Adobe subscription   IT supplies            7/1/2022    SL         5
                                                                                                        3,500.60       -                352.94         352.94         3,147.66
 Software           838       Adobe subscription   IT supplies            9/1/2022    SL         5
                                                                                                        3,500.60       -                234.01         234.01         3,266.59
 Software           841       Zoom subscription    IT supplies            9/1/2022    SL         5
                                                                                                        12,100.16      -                808.89         808.89         11,291.27
 Software           861       Avalara              IT supplies            12/1/2022   SL         5
                                                                                                        11,223.17      -                190.64         190.64         11,032.53
 Software           866       Microsoft software   IT supplies/software   12/1/2022   SL         5
                                                                                                        3,059.44       -                51.97          51.97          3,007.47
 Software           867       Microsoft software   IT supplies/software   12/1/2022   SL         5
                                                                                                        3,059.44       -                51.97          51.97          3,007.47
 Software           874       Microsoft software   IT supplies/software   12/1/2022   SL         5
                                                                                                        3,066.57       -                52.09          52.09          3,014.48
 Software           818       Microsoft software   IT supplies/software   6/1/2022    SL         5
                                                                                                        3,068.69       -                359.84         359.84         2,708.85
 Software           827       Microsoft software   IT supplies            7/1/2022    SL         5
                                                                                                        3,167.33       -                319.34         319.34         2,847.99
 Software           835       Microsoft software   IT supplies/software   8/1/2022    SL         5
                                                                                                        3,118.42       -                261.43         261.43         2,856.99
 Software           842       Adobe annual         IT supplies            10/1/2022   SL         5
                              subscription                                                              44,247.61      -                2,230.56       2,230.56       42,017.05


                                                                                      Total
                                                                                                        1,902,124.79   1,049,374.59     176,384.99     1,225,759.58   676,365.21


Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 40



                              Case 23-12303-TWD                    Doc 1       Filed 11/27/23        Ent. 11/27/23 17:49:33           Pg. 60 of 127
 Category           System    Description                  Date In     Method /   Life   Cost / Other   Beg. Accum.      Current        Ending         Net Book
                    No.                                    Service     Conv.             Basis          Depreciation     Depreciation   Accumulated    Value 2022
                                                                                                                                        depreciation
 CIP                N/A       BC Office                    N/A         N/A
                              Improvements                                               332,675.76                                                    332,675.76




                                                                       GRAND
                                                                       TOTAL             2,234,800.55   1,049,374.59     176,384.99     1,225,759.58   1,009,040.97


                                                                       Per G/L
                                                                                         2,234,800.55   1,092,300.61     133,458.97     1,225,759.58   1,009,040.97
                                                                       Diff
                                                                                         0.00           42,926.02        (42,926.02)    -              -




Strategies 360, Inc.
Attachment to Schedule B #39 – Office Furniture - 41



                              Case 23-12303-TWD        Doc 1     Filed 11/27/23    Ent. 11/27/23 17:49:33              Pg. 61 of 127
             Strategies 360, Inc.
             Attachment to Schedule B #55 – Any Building, Improved Real Estate, or Land Debtor
             Owns/Has Interest (Leased Property)

              Name                                            Description                        Term Remaining
              OC Communications, Inc. ATTN CEO                Lessee under Real Estate Lease -   31 months (expires
              c/o Vicinity Commercial Mgmt, LLC               Anchorage, Alaska                  06/30/2026)
              301 W Northern Light Blvd. #303
              Anchorage, AK 99503
              OC Communications                               Notice only
              c/o Holmes Weddle Barcott
              Attn: Natalie A. Cale
              701 W 8th Ave., Suite 700
              Anchorage, AK 99051
              RN Properties The Park, LLC                     Leasee under Real Estate Lease -   48 months (expires
              4455 E Camelback Rd., Suite C-140               Phoenix, Arizona                   11/30/2027)
              Phoenix, AZ 85018
              KBSII 445 South Figueroa, LLC                   Leasee under Real Estate Lease -   24 months (expires
              c/o KBS Capital Advisors LLC                    Los Angeles, California            11/30/2025)
              800 Newport Center Dr., Suite 700
              Newport Beach, CA 92660
              KBS Capital Advisors LLC                        Notice only
              Attn: Mr. Tim Helgeson
              800 Newport Center Dr., Suite 700
              Newport Beach, CA 92660
              Adams, Duerk & Kamenstein                       Sublessor of Real Estate located   24 months (expires
              445 S Figueroa St., Suite 2300                  in Los Angeles, California         11/30/2025)
              Los Angeles, CA 90071
              Pac West Office Equities LP                     Leasee under Real Estate Lease -   36 months (expires
              c/o Rubicon Property Manager                    Sacramento, California             11/30/2026)
              555 Capitol Mall, Suite 130
              Sacramento, CA 95814
              Regus Management Group LLC                      Renter of Office Space under       8 months (expires
              c/o CA, San Diego, Spaces, University Town      Office Service Agreement - San     07/31/2024)
              Center                                          Diego, California
              4660 La Jolla Village Dr., Suite 100 & 200
              San Diego, CA 92122
              Canopy Jackson Square, LLC                      Renter of Office Space - San       3 months (expires
              Attn: Finance Administration                    Francisco, California              02/27/2024)
              595 Pacific Ave., Floor 4
              San Francisco, CA 94133
              1660 Lincoln St. Property, LLC                  Leasee under Real Estate Lease -   56 months (expires
gk22n6018c    c/o Westport Capitol Partners LLC               Denver, Colorado                   07/31/2028)
              Attn: Peter Morgan
              2121 Rosecrans Ave., Suite 4325
              El Segundo, CA 90245
              1660 Lincoln St. Property, LLC                  Notice only
              c/o Westport Capitol Partners LLC
              Attn: Marc Porosoff, Esq.
              300 Atlantic St., Suite 1110
              Stanford, CT 06901


             Strategies 360, Inc.
             Attachment to Schedule B #55 – Any Building, Improved Real Estate, or Land Debtor Owns/Has Interest (Leased
             Property) - 1



             Case 23-12303-TWD            Doc 1      Filed 11/27/23         Ent. 11/27/23 17:49:33        Pg. 62 of 127
              Name                                             Description                        Term Remaining
              1660 Lincoln St. Property, LLC                   Notice only
              c/o Unico Properties LLC
              Attn: Property Manager
              1660 Lincoln St Suite 2300
              Denver, CO 80264
              601 NJ Ave LLC                                   Leasee under Real Estate Lease -   72 months (expires
              c/o Beacon Capital Partners LLC                  Washington, D.C.                   11/30/2029)
              Attn: General Counsel
              200 State St 5th Floor
              Boston, MA 02109
              Beacon Capital Partners LLC                      Notice only
              Attn: General Counsel
              200 State St 5th Floor
              Boston, MA 02109
              Capitol Port Holdings LLC                        Leasee under Real Estate Lease -   30 months (expires
              c/o Standard Commercial LLC                      Honolulu, Hawaii                   05/31/2026)
              201 Merchant St., Suite 2228
              Honolulu, HI 96813
              Eighth and Main LLC; Boise Gateway Office 1,     Leasee under Real Estate Lease -   8 months (expires
              L.C.; Boise Skyline LLC; Gardner Company         Boise, Idaho                       07/30/2024)
              Attn: Christian Gardner
              201 South Main St., Suite 2000
              Salt Lake City, UT 84111
              The Sidecar - Helena Independent                 Renter of Office Space - Helena,   3 months (expires
              Attn: Finance Administration                     Montana                            02/28/2024)
              317 Cruse Ave., Suite 202
              Helena, MT 59601
              Charleston Pavilion L.L.C.                       Leasee under Real Estate Lease -   55 months (expires
              10801 W Charleston Blvd., Suite 757              Las Vegas, Nevada                  06/30/2028)
              Las Vegas, NV 89135
              LB Owner, LLC                                    Leasee under Real Estate Lease -   52 months (expires
              PO Box 889229                                    Portland, Oregon                   03/31/2028)
              Los Angeles, CA 90088
              Jean K LLC                                       Leasee under Real Estate Lease -   29 months (expires
              c/o Prime Locations Inc                          Olympia, Washington                04/30/2026)
              321 Cleveland Ave SE, Suite 101
              Tumwater, WA 98501
              The Irvine Company LLC                           Leasee under Real Estate Lease -   39 months (expires
              Attn: Property Manager                           Irvine, California                 02/28/2027)
              200 Spectrum Center Dr., Suite 1200
              Irvine, CA 92618
              The Irvine Company LLC                           Notice only
gk22n6018c    Attn: Senior Vice President, Operations Irvine
              Office Properties
              550 Newport Center Drive
              Newport Beach, CA 92660
              Koenig Law Firm                                  Sublessor of Real Estate located   39 months (expires
              15635 Alton Pkwy, Suite 475                      in Irvine, California              02/28/2027)
              Irvine, CA 92618
              DWF V West Lake LLC                              Leasee under Real Estate Lease -   79 months (expires
              c/o Divco Real Estate Services Inc               Seattle, Washington                06/30/2030)
              Attn: General Counsel
             Strategies 360, Inc.
             Attachment to Schedule B #55 – Any Building, Improved Real Estate, or Land Debtor Owns/Has Interest (Leased
             Property) - 2



             Case 23-12303-TWD             Doc 1     Filed 11/27/23          Ent. 11/27/23 17:49:33        Pg. 63 of 127
              Name                                            Description                       Term Remaining
              301 Hoard St., Suite 2100
              San Francisco, CA 94105
              Divco West Real Estate Services Inc             Notice only
              Attn: Asset Manager
              301 Howard St., Suite 2100
              San Francisco, CA 94015
              Hughes Seattle, Inc.                            Principal under Sublease          month-to-month subject
              317 N Cruse Ave., Suite 202                     Engagement Letter                 to 30-day written
              Helena, MT 59601                                                                  cancelation notice




gk22n6018c




             Strategies 360, Inc.
             Attachment to Schedule B #55 – Any Building, Improved Real Estate, or Land Debtor Owns/Has Interest (Leased
             Property) - 3



             Case 23-12303-TWD             Doc 1     Filed 11/27/23         Ent. 11/27/23 17:49:33       Pg. 64 of 127
             Strategies 360, Inc.
             Attachment to Schedule B #73 – Interest in Insurance Policies or Annuities
              Name                                                       Description                                       Term Remaining

              Trisura Specialty Insurance Company                        Cyber Insurance Policy; Carrier: At-Bay, Policy   7 months (expires 06/25/2024)
              210 Park Avenue, Ste. 1300                                 No. ATB-6740376-02 2023-06-25
              Oklahoma City, OK 73102
              At-Bay Insurance Serivces LLC                              notice only
              196 Castro St., Ste. A
              Mountain View, CA 94041
              INSUREtrust                                                notice only
              5185 Peachtree Pkwy, Ste. 230
              Peachtree Corners, GA 30092
              Travelers Casualty and Surety                              Management Liability Policy; Policy No.           7 months (expires 06/25/2024)
               Company of America                                        106926783
              PO Box 2950
              Hartford, CT 06104
              The Hanover Insurance Company                              General Liability Package Policy (AOS); Policy    7 months (expires 06/25/2024)
              440 Lincoln St.                                            No. ZH2-D490399-06
              Worcester, MA 01653
              The Hanover Insurance Company                              General Liability Package Policy (HI); Policy     7 months (expires 06/25/2024)
              440 Lincoln St.                                            No. ZH2-D490400-06
              Worcester, MA 01653
              Capitol Specialty Insurance Corporation                    Professional Liability Policy; Policy No.         7 months (expires 06/25/2024)
              PO Box 5900                                                SGC0000873-14
              Madison, WI 53705
              The Hanover Insurance Company                              Excess and Umbrella Policy; Policy No. UH2        7 months (expires 06/25/2024)
              c/o Massachusetts Bay Insurance Company                    D490403 06
              440 Lincoln St.
              Worcester, MA 01653


             Strategies 360, Inc.
             Attachment to Schedule B #73 – Interest in Insurance Policies or Annuities - 1


gk22fe012r
                                   Case 23-12303-TWD               Doc 1      Filed 11/27/23   Ent. 11/27/23 17:49:33      Pg. 65 of 127
              Name                                                       Description                                    Term Remaining

              The Hanover Insurance Company                              Workers Compensation Policy (AOS); Policy      7 months (expires 06/25/2024)
              440 Lincoln St.                                            No. WD2-D414492-06
              Worcester, MA 01653
              Hanover American Insurance Company                         Workers Compensation Policy (AK and HI);       7 months (expires 06/25/2024)
              808 N Highlander Way                                       Policy No. WM2-D490402-06
              Howell, MI 48843
              Travelers Casualty and Surety Company                      ERISA Policy No. 107184943                     7 months (expires 06/25/2024)
               of America
              PO Box 2950
              Hartford, CT 06104
              Parker, Smith & Feek                                       broker-notice only
              Attn: Chisa Blair
              2233 112th Ave NE
              Bellevue, WA 98004




             Strategies 360, Inc.
             Attachment to Schedule B #73 – Interest in Insurance Policies or Annuities - 2


gk22fe012r
                                   Case 23-12303-TWD               Doc 1      Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 66 of 127
Fill in this information to identify the case:

Debtor name          Strategies 360, Inc.

United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
       KeyBank National
2.1                                                                                                                    $3,665,639.30                       $0.00
       Association                                  Describe debtor's property that is subject to a lien
       Creditor's Name                              Personal Property
       1301 5th Avenue
       Seattle, WA 98101
       Creditor's mailing address                   Describe the lien
                                                    UCC-1 Financing Statement
                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
       11-05-21                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0078
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



                                                                                                                        $3,665,639.3
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   0

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1




            Case 23-12303-TWD                         Doc 1           Filed 11/27/23                Ent. 11/27/23 17:49:33            Pg. 67 of 127
Fill in this information to identify the case:

Debtor name        Strategies 360, Inc.

United States Bankruptcy Court for the:         WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $4,851.00
          Arizona News Service                                                 Contingent
          PO Box 1051                                                          Unliquidated
          Williamsport, PA 17703                                               Disputed
          Date(s) debt was incurred 11/14/2023
                                                                            Basis for the claim: Professional Services
          Last 4 digits of account number 373
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $65,188.55
          Basis Global Technologies, Inc                                       Contingent
          11 E Madison St., 6th Floor                                          Unliquidated
          Chicago, IL 60602                                                    Disputed
          Date(s) debt was incurred 10/31/2023
                                                                            Basis for the claim: Professional Services
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $3,000.00
          Brave the Woods                                                      Contingent
          1053 W Darrah DR                                                     Unliquidated
          Meridian, ID 83646                                                   Disputed
          Date(s) debt was incurred 7/27/2023
                                                                            Basis for the claim: Professional Services
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $5,800.00
          Brave the Woods                                                      Contingent
          1054 W Darrah DR                                                     Unliquidated
          Meridian, ID 83646                                                   Disputed
          Date(s) debt was incurred 10/26/2023
                                                                            Basis for the claim: Professional Services
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 1 of 5
                                                                                                          27718



            Case 23-12303-TWD                       Doc 1          Filed 11/27/23                Ent. 11/27/23 17:49:33                           Pg. 68 of 127
Debtor      Strategies 360, Inc.                                                            Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $78,473.00
         Eidolon                                                      Contingent
         9803 NewHaven Loop                                           Unliquidated
         Anchorage, AK 99507                                          Disputed
         Date(s) debt was incurred 10/31/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,163,768.90
         Eric Sorenson
         c/o Christopher M. Wyant                                     Contingent
         K&L Gates                                                    Unliquidated
         925 Fourth Avenue, Suite 2900                                Disputed
         Seattle, WA 98104
                                                                   Basis for the claim: Judgment
         Date(s) debt was incurred 10/19/23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $6,435.26
         ESP                                                          Contingent
         317 East 37th Street                                         Unliquidated
         Boise, ID 83714                                              Disputed
         Date(s) debt was incurred 10/1/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $133,075.22
         Facebook                                                     Contingent
         15161 Collections Center Drive                               Unliquidated
         Chicago, IL 60693                                            Disputed
         Date(s) debt was incurred 10/31/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $87,568.36
         Google Inc.                                                  Contingent
         P.O. Box 883654                                              Unliquidated
         Los Angeles, CA 90088                                        Disputed
         Date(s) debt was incurred 10/31/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number 1623
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $8,300.00
         Hooligan                                                     Contingent
         119 5th Ave.                                                 Unliquidated
         New York, NY 10003                                           Disputed
         Date(s) debt was incurred 10/25/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $67,868.30
         In the Bag Promotions                                        Contingent
         480 N. Latah St.                                             Unliquidated
         Boise, ID 83706                                              Disputed
         Date(s) debt was incurred 10/13/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 5




           Case 23-12303-TWD                   Doc 1       Filed 11/27/23               Ent. 11/27/23 17:49:33                           Pg. 69 of 127
Debtor      Strategies 360, Inc.                                                            Case number (if known)
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $4,525.00
         Jago Inc.                                                    Contingent
         4320 196th St. SW, Suite B-246                               Unliquidated
         Lynnwood, WA 98036                                           Disputed
         Date(s) debt was incurred 8/31/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $159,460.23
         Jago Inc.                                                    Contingent
         4321 196th St. SW, Suite B-246                               Unliquidated
         Lynnwood, WA 98036                                           Disputed
         Date(s) debt was incurred 9/30/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $146,474.71
         Jago Inc.                                                    Contingent
         4322 196th St. SW, Suite B-246                               Unliquidated
         Lynnwood, WA 98036                                           Disputed
         Date(s) debt was incurred 10/31/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $37,127.75
         KGS Research Inc.                                            Contingent
         (Revolution Capital)                                         Unliquidated
         1050 E Flamingo RD, Suite E120                               Disputed
         Las Vegas, NV 89119
                                                                   Basis for the claim: Professional Services
         Date(s) debt was incurred 10/30/2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $3,422.00
         Mary's Rose Video Marketing                                  Contingent
         721 Depot Drive                                              Unliquidated
         Anchorage, AK 99501                                          Disputed
         Date(s) debt was incurred 8/1/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $1,200.00
         Mary's Rose Video Marketing                                  Contingent
         722 Depot Drive                                              Unliquidated
         Anchorage, AK 99501                                          Disputed
         Date(s) debt was incurred 8/21/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $2,000.00
         Mary's Rose Video Marketing                                  Contingent
         723 Depot Drive                                              Unliquidated
         Anchorage, AK 99501                                          Disputed
         Date(s) debt was incurred 9/8/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 5




           Case 23-12303-TWD                   Doc 1       Filed 11/27/23               Ent. 11/27/23 17:49:33                           Pg. 70 of 127
Debtor      Strategies 360, Inc.                                                            Case number (if known)
            Name

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $17,712.52
         MOI - DC                                                     Contingent
         Box 826500                                                   Unliquidated
         Philadelphia, PA 19182                                       Disputed
         Date(s) debt was incurred 10/1/2023
                                                                   Basis for the claim: Goods
         Last 4 digits of account number 1012
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $6,337.50
         Sago (Schlesinger Group)                                     Contingent
         PO Box 360764                                                Unliquidated
         Pittsburgh, PA 15251                                         Disputed
         Date(s) debt was incurred 10/26/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $13,100.00
         Smith Bunday Berman                                          Contingent
          Britton, P.S.                                               Unliquidated
         11808 Northup Way, Suite 240                                 Disputed
         Bellevue, WA 98005
                                                                   Basis for the claim: Professional Services
         Date(s) debt was incurred 10/24/2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $22,584.69
         Strategic Research Assoc. LLC                                Contingent
         29 W Pacific Ave.                                            Unliquidated
         Spokane, WA 99201                                            Disputed
         Date(s) debt was incurred 10/23/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $7,002.00
         Team Labs, Inc.                                              Contingent
         228 Park Ave S                                               Unliquidated
         PMB 85099                                                    Disputed
         New York, NY 10003
                                                                   Basis for the claim: Professional Services
         Date(s) debt was incurred 11/7/2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $11,748.00
         The Knowledge Mill, LLC                                      Contingent
         Attn: Kate Dove                                              Unliquidated
         813 N Ford St.                                               Disputed
         Burbank, CA 91505
                                                                   Basis for the claim: Professional Services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $11,253.51
         Treasure Valley Litho                                        Contingent
         29 N Phillippi St                                            Unliquidated
         Boise, ID 83706                                              Disputed
         Date(s) debt was incurred 10/1/2023
                                                                   Basis for the claim: Professional Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 5




           Case 23-12303-TWD                    Doc 1      Filed 11/27/23               Ent. 11/27/23 17:49:33                           Pg. 71 of 127
Debtor       Strategies 360, Inc.                                                                   Case number (if known)
             Name

3.26      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                 $4,800.00
          Trout Jousters, LLC                                                  Contingent
          4426 W Dawson DR                                                     Unliquidated
          Meridian, ID 83646                                                   Disputed
          Date(s) debt was incurred 10/6/2023
                                                                           Basis for the claim: Professional Services
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the           Last 4 digits of
                                                                                                    related creditor (if any) listed?                 account number, if
                                                                                                                                                      any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                            0.00
5b. Total claims from Part 2                                                                           5b.   +    $                    7,073,076.50

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        7,073,076.50




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 5 of 5




           Case 23-12303-TWD                        Doc 1         Filed 11/27/23                Ent. 11/27/23 17:49:33                           Pg. 72 of 127
Fill in this information to identify the case:

Debtor name       Strategies 360, Inc.

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Leasee under Real
           lease is for and the nature of        Estate Lease - Denver,
           the debtor's interest                 Colorado
                                                                                    1660 Lincoln St. Property, LLC
               State the term remaining          56 months (expires                 c/o Westport Capitol Partners
                                                 07/31/2028)                        Attn: Peter Morgan
           List the contract number of any                                          2121 Rosecrans Ave Ste 4325
                 government contract                                                El Segundo, CA 90245


2.2.       State what the contract or            Notice only
           lease is for and the nature of
           the debtor's interest
                                                                                    1660 Lincoln St. Property, LLC
               State the term remaining                                             c/o Westport Capitol Partners
                                                                                    Attn: Marc Porosoff, Esq
           List the contract number of any                                          300 Atlantic St Ste 1110
                 government contract                                                Stanford, CT O6901


2.3.       State what the contract or            Notice only
           lease is for and the nature of
           the debtor's interest
                                                                                    1660 Lincoln St. Property, LLC
               State the term remaining                                             c/o Unico Properties LLC
                                                                                    Attn: Property Manager
           List the contract number of any                                          1660 Lincoln St Ste 2300
                 government contract                                                Denver, CO 80264


2.4.       State what the contract or            Sublessor of Real
           lease is for and the nature of        Estate located in Los
           the debtor's interest                 Angeles, California

               State the term remaining          24 months (expires                 Adams, Duerk & Kamenstein
                                                 11/30/2025)                        445 S Figueroa St
           List the contract number of any                                          Ste 2300
                 government contract                                                Los Angeles, CA 90071




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 10




          Case 23-12303-TWD                      Doc 1       Filed 11/27/23            Ent. 11/27/23 17:49:33                 Pg. 73 of 127
Debtor 1 Strategies 360, Inc.                                                     Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.5.      State what the contract or        PDF Software
          lease is for and the nature of
          the debtor's interest

             State the term remaining       10 months (expires
                                            09/01/2024)                   Adobe Inc.
          List the contract number of any                                 345 Park Avenue
                government contract                                       San Jose, CA 95110-2704


2.6.      State what the contract or        Printer Lease, Contract
          lease is for and the nature of    Number:
          the debtor's interest             450-9666650-001 -
                                            Portland, OR
             State the term remaining
                                                                          All Copy Products
          List the contract number of any                                 1635 W. 13th Ave
                government contract                                       Denver, CO 80204


2.7.      State what the contract or        Notice only
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                     Beacon Capital Partners LLC
                                                                          Attn: General Counsel
          List the contract number of any                                 200 State St 5th Floor
                government contract                                       Boston, MA O2109


2.8.      State what the contract or        Printer Lease -
          lease is for and the nature of    Phoenix, AZ
          the debtor's interest

             State the term remaining       42 months
                                                                          Caltronics Business Systems
          List the contract number of any                                 2431 Mercantile Dr
                government contract                                       Rancho Cordova, CA 95742


2.9.      State what the contract or        notice only, customer
          lease is for and the nature of    no. 3691794425
          the debtor's interest

             State the term remaining                                     Caltronics Business Systems
                                                                          c/o Wells Fargo
          List the contract number of any                                 PO Box 3072
                government contract                                       Cedar Rapids, IA 52406-3072




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 10




         Case 23-12303-TWD                  Doc 1     Filed 11/27/23        Ent. 11/27/23 17:49:33          Pg. 74 of 127
Debtor 1 Strategies 360, Inc.                                                    Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.10.     State what the contract or        Renter of Office Space -
          lease is for and the nature of    San Francisco,
          the debtor's interest             California
                                                                        Canopy Jackson Square, LLC
             State the term remaining       3 months (expires           Attn: Finance Administration
                                            02/27/2024)                 595 Pacific Ave
          List the contract number of any                               Floor 4
                government contract                                     San Francisco, CA 94133


2.11.     State what the contract or        Leasee under Real
          lease is for and the nature of    Estate Lease -
          the debtor's interest             Honolulu, Hawaii
                                                                        Capitol Port Holdings LLC
             State the term remaining       30 months (expires          c/o Standard Commercial LLC
                                            05/31/2026)                 201 Merchant St
          List the contract number of any                               Ste 2228
                government contract                                     Honolulu, HI 96813


2.12.     State what the contract or        BitDefender VPN and
          lease is for and the nature of    Antivirus Software
          the debtor's interest

             State the term remaining       29 months (expires
                                            04/27/2026)                 CDW Direct
          List the contract number of any                               PO Box 75723
                government contract                                     Chicago, IL 60675-5723


2.13.     State what the contract or        Microsoft>NetSuite
          lease is for and the nature of    Software
          the debtor's interest

             State the term remaining       8 months (expires           Celigo
                                            07/09/2024)                 1820 Gateway Drive
          List the contract number of any                               Suite 260
                government contract                                     San Mateo, CA 94404


2.14.     State what the contract or        Leasee under Real
          lease is for and the nature of    Estate Lease - Las
          the debtor's interest             Vegas, Nevada

             State the term remaining       55 months (expires          Charleston Pavilion L.L.C.
                                            06/30/2028)                 10801 W Charleston Blvd
          List the contract number of any                               Ste 757
                government contract                                     Las Vegas, NV 89135




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 3 of 10




         Case 23-12303-TWD                  Doc 1     Filed 11/27/23       Ent. 11/27/23 17:49:33         Pg. 75 of 127
Debtor 1 Strategies 360, Inc.                                                     Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.15.     State what the contract or        Notice only
          lease is for and the nature of
          the debtor's interest
                                                                          Divco West Real Estate Srvcs
             State the term remaining                                     Attn: Asset Manager
                                                                          301 Howard St
          List the contract number of any                                 Ste 2100
                government contract                                       San Francisco, CA 94015


2.16.     State what the contract or        E-signature Software
          lease is for and the nature of
          the debtor's interest

             State the term remaining       3 months (expires
                                            02/14/2024)                   DocuSign Inc
          List the contract number of any                                 PO Box 73573
                government contract                                       Dallas, TX 75373


2.17.     State what the contract or        Secure File Sharing
          lease is for and the nature of    Software
          the debtor's interest

             State the term remaining       6 months (expires             Dropbox
                                            05/07/2024)                   1800 Owens St
          List the contract number of any                                 Suite 200
                government contract                                       San Francisco, CA 94158


2.18.     State what the contract or        Leasee under Real
          lease is for and the nature of    Estate Lease - Seattle,
          the debtor's interest             Washington
                                                                          DWF V West Lake LLC
             State the term remaining       79 months (expires            c/o Divco Real Estate Srvcs
                                            06/30/2030)                   Attn: General Counsel
          List the contract number of any                                 301 Hoard St Ste 2100
                government contract                                       San Francisco, CA 94105


2.19.     State what the contract or        Leasee under Real
          lease is for and the nature of    Estate Lease - Boise,
          the debtor's interest             Idaho
                                                                          Eighth and Main LLC et al.
             State the term remaining       8 months (expires             Attn: Christian Gardner
                                            07/30/2024)                   201 South Main St
          List the contract number of any                                 Ste 2000
                government contract                                       Salt Lake City, UT 84111




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 4 of 10




         Case 23-12303-TWD                  Doc 1     Filed 11/27/23        Ent. 11/27/23 17:49:33          Pg. 76 of 127
Debtor 1 Strategies 360, Inc.                                                    Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.20.     State what the contract or        Printer Lease and
          lease is for and the nature of    Maintenance Service
          the debtor's interest             Agreement - Boise, ID

             State the term remaining       3 months (expires
                                            02/16/2024)                 Fisher's Technology
          List the contract number of any                               575 E 42nd St
                government contract                                     Boise, ID 83702


2.21.     State what the contract or        Principal under
          lease is for and the nature of    Sublease Engagement
          the debtor's interest             Letter

             State the term remaining       month-to-month
                                            subject to 30-day
                                            written cancelation         Hughes Seattle, Inc.
                                            notice                      317 N Cruse Ave
          List the contract number of any                               Ste 202
                government contract                                     Helena, MT 59601


2.22.     State what the contract or        Settlement Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Jake Posey
                                                                        Th Posey Firm, PC
          List the contract number of any                               919 Congress, Suite 1100
                government contract                                     Austin, TX 78701


2.23.     State what the contract or        Leasee under Real
          lease is for and the nature of    Estate Lease - Olympia,
          the debtor's interest             Washington
                                                                        Jean K LLC
             State the term remaining       29 months (expires          c/o Prime Locations Inc
                                            04/30/2026)                 321 Cleveland Ave SE
          List the contract number of any                               Ste 101
                government contract                                     Tumwater, WA 98501


2.24.     State what the contract or        macOS Device
          lease is for and the nature of    Management API
          the debtor's interest

             State the term remaining       14 months (expires          Kandji
                                            02/19/2025)                 101 West Broadway
          List the contract number of any                               Suite 1440
                government contract                                     San Diego, CA 92101




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 5 of 10




         Case 23-12303-TWD                  Doc 1     Filed 11/27/23       Ent. 11/27/23 17:49:33         Pg. 77 of 127
Debtor 1 Strategies 360, Inc.                                                    Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.25.     State what the contract or        Notice only
          lease is for and the nature of
          the debtor's interest
                                                                        KBS Capital Advisors LLC
             State the term remaining                                   Attn: Mr. Tim Helgeson
                                                                        800 Newport Center Dr
          List the contract number of any                               Ste 700
                government contract                                     Newport Beach, CA 92660


2.26.     State what the contract or        Leasee under Real
          lease is for and the nature of    Estate Lease - Los
          the debtor's interest             Angeles, California
                                                                        KBSII 445 South Figueroa, LLC
             State the term remaining       24 months (expires          c/o KBS Capital Advisors LLC
                                            11/30/2025)                 800 Newport Center Dr
          List the contract number of any                               Ste 700
                government contract                                     Newport Beach, CA 92660


2.27.     State what the contract or        Internet Security
          lease is for and the nature of    Training Software
          the debtor's interest

             State the term remaining       13 months (expires
                                            12/15/2024)                 KnowBe4
          List the contract number of any                               33 N Garden Ave Suite 1200
                government contract                                     Clearwater, FL 33755


2.28.     State what the contract or        Sublessor of Real
          lease is for and the nature of    Estate located in Irvine,
          the debtor's interest             California

             State the term remaining       39 months (expires
                                            02/28/2027)                 Koenig Law Firm
          List the contract number of any                               15635 Alton Pkwy Ste 475
                government contract                                     Irvine, CA 92618


2.29.     State what the contract or        Password Security
          lease is for and the nature of    Software
          the debtor's interest

             State the term remaining       3 months (expires
                                            02/07/2024)                 LastPass US LP
          List the contract number of any                               333 Summer Street
                government contract                                     Boston, MA 02210




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 6 of 10




         Case 23-12303-TWD                  Doc 1     Filed 11/27/23       Ent. 11/27/23 17:49:33         Pg. 78 of 127
Debtor 1 Strategies 360, Inc.                                                    Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.30.     State what the contract or        Leasee under Real
          lease is for and the nature of    Estate Lease - Portland,
          the debtor's interest             Oregon

             State the term remaining       52 months (expires
                                            03/31/2028)                  LB Owner, LLC
          List the contract number of any                                PO Box 889229
                government contract                                      Los Angeles, CA 90088


2.31.     State what the contract or        Notice only
          lease is for and the nature of
          the debtor's interest
                                                                         OC Communications
             State the term remaining                                    c/o Holmes Weddle Barcott
                                                                         Attn: Natalie A. Cale
          List the contract number of any                                701 W 8th Ave., Suite 700
                government contract                                      Anchorage, AK 99051


2.32.     State what the contract or        Leasee under Real
          lease is for and the nature of    Estate Lease -
          the debtor's interest             Anchorage, Alaska

             State the term remaining       31 months (expires           OC Communications ATTN CEO
                                            06/30/2026)                  c/o Vicinity Commercial Mgmt
          List the contract number of any                                301 W Northern Light Blvd #303
                government contract                                      Anchorage, AK 99503


2.33.     State what the contract or        NetSuite ERP Software
          lease is for and the nature of
          the debtor's interest

             State the term remaining       13 months (expires
                                            12/08/2024)                  Oracle America, Inc.
          List the contract number of any                                2300 Oracle Way
                government contract                                      Austin, TX 78741


2.34.     State what the contract or        Leasee under Real
          lease is for and the nature of    Estate Lease -
          the debtor's interest             Sacramento, California

             State the term remaining       36 months (expires           Pac West Office Equities LP
                                            11/30/2026)                  c/o Rubicon Property Manager
          List the contract number of any                                555 Capitol Mall Ste 130
                government contract                                      Sacramento, CA 95814




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                               Page 7 of 10




         Case 23-12303-TWD                  Doc 1     Filed 11/27/23       Ent. 11/27/23 17:49:33          Pg. 79 of 127
Debtor 1 Strategies 360, Inc.                                                    Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.35.     State what the contract or        VPN Software
          lease is for and the nature of
          the debtor's interest

             State the term remaining       6 months (expires
                                            05/31/2024)                 Perimeter 81 LLC
          List the contract number of any                               157 W 18th St 7th Floor
                government contract                                     New York, NY 10011


2.36.     State what the contract or        Renter of Office Space
          lease is for and the nature of    under Office Service
          the debtor's interest             Agreement - San Diego,
                                            California                  Regus Management Group LLC
             State the term remaining       8 months (expires           c/oCA,San Diego,Spaces,UTwnCtr
                                            07/31/2024)                 4660 La Jolla Village Dr
          List the contract number of any                               Ste 100 & 200
                government contract                                     San Diego, CA 92122


2.37.     State what the contract or        Leasee under Real
          lease is for and the nature of    Estate Lease - Phoenix,
          the debtor's interest             Arizona

             State the term remaining       48 months (expires          RN Properties The Park, LLC
                                            11/30/2027)                 4455 E Camelback Rd
          List the contract number of any                               Ste C-140
                government contract                                     Phoenix, AZ 85018


2.38.     State what the contract or        Accounts Payable
          lease is for and the nature of    Software
          the debtor's interest

             State the term remaining       11 months (expires          Team Labs, Inc. dba Teampay
                                            10/30/2024)                 234 5th Avenue
          List the contract number of any                               Suite 502
                government contract                                     New York, NY 10001


2.39.     State what the contract or        Project Management
          lease is for and the nature of    Software, Customer ID
          the debtor's interest             829261 STRATEGIES
                                            360
             State the term remaining       5 months (expires           Teamwork Crew Limited
                                            04/28/2024)                 Teamwork Campus One
          List the contract number of any                               Blackpool Retail Park
                government contract                                     Blackpool, Cork T23 F902




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                              Page 8 of 10




         Case 23-12303-TWD                  Doc 1     Filed 11/27/23       Ent. 11/27/23 17:49:33         Pg. 80 of 127
Debtor 1 Strategies 360, Inc.                                                    Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.40.     State what the contract or        Leasee under Real
          lease is for and the nature of    Estate Lease - Irvine,
          the debtor's interest             California

             State the term remaining       39 months (expires           The Irvine Company LLC
                                            02/28/2027)                  Attn: Property Manager
          List the contract number of any                                200 Spectrum Center Dr #1200
                government contract                                      Irvine, CA 92618


2.41.     State what the contract or        Notice only
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                    The Irvine Company LLC
                                                                         Attn Sr. VP, Ops. Irvine Off
          List the contract number of any                                550 Newport Center Drive
                government contract                                      Newport Beach, CA 92660


2.42.     State what the contract or        Renter of Office Space -
          lease is for and the nature of    Helena, Montana
          the debtor's interest
                                                                         The Sidecar-Helena Independent
             State the term remaining       3 months (expires            Attn: Finance Administration
                                            02/28/2024)                  317 Cruse Ave
          List the contract number of any                                Ste 202
                government contract                                      Helena, MT 59601


2.43.     State what the contract or        Software Contract
          lease is for and the nature of    Management
          the debtor's interest

             State the term remaining       7 months (expires
                                            06/28/2024)                  Torii Software, Inc.
          List the contract number of any                                500 7th Ave
                government contract                                      New York, NY 10018


2.44.     State what the contract or        Leasee under Real
          lease is for and the nature of    Estate Lease -
          the debtor's interest             Washington, D.C.

             State the term remaining       72 months (expires           USPA 601 New Jersey, LLC
                                            11/30/2029)                  c/o Principal RE Investors
          List the contract number of any                                711 High Street
                government contract                                      Des Moines, IA 50392-1370




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                               Page 9 of 10




         Case 23-12303-TWD                  Doc 1     Filed 11/27/23       Ent. 11/27/23 17:49:33          Pg. 81 of 127
Debtor 1 Strategies 360, Inc.                                                    Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.45.     State what the contract or        Printer Lease and
          lease is for and the nature of    Service, Contract
          the debtor's interest             Number: 7175277-001 -
                                            Honolulu, HI
             State the term remaining
                                                                         Xerox Corporation
          List the contract number of any                                PO Box 660502
                government contract                                      Dallas, TX 75266-0501


2.46.     State what the contract or        Printer Lease and
          lease is for and the nature of    Service, Contract No.
          the debtor's interest             020-0095342-001,
                                            Washington, DC
             State the term remaining       20 months
                                                                         Xerox Financial Services
          List the contract number of any                                PO Box 202882
                government contract                                      Dallas, TX 75320-2882


2.47.     State what the contract or        Printer Lease and
          lease is for and the nature of    Service, Contract
          the debtor's interest             Number:
                                            010-0095342-001 -
                                            Seattle, WA
             State the term remaining       31 months
                                                                         Xerox Financial Services LLC
          List the contract number of any                                PO Box 202882
                government contract                                      Dallas, TX 75320-2882


2.48.     State what the contract or        Video Calling Software
          lease is for and the nature of
          the debtor's interest

             State the term remaining       9 months (expires            Zoom Video Communications Inc.
                                            08/16/2024)                  55 Almaden Blvd
          List the contract number of any                                6th Floor
                government contract                                      San Jose, CA 95113




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                               Page 10 of 10




         Case 23-12303-TWD                  Doc 1     Filed 11/27/23       Ent. 11/27/23 17:49:33          Pg. 82 of 127
Fill in this information to identify the case:

Debtor name      Strategies 360, Inc.

United States Bankruptcy Court for the:   WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Ron Dotzauer                1505 Westlake Ave N,#1000                                 Eric Sorenson                      D
                                      Seattle, WA 98109                                                                            E/F       3.6
                                      Judgment
                                                                                                                                   G




   2.2    Ron Dotzauer                1505 Western Ave N #1000                                  KeyBank National                   D   2.1
                                      Seattle, WA 98109                                         Association                        E/F
                                      Guarantee
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1



         Case 23-12303-TWD                       Doc 1    Filed 11/27/23           Ent. 11/27/23 17:49:33                 Pg. 83 of 127
Fill in this information to identify the case:

Debtor name         Strategies 360, Inc.

United States Bankruptcy Court for the:    WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                           $33,503,213.70
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                           $48,357,377.51
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                           $42,474,834.38
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1




           Case 23-12303-TWD                     Doc 1      Filed 11/27/23             Ent. 11/27/23 17:49:33                 Pg. 84 of 127
Debtor       Strategies 360, Inc.                                                               Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.1.
              See attached Vendor List                                                           $5,900,533.96           Secured debt
                                                                                                                         Unsecured loan repayments
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.2.
              See Attached Payments to KeyBank                                                   $4,409,143.85           Secured debt
              1301 5th Avenue                                                                                            Unsecured loan repayments
              Seattle, WA 98101
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.3.
              See Attached Payments to Bank of                                                   $1,397,498.31           Secured debt
              America                                                                                                    Unsecured loan repayments
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.1.    Ron Dotzauer                                         9/30/22 -                          $2,270.19        Expense Reimbursements - See
              1505 Westlake Ave. N., #1000                         10/31/23                                            attached
              Seattle, WA 98109
              CEO and Shareholder

      4.2.    Karen Waters                                         09/3//22 -                       $10,925.07         Expense Reimbursements - See
              1505 Westlake Ave. N., #1000                         10/31/23                                            attached
              Seattle, WA 98109
              President

      4.3.    Kurt Beckett                                         09/30/22-10/3                    $31,616.40         Expense Reimbursements - See
              1505 Westlake Ave. N., #1000                         1/23                                                attached
              Seattle, WA 98109
              COO

      4.4.    John Roseberg                                        09/30/22-10/3                      $2,685.89        Expense Reimbursements - See
              1505 Westlake Ave. N., #1000                         1/23                                                attached
              Seattle, WA 98109
              CFO

      4.5.    Yong Lee                                             09/30/22-10/3                    $16,860.15         Expense Reimbursements - See
              1505 Westlake Ave. N., #1000                         1/23                                                attached
              Seattle, WA 98109
              Former CFO




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 2




             Case 23-12303-TWD                 Doc 1         Filed 11/27/23             Ent. 11/27/23 17:49:33                 Pg. 85 of 127
Debtor       Strategies 360, Inc.                                                               Case number (if known)



      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.6.    KeyBank National Association                         See SOFA 3                              $0.00         Secured Creditor - Daily Sweep
              1301 5th Avenue                                      11/28/22-09/2                                         of Debtor's account
              Seattle, WA 98101                                    1/23 to be
              Secured Lender                                       provided

      4.7.    Eric Sorenson                                        See attached                    $599,699.04           Judgment - See attached
              c/o Chris Wyant
              K&L Gates
              925 4th Ave, #3900
              Seattle, WA 98104
              Note Obligee/Judgment Creditor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Sorenson v. Dotzauer and                                             King County Superior Court                    Pending
              Strategies 360, Inc.                                                 516 Third Avenue                              On appeal
              23-2-14006-1 SEA                                                     Seattle, WA 98104                             Concluded

      7.2.    Trujillo v. Strategies 360, Inc.         Asserted gender             Santa Fe County, 1st                          Pending
              D-101-CV-2023-02290                      discrimination              Judicial Dist. Ct.                            On appeal
                                                       and retaliatory             225 Montezuma Ave                             Concluded
                                                       termination                 Santa Fe, NM 87501


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 3




             Case 23-12303-TWD                  Doc 1        Filed 11/27/23             Ent. 11/27/23 17:49:33                   Pg. 86 of 127
Debtor        Strategies 360, Inc.                                                                Case number (if known)




          None

               Recipient's name and address            Description of the gifts or contributions                  Dates given                          Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Bush Kornfeld LLP
                601 Union St., #5000
                Seattle, WA 98101-2373                                                                                 11-27-2023                $61,998.00

                Email or website address
                tbuford@bskd.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4




           Case 23-12303-TWD                    Doc 1        Filed 11/27/23              Ent. 11/27/23 17:49:33                   Pg. 87 of 127
Debtor        Strategies 360, Inc.                                                               Case number (if known)




          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     See attached

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    Strategies360 Profit Sharing Plan                                                   EIN: 373057-01

                    Has the plan been terminated?
                       No
                       Yes


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.



Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5




            Case 23-12303-TWD                    Doc 1        Filed 11/27/23             Ent. 11/27/23 17:49:33                Pg. 88 of 127
Debtor      Strategies 360, Inc.                                                                 Case number (if known)




         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None

      Owner's name and address                               Location of the property              Describe the property                                   Value
      Various                                                Intangible                            Debtor hosts internet                                  $0.00
                                                                                                   domains for multiple clients.


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 6




           Case 23-12303-TWD                     Doc 1        Filed 11/27/23             Ent. 11/27/23 17:49:33                   Pg. 89 of 127
Debtor      Strategies 360, Inc.                                                               Case number (if known)



      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                            Describe the nature of the business               Employer Identification number
                                                                                                      Do not include Social Security number or ITIN.

                                                                                                      Dates business existed
   25.1.    Western Consultants LLC                 Nevada entity                                     EIN:         XX-XXXXXXX
            PO Box 9517                             Political Group LLC is 100% owner
            Seattle, WA 98109                       Political campaign work                           From-To      08/07/19 to present

   25.2.    Strategies 360 M&A Holding              Debtor is 100% owner                              EIN:         XX-XXXXXXX
            Group Inc.                              100% Owner of Strategies 360
            1505 Westlake Ave N #1000               Canada Holdings ULC and                           From-To
            Seattle, WA 98109                       Strategies 360 Texas LLC
                                                    Q-sub for acquisitions
   25.3.    Strategies 360 Texas LLC                Texas entity                                      EIN:         XX-XXXXXXX
            1505 Westlake Ave N #1000               100% owned by Strategies 360
            Seattle, WA 98109                       M&A Holding Group Inc.                            From-To      05/29/20 to present
                                                    Formed to acquire the Texas office
   25.4.    Strategies 360 Canada                   100% of equity held by Strategies                 EIN:
            Holdings ULC                            360 M&A Holding Group Inc.
                                                                                                      From-To

   25.5.    Political Group LLC                     Delware entity owned 100% by                      EIN:         8204098390
            c/o The Corporation Trust               Debtor
            Company                                 Formed to hold Western                            From-To      01/19/18
            1209 Orange St.                         Consultants LLC
            Wilmington, DE 19801


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                Date of service
                                                                                                                                      From-To
      26a.1.        Yong Lee                                                                                                          04/16/21-11/15/23
                    1505 Westlake Ave N. #1000
                    Seattle, WA 98109
      26a.2.        John Rosenberg                                                                                                    03/01/22-Present
                    1505 Westlake Ave N. #1000
                    Seattle, WA 98109

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 7




           Case 23-12303-TWD                  Doc 1         Filed 11/27/23             Ent. 11/27/23 17:49:33                    Pg. 90 of 127
Debtor      Strategies 360, Inc.                                                                Case number (if known)



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Moss Adams                                                                                                      March 2022 to June
                    1301 A Street, Suite 600                                                                                        2023
                    Tacoma, WA 98402

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        John Rosenberg
                    1505 Westlake Ave N. #1000
                    Seattle, WA 98109

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Various in ordinary course of business



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Ron Dotzauer                            1505 Westlake Ave N #1000                           CEO                                       95%
                                              Seattle, WA 98109                                   Director
                                                                                                  Shareholder
      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Karen Waters                            1505 Westlake Ave N #1000                           President
                                              Seattle, WA 98109

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Kurt Beckett                            1505 Westlake Ave N #1000                           Chief Operating Officer
                                              Seattle, WA 98109

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      John Rosenberg                          1505 Westlake Ave N #1000                           Chief Financial Officer
                                              Seattle, WA 98109



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 8




           Case 23-12303-TWD                    Doc 1        Filed 11/27/23             Ent. 11/27/23 17:49:33                  Pg. 91 of 127
Debtor       Strategies 360, Inc.                                                              Case number (if known)




           No
           Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Yong Lee                               1505 Westlake Ave N #1000                           Chief Financial Officer            04/16/21-11/15/23
                                             Seattle, WA 98109


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

              Name and address of recipient           Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1                                                                                                                          Car payments
      .                                                                                                                             made on behalf of
                                                                                                                                    Ron Dotzauer -
                                                                                                                                    $19,632.99 - See
                                                                                                                                    attached.
                                                                                                                                    Boat payments
                                                                                                                                    made on behalf of
                                                                                                                                    Ron Dotzauer -
                                                                                                                                    $43,333.29 - See
                                                                                                                                    attached.
                                                                                                                                    Net pay -
                                                                                                                                    $724,286.15 - See
                                                                                                                                    attached.
                                                                                                                                    Expense
                                                                                                                                    reimbursements
              Ron Dotzauer                                                                                                          identified on
              1505 Westlake Ave. N., #1000                                                                      09/30/22-10/31      SOFA 4 and not
              Seattle, WA 98109                       $787,252.43                                               /23                 included here

              Relationship to debtor
              CEO and Shareholder


      30.2                                                                                                                          Net pay. Expense
      .                                                                                                                             reimbursements
              Karen Waters                                                                                                          identified on
              1505 Westlake Ave. N., #1000                                                                      09/30/22-10/31      SOFA 4 and not
              Seattle, WA 98109                       $393,463.60                                               /23                 included here

              Relationship to debtor
              President


      30.3                                                                                                                          Net pay - See
      .                                                                                                                             attached.
                                                                                                                                    Expense
                                                                                                                                    reimbursements
              Kurt Beckett                                                                                                          identified in SOFA
              1505 Westlake Ave. N., #1000                                                                      09/30/22-10/31      4 and not
              Seattle, WA 98109                       $237,497.62                                               /22                 included here

              Relationship to debtor
              COO



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9




             Case 23-12303-TWD                 Doc 1        Filed 11/27/23             Ent. 11/27/23 17:49:33                 Pg. 92 of 127
Debtor       Strategies 360, Inc.                                                               Case number (if known)



              Name and address of recipient            Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.4                                                                                                                         Net pay - See
      .                                                                                                                            attached.
                                                                                                                                   Expense
                                                                                                                                   reimbursements
              John Rosenberg                                                                                                       identified in SOFA
              1505 Westlake Ave. N., #1000                                                                       09/30/22-10/31    4 and not
              Seattle, WA 98109                        $121,038.72                                               /23               included here

              Relationship to debtor
              CFO following Yong Lee
              resignation


      30.5                                                                                                                         Net pay - See
      .                                                                                                                            attached.
                                                                                                                                   Expense
                                                                                                                                   reimbursements
              Yong Lee                                                                                                             identified in SOFA
              1505 Westlake Ave. N., #1000                                                                       09/30/22-10/31    34 and not
              Seattle, WA 98109                        $238,924.09                                               /23               included here.

              Relationship to debtor
              Former CFO


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:     Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         November 27, 2023

/s/ John Rosenberg                                              John Rosenberg
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor     Chief Financial Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10




             Case 23-12303-TWD                  Doc 1        Filed 11/27/23             Ent. 11/27/23 17:49:33               Pg. 93 of 127
             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #3 – Payments to Creditors Within 90 Days
             Before Filing

              Date            Client/Vendor                                       Amount     Description
              8/31/2023       1660 Lincoln St. Property, LLC                    $11,250.36   Rent
              10/6/2023       1660 Lincoln St. Property, LLC                     $5,443.72   Rent
                              1660 Lincoln St. Property, LLC Total              $16,694.08   Rent
              8/21/2023       919 Congress Avenue                               $10,508.04   Rent
              9/15/2023       919 Congress Avenue                                $9,787.74   Rent
              9/29/2023       919 Congress Avenue                               $14,681.61   Rent
                              919 Congress Avenue Total                         $34,977.39   Rent
              8/31/2023       Allison Magill                                     $5,000.00   Services
              10/6/2023       Allison Magill                                     $5,000.00   Services
              10/19/2023      Allison Magill                                     $5,000.00   Services
                              Allison Magill Total                              $15,000.00   Services
              10/5/2023       Amplify Campaigns                                 $15,750.00   Services
              10/17/2023      Amplify Campaigns                                  $6,750.00   Services
                              Amplify Campaigns Total                           $22,500.00   Services
              10/6/2023       Anchorage Daily News (vendor)                     $11,214.69   Services
              10/27/2023      Anchorage Daily News (vendor)                     $11,214.69   Services
                              Anchorage Daily News (vendor) Total               $22,429.38   Services
              9/14/2023       Andrea Deveau                                      $8,533.93   EE Reimbursement
              10/13/2023      Andrea Deveau                                      $5,083.75   EE Reimbursement
                              Andrea Deveau Total                               $13,617.68   EE Reimbursement
              8/18/2023       Andy Winer                                         $8,233.43   EE Reimbursement
              9/14/2023       Andy Winer                                         $8,894.46   EE Reimbursement
              10/13/2023      Andy Winer                                        $12,593.64   EE Reimbursement
                              Andy Winer Total                                  $29,721.53   EE Reimbursement
              9/7/2023        Barbara Haugen                                     $3,575.00   Services
              10/4/2023       Barbara Haugen                                     $3,325.00   Services
              10/19/2023      Barbara Haugen                                     $2,850.00   Services
                              Barbara Haugen Total                               $9,750.00   Services
              9/21/2023       Bardacke Allison LLP                              $25,000.00   Services
                              Bardacke Allison LLP Total                        $25,000.00   Services
              8/18/2023       Bloomberg Government (BGOV LLC)                    $8,077.20   Subscription
              10/27/2023      Bloomberg Government (BGOV LLC)                    $8,707.50   Subscription
                              Bloomberg Government (BGOV LLC)                   $16,784.70   Subscription
                              Total
              8/7/2023        Brave the Woods                                    $6,000.00   Services
              9/29/2023       Brave the Woods                                    $9,000.00   Services
                              Brave the Woods Total                             $15,000.00   Services
              8/18/2023       Broken Bench Productions (Tyson Rowley)            $4,200.00   Services
              9/15/2023       Broken Bench Productions (Tyson Rowley)            $2,100.00   Services
             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #3
             Payments to Creditors Within 90 Day Before Filing - 1

gk22k20124
             Case 23-12303-TWD             Doc 1      Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 94 of 127
              Date       Client/Vendor                                            Amount Description
              10/27/2023 Broken Bench Productions (Tyson Rowley)                 $3,900.00 Services
                         Broken Bench Productions (Tyson Rowley)                $10,200.00 Services
                         Total
              9/20/2023 Bush Kornfeld                                           $15,257.50   Attorneys
                         Bush Kornfeld Total                                    $15,257.50   Attorneys
              8/10/2023 Campaign Products of the Rockies                         $1,065.45   Services
              9/14/2023 Campaign Products of the Rockies                         $5,991.13   Services
              9/28/2023 Campaign Products of the Rockies                            $50.00   Services
              10/12/2023 Campaign Products of the Rockies                        $5,975.00   Services
              10/27/2023 Campaign Products of the Rockies                        $4,375.00   Services
                         Campaign Products of the Rockies Total                 $17,456.58   Services
              8/31/2023 Capitol Port Holdings LLC (standard                      $7,204.24   Rent
                         Management)
              10/3/2023 Capitol Port Holdings LLC (standard                      $7,204.24 Rent
                         Management)
                         Capitol Port Holdings LLC (standard                    $14,408.48 Rent
                         Management) Total
              8/31/2023 Centro, Inc                                                $275.63   Services
              9/8/2023   Centro, Inc                                            $31,305.42   Services
              10/6/2023 Centro, Inc                                             $33,812.48   Services
              10/27/2023 Centro, Inc                                            $24,326.53   Services
                         Centro, Inc Total                                      $89,720.06   Services
              10/13/2023 Chanda File                                             $8,264.91   EE Reimbursement
                         Chanda File Total                                       $8,264.91   EE Reimbursement
              8/31/2023 Charleston Pavilion, LLC                                $10,980.35   Rent
              9/29/2023 Charleston Pavilion, LLC                                $10,980.35   Rent
                         Charleston Pavilion, LLC Total                         $21,960.70   Rent
              8/18/2023 Chris Averill                                            $7,077.24   EE Reimbursement
              9/14/2023 Chris Averill                                            $2,626.75   EE Reimbursement
              10/13/2023 Chris Averill                                           $1,733.04   EE Reimbursement
                         Chris Averill Total                                    $11,437.03   EE Reimbursement
              8/30/2023 Christopher J Posey                                     $13,285.71   Non-Employee
                                                                                             Bonus
              9/1/2023        Christopher J Posey                               $15,000.00   Non-Employee
                                                                                             Bonus
              9/28/2023       Christopher J Posey                               $13,285.71   Non-Employee
                                                                                             Bonus
              10/27/2023 Christopher J Posey                                    $25,200.00   Non-Employee
                                                                                             Bonus
              10/31/2023 Christopher J Posey                                    $13,285.71   Non-Employee
                                                                                             Bonus
                              Christopher J Posey Total                         $80,057.13   Non-Employee
                                                                                             Bonus
             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #3
             Payments to Creditors Within 90 Day Before Filing - 2

gk22k20124
             Case 23-12303-TWD             Doc 1      Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 95 of 127
              Date       Client/Vendor                                            Amount     Description
              10/31/2023 City of Seattle (vendor)                               $10,049.87   Taxes
                         City of Seattle (vendor) Total                         $10,049.87   Taxes
              9/14/2023 CliftonLarsonAllen LLP (CLA)                             $2,415.00   Tax Accounting
              10/4/2023 CliftonLarsonAllen LLP (CLA)                            $21,525.00   Tax Accounting
                         CliftonLarsonAllen LLP (CLA) Total                     $23,940.00   Tax Accounting
              10/18/2023 Copyright                                              $17,907.20   Services
              10/27/2023 Copyright                                              $16,357.20   Services
                         Copyright Total                                        $34,264.40   Services
              9/14/2023 Crew you Productions LLC                                $29,277.88   Services
                         Crew you Productions LLC Total                         $29,277.88   Services
              8/31/2023 Cushman & Wakefield                                     $12,622.68   Rent
              9/29/2023 Cushman & Wakefield                                     $13,706.83   Rent
                         Cushman & Wakefield Total                              $26,329.51   Rent
              8/16/2023 DeReamers, LLC                                          $19,450.00   Services
              9/20/2023 DeReamers, LLC                                           $2,527.99   Services
              10/12/2023 DeReamers, LLC                                         $19,250.00   Services
                         DeReamers, LLC Total                                   $41,227.99   Services
              8/31/2023 DWF V IT REIT Holdings, LLC                             $67,969.67   Rent
              9/29/2023 DWF V IT REIT Holdings, LLC                             $68,249.67   Rent
                         DWF V IT REIT Holdings, LLC Total                     $136,219.34   Rent
              8/18/2023 Dylan Peper                                              $4,500.00   Services
              9/15/2023 Dylan Peper                                              $4,500.00   Services
              10/6/2023 Dylan Peper                                              $4,500.00   Services
              10/19/2023 Dylan Peper                                             $4,500.00   Services
                         Dylan Peper Total                                      $18,000.00   Services
              9/12/2023 EDJE Consulting, LLC (Randall Edwards)                   $3,000.00   Services
              10/6/2023 EDJE Consulting, LLC (Randall Edwards)                   $3,000.00   Services
              10/19/2023 EDJE Consulting, LLC (Randall Edwards)                  $3,000.00   Services
                         EDJE Consulting, LLC (Randall Edwards)                  $9,000.00   Services
                         Total
              8/18/2023 Eidolon                                                 $54,470.26 Employee
                                                                                           Reimbursements
              9/8/2023        Eidolon                                           $34,948.60 Employee
                                                                                           Reimbursements
              9/15/2023       Eidolon                                           $32,162.66 Employee
                                                                                           Reimbursements
              10/6/2023       Eidolon                                           $36,653.70 Employee
                                                                                           Reimbursements
              10/12/2023 Eidolon                                                $33,814.24 Employee
                                                                                           Reimbursements
                              Eidolon Total                                    $192,049.46 Employee
                                                                                           Reimbursements
              8/18/2023       ESP                                                $3,569.80 Services
             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #3
             Payments to Creditors Within 90 Day Before Filing - 3

gk22k20124
             Case 23-12303-TWD             Doc 1      Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 96 of 127
              Date       Client/Vendor                                            Amount     Description
              10/19/2023 ESP                                                     $6,556.28   Services
                         ESP Total                                              $10,126.08   Services
              9/8/2023   Facebook                                               $43,698.22   Services
              9/29/2023 Facebook                                                $45,351.64   Services
              10/12/2023 Facebook                                                  $730.00   Services
              10/27/2023 Facebook                                               $67,955.95   Services
                         Facebook Total                                        $157,735.81   Services
              9/7/2023   Focus Insite, LLC                                      $14,585.00   Services
                         Focus Insite, LLC Total                                $14,585.00   Services
              8/11/2023 Gallagher & Kennedy PA                                  $12,000.00   Rent
              9/21/2023 Gallagher & Kennedy PA                                   $6,000.00   Rent
                         Gallagher & Kennedy PA Total                           $18,000.00   Rent
              8/31/2023 Gardner Company (Eighth and Main LLC)                    $7,723.57   Rent
              9/29/2023 Gardner Company (Eighth and Main LLC)                    $8,223.57   Rent
                         Gardner Company (Eighth and Main LLC)                  $15,947.14   Rent
                         Total
              8/18/2023 Gina Plate                                               $3,069.79   EE Reimbursement
              9/14/2023 Gina Plate                                               $3,156.16   EE Reimbursement
              10/13/2023 Gina Plate                                              $3,357.08   EE Reimbursement
                         Gina Plate Total                                        $9,583.03   EE Reimbursement
              9/8/2023   Google Inc.                                            $49,411.50   Services
              10/6/2023 Google Inc.                                             $50,810.49   Services
              10/27/2023 Google Inc.                                            $59,185.06   Services
                         Google Inc. Total                                     $159,407.05   Services
              8/11/2023 Haley Robinson                                           $1,168.50   Services
              8/18/2023 Haley Robinson                                           $2,357.50   Services
              8/30/2023 Haley Robinson                                           $1,230.00   Services
              9/21/2023 Haley Robinson                                           $4,469.00   Services
              10/12/2023 Haley Robinson                                          $4,643.25   Services
                         Haley Robinson Total                                   $13,868.25   Services
              9/20/2023 idahosports.com, Inc.                                   $65,000.00   Services
                         idahosports.com, Inc. Total                            $65,000.00   Services
              8/8/2023   Inconnu (Lesil McGuire)                                 $5,000.00   Services
              8/9/2023   Inconnu (Lesil McGuire)                                   $500.00   Services
              9/26/2023 Inconnu (Lesil McGuire)                                  $6,400.00   Services
              10/19/2023 Inconnu (Lesil McGuire)                                 $6,400.00   Services
                         Inconnu (Lesil McGuire) Total                          $18,300.00   Services
              8/31/2023 Jago                                                   $156,106.29   Services
              9/21/2023 Jago                                                     $7,853.88   Services
              10/13/2023 Jago                                                    $7,503.91   Services
              10/19/2023 Jago                                                   $30,474.42   Services
              10/30/2023 Jago                                                  $120,376.21   Services
                         Jago Total                                            $322,314.71   Services
             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #3
             Payments to Creditors Within 90 Day Before Filing - 4

gk22k20124
             Case 23-12303-TWD             Doc 1      Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 97 of 127
              Date            Client/Vendor                                       Amount     Description
              8/18/2023       John Oceguera                                        $379.89   EE Expense Reimb
              8/31/2023       John Oceguera                                      $1,455.43   EE Expense Reimb
              9/14/2023       John Oceguera                                        $444.04   EE Expense Reimb
              10/13/2023      John Oceguera                                      $6,254.39   EE Expense Reimb
              10/27/2023      John Oceguera                                        $756.94   EE Expense Reimb
                              John Oceguera Total                                $9,290.69   EE Expense Reimb
              8/15/2023       Jon P. Baskette (Woodbury Payton)                 $11,458.00   Services
              8/30/2023       Jon P. Baskette (Woodbury Payton)                 $14,458.00   Services
              9/13/2023       Jon P. Baskette (Woodbury Payton)                 $11,458.00   Services
              9/28/2023       Jon P. Baskette (Woodbury Payton)                 $12,958.00   Services
              10/13/2023      Jon P. Baskette (Woodbury Payton)                 $11,458.00   Services
              10/31/2023      Jon P. Baskette (Woodbury Payton)                 $14,458.00   Services
                              Jon P. Baskette (Woodbury Payton) Total           $76,248.00   Services
              9/27/2023       Jones Mandel, Inc                                 $17,609.08   Services
                              Jones Mandel, Inc Total                           $17,609.08   Services
              9/15/2023       KGS Research Inc (Revolution Capital)             $37,940.00   Services
              10/6/2023       KGS Research Inc (Revolution Capital)             $32,356.00   Services
              10/12/2023      KGS Research Inc (Revolution Capital)             $12,762.75   Services
              10/19/2023      KGS Research Inc (Revolution Capital)             $17,582.50   Services
              10/27/2023      KGS Research Inc (Revolution Capital)             $36,622.50   Services
                              KGS Research Inc (Revolution Capital)            $137,263.75   Services
                              Total
              8/11/2023       Krystal Broadcasting                                 $680.00   Services
              9/15/2023       Krystal Broadcasting                               $3,320.00   Services
              10/19/2023      Krystal Broadcasting                               $4,160.00   Services
                              Krystal Broadcasting Total                         $8,160.00   Services
              10/5/2023       Lamar Companies                                   $40,200.00   Services
                              Lamar Companies Total                             $40,200.00   Services
              8/31/2023       LB Venture Portland Limited Partnership           $11,965.88   Rent
                              (Leftbank Building)
              9/29/2023       LB Venture Portland Limited Partnership           $11,926.83 Rent
                              (Leftbank Building)
                              LB Venture Portland Limited Partnership           $23,892.71 Rent
                              (Leftbank Building) Total
              8/21/2023       Leah Baltus                                       $10,092.00   Services
              10/6/2023       Leah Baltus                                        $2,416.00   Services
                              Leah Baltus Total                                 $12,508.00   Services
              8/18/2023       M.E. Smith                                           $157.60   EE Expense Reimb
              9/14/2023       M.E. Smith                                         $2,775.27   EE Expense Reimb
              10/13/2023      M.E. Smith                                         $7,457.23   EE Expense Reimb
              10/27/2023      M.E. Smith                                         $3,118.41   EE Expense Reimb
                              M.E. Smith Total                                  $13,508.51   EE Expense Reimb
              10/23/2023      Melrose Capital Advisors, LLC                     $20,000.00   Services
             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #3
             Payments to Creditors Within 90 Day Before Filing - 5

gk22k20124
             Case 23-12303-TWD             Doc 1      Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 98 of 127
              Date       Client/Vendor                                            Amount   Description
                         Melrose Capital Advisors, LLC Total                    $20,000.00 Services
              8/25/2023 Metropolis                                               $6,122.68 Parking
              8/30/2023 Metropolis                                                 $149.87 Parking
              9/15/2023 Metropolis                                               $5,785.59 Parking
              10/6/2023 Metropolis                                               $5,587.75 Parking
              10/27/2023 Metropolis                                                 $37.97 Parking
                         Metropolis Total                                       $17,683.86 Parking
              8/22/2023 MOI - DC                                                $17,362.52 Supplier
                         MOI - DC Total                                         $17,362.52 Supplier
              8/10/2023 Montana Radio Company                                    $3,146.00 Services
              9/14/2023 Montana Radio Company                                    $1,638.00 Services
              9/28/2023 Montana Radio Company                                    $2,564.00 Services
              10/12/2023 Montana Radio Company                                   $1,794.00 Services
              10/19/2023 Montana Radio Company                                   $1,638.00 Services
                         Montana Radio Company Total                            $10,780.00 Services
              8/31/2023 OC Communications Inc.                                   $5,339.33 Rent
              9/29/2023 OC Communications Inc.                                   $5,156.50 Rent
                         OC Communications Inc. Total                           $10,495.83 Rent
              9/29/2023 Oracle America, Inc.                                    $48,937.74 Software
                                                                                           Subsciption
                              Oracle America, Inc. Total                        $48,937.74 Software
                                                                                           Subsciption
              8/31/2023  Pac West Office Equities LP (555 Capitol               $16,356.71 Rent
                         Mall)
              9/29/2023 Pac West Office Equities LP (555 Capitol                $16,356.71 Rent
                         Mall)
                         Pac West Office Equities LP (555 Capitol               $32,713.42 Rent
                         Mall) Total
              8/11/2023 Panji Prasetyo                                           $2,500.00   Services
              8/31/2023 Panji Prasetyo                                           $3,846.00   Services
              9/15/2023 Panji Prasetyo                                           $2,250.00   Services
                         Panji Prasetyo Total                                    $8,596.00   Services
              9/21/2023 Parker Smith & Feek, Inc.                               $47,983.90   Insurance
                         Parker Smith & Feek, Inc. Total                        $47,983.90   Insurance
              8/31/2023 Pele Fischer                                            $11,680.14   EE Expense Reimb
              9/14/2023 Pele Fischer                                             $7,784.04   EE Expense Reimb
                         Pele Fischer Total                                     $19,464.18   EE Expense Reimb
              8/11/2023 Perkins Coie                                             $2,525.50   Legal Fees
              9/21/2023 Perkins Coie                                                $77.00   Legal Fees
              10/12/2023 Perkins Coie                                            $5,402.00   Legal Fees
                         Perkins Coie Total                                      $8,004.50   Legal Fees
              8/16/2023 PIP                                                      $2,826.28   Services
              8/29/2023 PIP                                                        $102.49   Services
             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #3
             Payments to Creditors Within 90 Day Before Filing - 6

gk22k20124
             Case 23-12303-TWD             Doc 1      Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 99 of 127
              Date            Client/Vendor                                      Amount     Description
              9/14/2023       PIP                                              $14,905.47   Services
                              PIP Total                                        $17,834.24   Services
              8/18/2023       Research Now Group, Inc. (Dynata)                $10,202.00   Services
              8/31/2023       Research Now Group, Inc. (Dynata)                $11,674.00   Services
              9/21/2023       Research Now Group, Inc. (Dynata)                $20,406.00   Services
                              Research Now Group, Inc. (Dynata) Total          $42,282.00   Services
              8/10/2023       RN Properties the Park, LLC                       $8,671.38   Rent
              8/31/2023       RN Properties the Park, LLC                       $8,671.38   Rent
              10/19/2023      RN Properties the Park, LLC                       $8,671.38   Rent
                              RN Properties the Park, LLC Total                $26,014.14   Rent
              8/18/2023       Rylem Staffing                                    $1,875.00   Services
              9/8/2023        Rylem Staffing                                    $7,500.00   Services
              9/21/2023       Rylem Staffing                                    $3,750.00   Services
              10/6/2023       Rylem Staffing                                    $3,750.00   Services
              10/19/2023      Rylem Staffing                                    $1,875.00   Services
              10/27/2023      Rylem Staffing                                    $3,300.00   Services
                              Rylem Staffing Total                             $22,050.00   Services
              8/15/2023       Snell & Wilmer Law Firm                          $25,000.00   Legal Fees
              9/21/2023       Snell & Wilmer Law Firm                          $25,000.00   Legal Fees
              10/13/2023      Snell & Wilmer Law Firm                          $25,000.00   Legal Fees
              10/23/2023      Snell & Wilmer Law Firm                          $40,000.00   Legal Fees
                              Snell & Wilmer Law Firm Total                   $115,000.00   Legal Fees
              9/12/2023       Soulcraft LLC                                     $9,450.00   Services
                              Soulcraft LLC Total                               $9,450.00   Services
              9/20/2023       Spplus                                            $4,400.00   Parking
              10/26/2023      Spplus                                            $3,775.00   Parking
                              Spplus Total                                      $8,175.00   Parking
              8/1/2023        State of Nevada Department of Taxation            $5,213.81   Taxes
              10/18/2023      State of Nevada Department of Taxation            $5,468.80   Taxes
                              State of Nevada Department of Taxation           $10,682.61   Taxes
                              Total
              8/11/2023       Stephanie Bragdon                                 $4,275.00   Services
              8/30/2023       Stephanie Bragdon                                    $84.48   Services
              9/18/2023       Stephanie Bragdon                                 $4,262.52   Services
              9/29/2023       Stephanie Bragdon                                   $588.76   Services
                              Stephanie Bragdon Total                           $9,210.76   Services
              9/8/2023        Strategic Research Associates LLC                $10,800.00   Services
                              Strategic Research Associates LLC Total          $10,800.00   Services
              9/7/2023        Stream Realty Partners                           $12,066.18   Services
                              Stream Realty Partners Total                     $12,066.18   Services
              10/30/2023      Summit Policy Works                               $7,600.00   Services
                              Summit Policy Works Total                         $7,600.00   Services
              8/10/2023       Tempest Technologies LLC                         $10,267.64   Goods
             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #3
             Payments to Creditors Within 90 Day Before Filing - 7

gk22k20124
             Case 23-12303-TWD            Doc 1      Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 100 of 127
              Date            Client/Vendor                                      Amount      Description
                              Tempest Technologies LLC Total                   $10,267.64    Goods
              10/12/2023      The Focus Room, Inc.                              $9,050.00    Services
                              The Focus Room, Inc. Total                        $9,050.00    Services
              8/22/2023       The Hanover Insurance Group                      $10,148.19    Insurance
              9/21/2023       The Hanover Insurance Group                       $7,118.10    Insurance
              10/23/2023      The Hanover Insurance Group                       $7,118.10    Insurance
                              The Hanover Insurance Group Total                $24,384.39    Insurance
              8/31/2023       The Irvine Company LLC                           $10,660.90    Rent
              9/29/2023       The Irvine Company LLC                           $11,660.90    Rent
                              The Irvine Company LLC Total                     $22,321.80    Rent
              8/31/2023       The Knowledge Mill, LLC (Kate Dove)               $4,300.00    Services
              9/15/2023       The Knowledge Mill, LLC (Kate Dove)               $2,031.25    Services
              10/12/2023      The Knowledge Mill, LLC (Kate Dove)               $4,412.50    Services
                              The Knowledge Mill, LLC (Kate Dove)              $10,743.75    Services
                              Total
              9/15/2023       The Maccabee Group (S360)                        $10,000.00    Services
              10/19/2023      The Maccabee Group (S360)                        $15,000.00    Services
                              The Maccabee Group (S360) Total                  $25,000.00    Services
              9/6/2023        Torii Software Inc.                              $24,585.75    Software
                                                                                             Subsciption
                              Torii Software Inc. Total                        $24,585.75    Software
                                                                                             Subsciption
              8/31/2023  Townsquare Media                                        $5,166.00   Services
              9/12/2023  Townsquare Media                                        $6,730.00   Services
              9/21/2023  Townsquare Media                                          $312.00   Services
              10/12/2023 Townsquare Media                                        $1,402.00   Services
              10/19/2023 Townsquare Media                                        $1,568.00   Services
                         Townsquare Media Total                                 $15,178.00   Services
              8/31/2023 USPA 601 New Jersey, LLC                                $26,293.31   Rent
              9/29/2023 USPA 601 New Jersey, LLC                                $26,293.31   Rent
                         USPA 601 New Jersey, LLC Total                         $52,586.62   Rent
              9/29/2023 Will Kane                                                $8,611.44   EE Expense Reimb
              10/13/2023 Will Kane                                               $8,475.38   EE Expense Reimb
                         Will Kane Total                                        $17,086.82   EE Expense Reimb
              10/5/2023 YESCO Outdoor Media LLC                                 $51,741.92   Services
                         YESCO Outdoor Media LLC Total                          $51,741.92
              TOTAL                                                          $5,900,553.96




             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #3
             Payments to Creditors Within 90 Day Before Filing - 8

gk22k20124
             Case 23-12303-TWD            Doc 1      Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 101 of 127
             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #3 – Payments to Creditors
             Within 90 Days - KeyBank

              Date                Description                                       Amount
              9/11/2023           CURR INT PAYMNT                                 $21,664.20
              10/10/2023          CURR INT PAYMNT                                 $20,623.23
              8/24/2023           CURR PRIN PYMNT                                $102,243.74
              8/25/2023           CURR PRIN PYMNT                                $103,167.10
              8/28/2023           CURR PRIN PYMNT                                $332,593.02
              8/30/2023           CURR PRIN PYMNT                                 $38,405.00
              9/6/2023            CURR PRIN PYMNT                                $154,500.82
              9/7/2023            CURR PRIN PYMNT                                $232,755.34
              9/8/2023            CURR PRIN PYMNT                                $145,603.84
              9/11/2023           CURR PRIN PYMNT                                 $28,414.80
              9/12/2023           CURR PRIN PYMNT                                 $70,194.22
              9/14/2023           CURR PRIN PYMNT                                $144,996.16
              9/18/2023           CURR PRIN PYMNT                                $173,509.37
              9/19/2023           CURR PRIN PYMNT                                 $78,620.39
              9/20/2023           CURR PRIN PYMNT                                 $46,113.25
              9/22/2023           CURR PRIN PYMNT                                 $17,412.59
              9/25/2023           CURR PRIN PYMNT                                $170,496.87
              9/26/2023           CURR PRIN PYMNT                                $269,810.44
              9/28/2023           CURR PRIN PYMNT                                $102,367.62
              10/3/2023           CURR PRIN PYMNT                                $139,752.86
              10/4/2023           CURR PRIN PYMNT                                 $83,880.71
              10/5/2023           CURR PRIN PYMNT                                $172,027.21
              10/6/2023           CURR PRIN PYMNT                                $227,688.97
              10/10/2023          CURR PRIN PYMNT                                 $14,060.26
              10/12/2023          CURR PRIN PYMNT                                 $81,791.34
              10/17/2023          CURR PRIN PYMNT                                $238,738.65
              10/18/2023          CURR PRIN PYMNT                                $421,228.29
              10/19/2023          CURR PRIN PYMNT                                $156,558.52
              10/20/2023          CURR PRIN PYMNT                                 $60,984.45
              10/23/2023          CURR PRIN PYMNT                                $162,627.34
              10/24/2023          CURR PRIN PYMNT                                 $90,553.48
              10/25/2023          CURR PRIN PYMNT                                 $74,320.16
              10/26/2023          CURR PRIN PYMNT                                $106,356.19
              10/30/2023          CURR PRIN PYMNT                                $125,083.42
              TOTAL                                                            $4,409,143.85




             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #3
             Payments to Creditors Within 90 Day Before Filing – KeyBank - 1

gk22mc0106
             Case 23-12303-TWD            Doc 1     Filed 11/27/23       Ent. 11/27/23 17:49:33   Pg. 102 of 127
             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #3 – Payments to Creditors
             Within 90 Days – Bank of America

              Date                  Description                     Amount
              10/3/2022             Credit Card                   $32,324.31
              10/17/2022            Credit Card                   $35,000.00
              10/24/2022            Credit Card                   $30,000.00
              11/2/2022             Credit Card                   $25,000.00
              11/8/2022             Credit Card                   $30,000.00
              11/15/2022            Credit Card                   $30,000.00
              11/22/2022            Credit Card                   $31,000.00
              12/1/2022             Credit Card                   $32,000.00
              12/5/2022             Credit Card                   $29,000.00
              12/13/2022            Credit Card                   $45,000.00
              12/23/2022            Credit Card                   $33,000.00
              1/3/2023              Credit Card                   $30,000.00
              1/4/2023              Credit Card                   $20,000.00
              1/9/2023              Credit Card                   $25,000.00
              1/10/2023             Credit Card                   $30,000.00
              1/19/2023             Credit Card                   $28,000.00
              1/30/2023             Credit Card                   $26,000.00
              2/2/2023              Credit Card                   $23,000.00
              2/13/2023             Credit Card                   $34,000.00
              2/24/2023             Credit Card                   $40,000.00
              3/1/2023              Credit Card                   $28,000.00
              3/13/2023             Credit Card                   $42,000.00
              3/31/2023             Credit Card                   $30,000.00
              4/18/2023             Credit Card                   $40,000.00
              4/28/2023             Credit Card                   $40,000.00
              5/16/2023             Credit Card                   $50,000.00
              6/1/2023              Credit Card                   $50,000.00
              6/5/2023              Credit Card                   $19,000.00
              6/20/2023             Credit Card                   $40,000.00
              7/6/2023              Credit Card                   $40,010.00
              7/17/2023             Credit Card                   $40,017.00
              7/26/2023             Credit Card                   $40,026.00
              8/10/2023             Credit Card                   $40,000.00
              8/25/2023             Credit Card                   $40,025.00
              9/5/2023              Credit Card                   $60,005.00
              9/18/2023             Credit Card                   $40,018.00
              9/27/2023             Credit Card                   $60,027.00
              10/16/2023            Credit Card                   $40,016.00
              10/30/2023            Credit Card                   $50,030.00
              TOTAL                                            $1,397,498.31

             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #3
             Payments to Creditors Within 90 Day Before Filing – Bank of America - 1

gk22mg01ct
             Case 23-12303-TWD            Doc 1      Filed 11/27/23       Ent. 11/27/23 17:49:33   Pg. 103 of 127
             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #4 – Insider Payments or Other
             Transfers (1 Year)

              ERIC SORENSON
              Date       Memo                                                    Amount
              10/12/2022 Note Payment                                           $85,671.34
              11/14/2022 Note Payment                                           $85,671.34
              12/13/2022 Note Payment                                           $85,671.34
              1/13/2023  Note Payment                                           $85,671.34
              2/14/2023  Note Payment                                           $85,671.34
              3/16/2023  Note Payment                                           $85,671.00
              4/14/2023  Note Payment                                           $85,671.34
              TOTAL                                                            $599,699.04


              JOHN ROSENBERG
              Date       Memo                                                  Amount
              10/28/2022 Trip to Alaska Office                                    $345.34
              11/9/2022  Cell Phone Reimbursement Sep-Oct                         $100.00
              1/5/2023   Cell Phone Reimbursement Nov                              $50.00
              5/4/2023   Cell Phone + KC Conference                             $1,590.76
              6/20/2023  June Cell + Equip/Supplies Reimbursements                $285.41
              8/31/2023  July-August Cell Reimb.                                  $100.00
              10/13/2023 Cell+Supp                                                $214.38
              TOTAL                                                             $2,685.89


              KAREN WATERS
              Date       Memo                                                    Amount
              10/13/2022 Xfinity Mobile / Verizon                                 $213.84
              10/28/2022 Auto Lease                                               $643.00
              11/9/2022  Xfinity Mobile / Verizon                                 $207.59
              12/1/2022  Xfinity Mobile / Verizon                                 $848.12
              12/23/2022 Uber / HI trip                                           $753.30
              1/5/2023   Xfinity Mobile / Verizon                                 $132.03
              1/19/2023  Auto Lease                                               $759.13
              2/2/2023   Xfinity Mobile / Verizon                                 $132.75
              2/15/2023  Uber / Utah trip                                          $75.54
              3/2/2023   Auto Lease                                               $776.92
              4/7/2023   Xfinity Mobile / Verizon                                 $776.35
              5/4/2023   Auto Lease                                               $643.00
              5/18/2023  Xfinity Mobile / Verizon                                 $134.01
              6/1/2023   Verizon                                                  $775.63

             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #4
             Insider Payments or Other Transfers (1 Year) - 1

gk22jj01eh
             Case 23-12303-TWD             Doc 1      Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 104 of 127
              KAREN WATERS
              Date       Memo                                                    Amount
              6/29/2023                                                             $643.00
              7/14/2023                                                             $132.81
              7/27/2023  Rental                                                     $703.00
              8/18/2023                                                             $763.00
              9/14/2023  Verizon                                                    $120.00
              10/13/2023 Biannual equipment allowance                             $1,049.05
              10/27/2023                                                            $643.00
              TOTAL                                                              $10,925.07


              KURT BECKETT
              Date       Memo                                                    Amount
              10/1/2022                                                           $4,591.90
              12/1/2022                                                           $1,793.74
              12/23/2022                                                          $8,927.70
              3/2/2023                                                            $2,416.53
              5/18/2023                                                           $1,586.43
              8/18/2023                                                           $2,463.22
              8/31/2023                                                           $6,370.65
              10/13/2023                                                          $3,466.23
              TOTAL                                                              $31,616.40


              RON DOTZAUER
              Date       Memo                                                  Amount
              10/12/2023 Ron’s Check was Deposited through S360                 $2,270.19
              TOTAL                                                             $2,270.19


              YONG LEE
              Date       Memo                                                  Amount
              10/1/2022                                                           $394.50
              10/28/2022 Expenses                                                $2,116.00
              12/1/2022                                                           $616.00
              12/23/2022                                                          $928.07
              1/19/2023                                                         $3,216.06
              2/2/2023                                                          $1,391.08
              3/2/2023                                                            $973.00
              4/7/2023                                                          $1,801.50
              5/4/2023   Expenses                                                 $888.50
              5/18/2023                                                           $584.90
              6/20/2023                                                           $484.50
              7/14/2023                                                           $763.64
             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #4
             Insider Payments or Other Transfers (1 Year) - 2

gk22jj01eh
             Case 23-12303-TWD             Doc 1      Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 105 of 127
              YONG LEE
              Date       Memo                                                  Amount
              8/18/2023                                                          $1,435.50
              9/14/2023                                                            $955.50
              10/27/2023                                                           $311.40
              TOTAL                                                             $16,860.15




             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #4
             Insider Payments or Other Transfers (1 Year) - 3

gk22jj01eh
             Case 23-12303-TWD             Doc 1      Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 106 of 127
             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #14 – Previous Addresses Used by the Debtor Within 3 Years
             Before Filing Bankruptcy Case

              Office Location                            Start Date             End Date          Type                              Status
              1220 Main St., Suite 230                      10/3/2018            12/31/2021 Lease                     Closed
              Vancouver, WA
              919 Congress, Suite 1100                      11/24/2014              9/30/2023 Lease                   Closed
              Austin, TX 78701
              317 Commercial St. NE                            1/1/2017             1/31/2022 Lease                   Closed
              Albuquerque, NM 87102
              999 18th St., Suite N2155                        4/7/2017             8/31/2022 Lease                   Moved to new location
              Denver, CO 80202
              505 Don Gasper Ave.                              8/1/2020             1/31/2023 Lease                   Moved to new location
              Santa Fe, NM 87505
              1239 Paseo De Peralta                            2/1/2023             9/30/2023 Sublease                Converted to WFH
              Santa Fe, NM 87501
              621 N 5th Ave.                                   4/1/2012             3/31/2022 Lease                   Moved to new location
              Phoenix, AZ 85003
              350 10th Ave.                                                         7/31/2023 Community Office        Moved to new location
              San Diego, CA 92101                                                             Space Rental
              318 E 6th Ave.                                   3/1/2017            10/31/2023 Lease                   Moved to new location
              Helena, MT 59601
              714 W Olympic Blvd.                              5/1/2018             7/31/2020 Lease                   Moved to new location
              Los Angeles, CA 90015
              20 Pacifica, Suite 260                         2/17/2022                see notes Lease                 Vacant since 7/31/2022, sublessee
              Irvine, CA 92618                                                                                        moving in January 2024 through end
                                                                                                                      of lease 2/28/2027
              445 S Figueroa St. Ste 2300                      8/1/2020               see notes Lease                 Sublessee moved in 6/1/2023, leased
              Los Angeles, CA 90071                                                                                   through end of lease 11/30/2025



             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #14 – Previous Addresses Used by Debtor (3 Years)- 1


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                                  Case 23-12303-TWD             Doc 1      Filed 11/27/23        Ent. 11/27/23 17:49:33   Pg. 107 of 127
             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #30 – Insider Payments,
             Distributions, or Withdrawals (1 Year)
              Date                     Name                                     Amount     Memo
              10/14/2022               Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              11/15/2022               Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              12/13/2022               Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              1/12/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              1/30/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              2/15/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              3/15/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              5/15/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              6/14/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              7/14/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              8/15/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              9/12/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              10/12/2023               Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              10/4/2022                Toyota Financial for Ron                $1,448.06   Car Payment
              11/4/2022                Toyota Financial for Ron                $1,448.06   Car Payment
              12/5/2022                Toyota Financial for Ron                $1,448.06   Car Payment
              1/4/2023                 Toyota Financial for Ron                $1,448.06   Car Payment
              2/6/2023                 Toyota Financial for Ron                $1,448.06   Car Payment
              3/6/2023                 Toyota Financial for Ron                $1,448.06   Car Payment
              4/4/2023                 Toyota Financial for Ron                $1,448.06   Car Payment
              5/4/2023                 Toyota Financial for Ron                $1,448.06   Car Payment
              6/5/2023                 Toyota Financial for Ron                $1,448.06   Car Payment
              9/8/2023                 Toyota Financial for Ron                $2,200.15   Car Payment
              9/6/2023                 Ron Dotzauer (Vendor),                  $2,200.15   Car Payment
                                       Reimbursing for Car
                                       Payment made by Ron
              10/3/2023                Toyota Financial for Ron                $2,200.15 Car Payment
              TOTAL                                                           $62,966.28

              RONALD D. DOTZAUER
              Pay Date      Gross Pay         Take Home
              11/15/2022           $59,583.33    $39,411.79
              11/30/2022           $39,583.33   $26,637.79

             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #30
             Insider Payments, Distributions, or Withdrawals (1 Year) - 1

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             Case 23-12303-TWD             Doc 1       Filed 11/27/23       Ent. 11/27/23 17:49:33   Pg. 108 of 127
              RONALD D. DOTZAUER
              Pay Date      Gross Pay         Take Home
              12/15/2022           $39,583.33    $26,637.80
              12/30/2022           $59,583.33    $40,167.79
              01/13/2023           $39,583.33    $24,325.66
              01/31/2023           $39,583.33    $24,325.64
              02/15/2023           $47,583.33    $29,267.09
              02/28/2023           $47,583.33    $30,176.24
              03/15/2023           $39,583.33    $26,881.58
              03/31/2023           $39,583.33    $26,643.42
              04/14/2023           $39,583.33    $26,643.42
              04/28/2023           $68,583.33    $46,261.93
              05/15/2023           $54,583.33    $36,790.92
              05/31/2023           $69,583.33    $46,938.42
              06/15/2023           $39,583.33    $26,643.42
              06/30/2023           $58,083.33    $39,158.68
              07/14/2023           $39,583.33    $26,643.42
              07/31/2023           $46,733.33    $31,480.39
              08/15/2023           $46,733.33    $31,480.39
              08/31/2023           $39,583.33    $26,643.42
              09/15/2023           $39,583.33    $26,643.43
              09/29/2023           $39,583.33    $26,643.42
              10/13/2023           $46,733.33    $31,480.40
              10/31/2023            $9,600.00     $6,359.69
              TOTAL                             $724,286.15




             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #30
             Insider Payments, Distributions, or Withdrawals (1 Year) - 2

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             Case 23-12303-TWD             Doc 1       Filed 11/27/23       Ent. 11/27/23 17:49:33   Pg. 109 of 127
              KAREN A. WATERS
              Pay Date       Gross Pay         Take Home
              11/15/2022            $18,750.00    $14,215.62
              11/30/2022            $27,412.00    $19,656.04
              12/15/2022            $18,750.00    $14,215.63
              12/30/2022            $52,576.00    $34,933.84
              01/13/2023            $18,750.00    $12,447.24
              01/31/2023            $37,241.00    $22,100.98
              02/15/2023            $18,750.00    $12,447.25
              02/28/2023            $23,745.00    $15,145.13
              03/15/2023            $18,750.00    $12,447.25
              03/31/2023            $24,405.00    $15,489.79
              04/14/2023            $18,750.00    $12,460.19
              04/28/2023            $26,240.00    $18,227.60
              05/15/2023            $18,750.00    $13,670.46
              05/31/2023            $26,457.00    $18,117.51
              06/15/2023            $18,750.00    $13,550.13
              06/30/2023            $25,614.00    $17,627.73
              07/14/2023            $18,750.00    $13,550.14
              07/31/2023            $25,134.00    $17,348.85
              08/15/2023            $18,750.00    $13,550.14
              08/31/2023            $23,224.00    $16,239.13
              09/15/2023            $18,750.00    $13,550.13
              09/29/2023            $27,213.00    $18,556.76
              10/13/2023            $18,750.00    $13,550.13
              10/31/2023            $28,255.00    $20,365.93
              TOTAL                              $393,463.60




             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #30
             Insider Payments, Distributions, or Withdrawals (1 Year) - 3

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             Case 23-12303-TWD             Doc 1       Filed 11/27/23       Ent. 11/27/23 17:49:33   Pg. 110 of 127
              KURT A. BECKETT
              Pay Date       Gross Pay          Take Home
              11/15/2022            $14,583.33      $9,616.47
              11/30/2022            $14,583.33      $9,616.46
              12/15/2022            $14,583.33      $9,616.47
              12/30/2022            $19,977.33     $13,370.19
              01/13/2023            $14,583.33      $8,900.39
              01/31/2023            $19,333.33     $11,738.40
              02/15/2023            $14,583.33      $8,659.78
              02/28/2023            $16,833.33     $10,184.57
              03/15/2023            $14,583.33      $8,659.79
              03/31/2023            $16,083.33      $9,676.30
              04/14/2023            $14,583.33      $8,659.79
              04/28/2023            $15,333.33      $9,168.06
              05/15/2023            $14,583.33      $8,659.77
              05/31/2023            $16,083.33      $9,676.32
              06/15/2023            $14,583.33      $9,403.55
              06/30/2023             $19,110.33    $12,901.19
              07/14/2023            $14,583.33      $9,605.11
              07/31/2023            $15,333.33     $10,069.96
              08/15/2023            $14,583.33      $9,517.59
              08/31/2023            $16,833.33     $11,174.72
              09/15/2023            $14,583.33      $9,517.59
              09/29/2023            $15,333.33     $10,069.97
              10/13/2023            $14,583.33      $9,517.59
              10/31/2023            $14,583.33      $9,517.59
              TOTAL                               $237,497.62




             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #30
             Insider Payments, Distributions, or Withdrawals (1 Year) - 4

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             Case 23-12303-TWD             Doc 1       Filed 11/27/23       Ent. 11/27/23 17:49:33   Pg. 111 of 127
              JOHN M. ROSENBERG
              Pay Date       Gross Pay         Take Home
              11/15/2022             $6,666.67     $4,551.37
              11/30/2022             $6,666.67     $4,551.38
              12/15/2022             $6,666.67     $4,551.35
              12/30/2022            $16,666.67    $10,897.76
              01/13/2023             $6,666.67     $4,584.15
              01/31/2023             $6,666.67     $4,584.13
              02/15/2023             $6,666.67     $4,584.15
              02/28/2023             $6,666.67     $4,584.15
              03/15/2023             $6,666.67     $4,584.15
              03/31/2023             $6,666.67     $4,584.13
              04/14/2023             $6,666.67     $4,584.15
              04/28/2023            $14,666.67     $9,697.47
              05/15/2023             $6,666.67     $4,584.15
              05/31/2023             $6,666.67     $4,584.13
              06/15/2023             $6,666.67     $4,584.15
              06/30/2023             $6,666.67     $4,584.15
              07/14/2023             $6,666.67     $4,545.47
              07/31/2023             $6,666.67     $4,545.48
              08/15/2023             $6,666.67     $4,545.47
              08/31/2023             $6,666.67     $4,545.47
              09/15/2023             $6,666.67     $4,545.49
              09/29/2023             $6,666.67     $4,545.46
              10/13/2023             $6,666.67     $4,545.47
              10/31/2023             $6,666.67     $4,545.49
              TOTAL                              $121,038.72




             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #30
             Insider Payments, Distributions, or Withdrawals (1 Year) - 5

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             Case 23-12303-TWD             Doc 1       Filed 11/27/23       Ent. 11/27/23 17:49:33   Pg. 112 of 127
              YONG J. LEE
              Pay Date                   Gross Pay         Take Home
              11/15/2022                        $12,500.00     $8,523.30
              11/30/2022                        $12,500.00     $8,575.04
              12/15/2022                        $12,500.00     $8,523.30
              12/30/2022                        $22,500.00    $14,713.68
              01/13/2023                        $13,541.67     $8,682.30
              01/31/2023                        $13,541.67     $8,734.05
              02/15/2023                        $13,541.67     $8,682.30
              02/28/2023                        $13,541.67     $8,734.04
              03/15/2023                        $13,541.67     $8,682.31
              03/31/2023                        $13,541.67     $8,734.04
              04/14/2023                        $13,541.67     $8,682.30
              04/28/2023                        $13,541.67     $8,734.06
              05/15/2023                        $13,541.67     $8,682.29
              05/31/2023                        $15,104.17     $9,621.04
              06/15/2023                        $16,666.67    $10,456.30
              06/30/2023                        $16,666.67    $11,193.89
              07/14/2023                        $16,366.67    $11,395.99
              07/31/2023                        $16,366.67    $11,420.33
              08/15/2023                        $16,366.67    $10,999.71
              08/31/2023                        $16,366.67    $11,051.47
              09/15/2023                        $16,366.67    $10,999.71
              09/29/2023                        $16,366.67    $11,051.46
              10/13/2023                        $16,366.67    $10,999.71
              10/31/2023                        $16,366.67    $11,051.47
              TOTAL                                          $238,924.09




             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #30
             Insider Payments, Distributions, or Withdrawals (1 Year) - 6

gk22fs01y6
             Case 23-12303-TWD             Doc 1       Filed 11/27/23       Ent. 11/27/23 17:49:33   Pg. 113 of 127
             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #30
             Insider Payments, Distributions, or Withdrawals (1 Year) - 7

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             Case 23-12303-TWD             Doc 1       Filed 11/27/23       Ent. 11/27/23 17:49:33   Pg. 114 of 127
             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #30 – Insider Payments,
             Distributions, or Withdrawals (1 Year)

              Date                     Name                                     Amount     Memo
              10/14/2022               Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              11/15/2022               Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              12/13/2022               Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              1/12/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              1/30/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              2/15/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              3/15/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              5/15/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              6/14/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              7/14/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              8/15/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              9/12/2023                Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              10/12/2023               Ron Dotzauer (Vendor)                   $3,333.33   Boat Payment
              10/4/2022                Toyota Financial for Ron                $1,448.06   Car Payment
              11/4/2022                Toyota Financial for Ron                $1,448.06   Car Payment
              12/5/2022                Toyota Financial for Ron                $1,448.06   Car Payment
              1/4/2023                 Toyota Financial for Ron                $1,448.06   Car Payment
              2/6/2023                 Toyota Financial for Ron                $1,448.06   Car Payment
              3/6/2023                 Toyota Financial for Ron                $1,448.06   Car Payment
              4/4/2023                 Toyota Financial for Ron                $1,448.06   Car Payment
              5/4/2023                 Toyota Financial for Ron                $1,448.06   Car Payment
              6/5/2023                 Toyota Financial for Ron                $1,448.06   Car Payment
              9/8/2023                 Toyota Financial for Ron                $2,200.15   Car Payment
              9/6/2023                 Ron Dotzauer (Vendor),                  $2,200.15   Car Payment
                                       Reimbursing for Car
                                       Payment made by Ron
              10/3/2023                Toyota Financial for Ron                $2,200.15 Car Payment
              TOTAL                                                           $62,966.28




             Strategies 360, Inc.
             Attachment to Statement of Financial Affairs #30
             Insider Payments, Distributions, or Withdrawals (1 Year) - 1

gk22j601td
             Case 23-12303-TWD             Doc 1       Filed 11/27/23       Ent. 11/27/23 17:49:33   Pg. 115 of 127
                                                      United States Bankruptcy Court
                                                           Western District of Washington
 In re    Strategies 360, Inc.                                                                                    Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
John Oceguera                                                                     5%
7859 W Wigwam Ave
Las Vegas, NV 89113

Ron Dotzauer                                                                      95%
1505 Westlake Ave N #1000
Seattle, WA 98109


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Financial Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



Date November 27, 2023                                                   Signature /s/ John Rosenberg
                                                                                        John Rosenberg

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders




         Case 23-12303-TWD                     Doc 1         Filed 11/27/23              Ent. 11/27/23 17:49:33                    Pg. 116 of 127
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                        US ATTORNEY
                        ATTN BANKRUPTCY ASSISTANT
                        700 STEWART ST #5220
                        SEATTLE, WA 98101-4438


                        INTERNAL REVENUE SVC (PHIL)
                        CENTALIZED INSOL OPERATIONS
                        PO BOX 7346
                        PHILADELPHIA, PA 19101-7346


                        US TREASURY
                        SECRETARY OF THE TREASURY
                        1500 PENNSYLVANIA AVE NW
                        WASHINGTON, DC 20220


                        WA DEPT OF REV-SEA
                        BANKRUPTCY/CLAIMS UNIT
                        2101 4TH AVE #1400
                        SEATTLE, WA 98121-2300


                        WA DEPT OF L&I-OLY
                        COLLECTIONS
                        PO BOX 44171
                        OLYMPIA, WA 98504-4171


                        WA DEPT OF EMP SEC-OLY
                        UI TAX ADMIN
                        PO BOX 9046
                        OLYMPIA, WA 98507-9046


                        WA ATTORNEY GENERAL
                        BANKRUPTCY & COLLECTIONS UNIT
                        800 5TH AVE #2000
                        SEATTLE, WA 98104


                        THOMAS A. BUFORD
                        BUSH KORNFELD LLP
                        601 UNION ST., SUITE 5000
                        SEATTLE, WA 98101-2373


                        STRATEGIES 360, INC.
                        1505 WESTLAKE AVE N, SUITE 1000
                        SEATTLE, WA 98109




    Case 23-12303-TWD   Doc 1   Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 117 of 127
                    UNITED STATES OF AMERICA
                    INTERNAL REVENUE SERVICE
                    915 SECOND AVE.
                    SEATTLE, WA 98174


                    ATTORNEY GENERAL OF THE
                     UNITED STATES
                    US DEPARTMENT OF JUSTICE
                    950 PENNSYLVANIA AVE. NW
                    WASHINGTON, DC 20530-0001


                    U.S. SMALL BUSINESS ADMIN.
                    510 L STREET
                    ROOM 310
                    ANCHORAGE, AK 99501


                    U.S. SMALL BUSINESS ADMIN
                    LEGAL DEPT.
                    2401 FOURTH AVE. #400
                    SEATTLE, WA 98121


                    1660 LINCOLN ST. PROPERTY, LLC
                    C/O WESTPORT CAPITOL PARTNERS
                    ATTN: PETER MORGAN
                    2121 ROSECRANS AVE STE 4325
                    EL SEGUNDO, CA 90245


                    1660 LINCOLN ST. PROPERTY, LLC
                    C/O WESTPORT CAPITOL PARTNERS
                    ATTN: MARC POROSOFF, ESQ
                    300 ATLANTIC ST STE 1110
                    STANFORD, CT O6901


                    1660 LINCOLN ST. PROPERTY, LLC
                    C/O UNICO PROPERTIES LLC
                    ATTN: PROPERTY MANAGER
                    1660 LINCOLN ST STE 2300
                    DENVER, CO 80264


                    ADAMS, DUERK & KAMENSTEIN
                    445 S FIGUEROA ST
                    STE 2300
                    LOS ANGELES, CA 90071


                    ADOBE INC.
                    345 PARK AVENUE
                    SAN JOSE, CA 95110-2704


Case 23-12303-TWD   Doc 1   Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 118 of 127
                    ALL COPY PRODUCTS
                    1635 W. 13TH AVE
                    DENVER, CO 80204


                    ARIZONA NEWS SERVICE
                    PO BOX 1051
                    WILLIAMSPORT, PA 17703


                    BASIS GLOBAL TECHNOLOGIES, INC
                    11 E MADISON ST., 6TH FLOOR
                    CHICAGO, IL 60602


                    BEACON CAPITAL PARTNERS LLC
                    ATTN: GENERAL COUNSEL
                    200 STATE ST 5TH FLOOR
                    BOSTON, MA O2109


                    BRAVE THE WOODS
                    1053 W DARRAH DR
                    MERIDIAN, ID 83646


                    BRAVE THE WOODS
                    1054 W DARRAH DR
                    MERIDIAN, ID 83646


                    CALTRONICS BUSINESS SYSTEMS
                    2431 MERCANTILE DR
                    RANCHO CORDOVA, CA 95742


                    CALTRONICS BUSINESS SYSTEMS
                    C/O WELLS FARGO
                    PO BOX 3072
                    CEDAR RAPIDS, IA 52406-3072


                    CANOPY JACKSON SQUARE, LLC
                    ATTN: FINANCE ADMINISTRATION
                    595 PACIFIC AVE
                    FLOOR 4
                    SAN FRANCISCO, CA 94133


                    CAPITOL PORT HOLDINGS LLC
                    C/O STANDARD COMMERCIAL LLC
                    201 MERCHANT ST
                    STE 2228
                    HONOLULU, HI 96813



Case 23-12303-TWD   Doc 1   Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 119 of 127
                    CDW DIRECT
                    PO BOX 75723
                    CHICAGO, IL 60675-5723


                    CELIGO
                    1820 GATEWAY DRIVE
                    SUITE 260
                    SAN MATEO, CA 94404


                    CHARLESTON PAVILION L.L.C.
                    10801 W CHARLESTON BLVD
                    STE 757
                    LAS VEGAS, NV 89135


                    DIVCO WEST REAL ESTATE SRVCS
                    ATTN: ASSET MANAGER
                    301 HOWARD ST
                    STE 2100
                    SAN FRANCISCO, CA 94015


                    DOCUSIGN INC
                    PO BOX 73573
                    DALLAS, TX 75373


                    DROPBOX
                    1800 OWENS ST
                    SUITE 200
                    SAN FRANCISCO, CA 94158


                    DWF V WEST LAKE LLC
                    C/O DIVCO REAL ESTATE SRVCS
                    ATTN: GENERAL COUNSEL
                    301 HOARD ST STE 2100
                    SAN FRANCISCO, CA 94105


                    EIDOLON
                    9803 NEWHAVEN LOOP
                    ANCHORAGE, AK 99507


                    EIGHTH AND MAIN LLC ET AL.
                    ATTN: CHRISTIAN GARDNER
                    201 SOUTH MAIN ST
                    STE 2000
                    SALT LAKE CITY, UT 84111




Case 23-12303-TWD   Doc 1   Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 120 of 127
                    ERIC SORENSON
                    C/O CHRISTOPHER M. WYANT
                    K&L GATES
                    925 FOURTH AVENUE, SUITE 2900
                    SEATTLE, WA 98104


                    ESP
                    317 EAST 37TH STREET
                    BOISE, ID 83714


                    FACEBOOK
                    15161 COLLECTIONS CENTER DRIVE
                    CHICAGO, IL 60693


                    FISHER'S TECHNOLOGY
                    575 E 42ND ST
                    BOISE, ID 83702


                    GOOGLE INC.
                    P.O. BOX 883654
                    LOS ANGELES, CA 90088


                    GROSSBERG YOCHELSON
                    ATTN. RICHARD F LEVIN
                    1200 NEW HAMPSHIRE AVE, SUITE
                    WASHINGTON, DC 20036


                    HOOLIGAN
                    119 5TH AVE.
                    NEW YORK, NY 10003


                    HUGHES SEATTLE, INC.
                    317 N CRUSE AVE
                    STE 202
                    HELENA, MT 59601


                    IN THE BAG PROMOTIONS
                    480 N. LATAH ST.
                    BOISE, ID 83706


                    JAGO INC.
                    4320 196TH ST. SW, SUITE B-246
                    LYNNWOOD, WA 98036




Case 23-12303-TWD   Doc 1   Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 121 of 127
                    JAGO INC.
                    4321 196TH ST. SW, SUITE B-246
                    LYNNWOOD, WA 98036


                    JAGO INC.
                    4322 196TH ST. SW, SUITE B-246
                    LYNNWOOD, WA 98036


                    JAKE POSEY
                    TH POSEY FIRM, PC
                    919 CONGRESS, SUITE 1100
                    AUSTIN, TX 78701


                    JEAN K LLC
                    C/O PRIME LOCATIONS INC
                    321 CLEVELAND AVE SE
                    STE 101
                    TUMWATER, WA 98501


                    KANDJI
                    101 WEST BROADWAY
                    SUITE 1440
                    SAN DIEGO, CA 92101


                    KBS CAPITAL ADVISORS LLC
                    ATTN: MR. TIM HELGESON
                    800 NEWPORT CENTER DR
                    STE 700
                    NEWPORT BEACH, CA 92660


                    KBSII 445 SOUTH FIGUEROA, LLC
                    C/O KBS CAPITAL ADVISORS LLC
                    800 NEWPORT CENTER DR
                    STE 700
                    NEWPORT BEACH, CA 92660


                    KEYBANK NATIONAL ASSOCIATION
                    1301 5TH AVENUE
                    SEATTLE, WA 98101


                    KGS RESEARCH INC.
                    (REVOLUTION CAPITAL)
                    1050 E FLAMINGO RD, SUITE E120
                    LAS VEGAS, NV 89119




Case 23-12303-TWD   Doc 1   Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 122 of 127
                    KNOWBE4
                    33 N GARDEN AVE SUITE 1200
                    CLEARWATER, FL 33755


                    KOENIG LAW FIRM
                    15635 ALTON PKWY STE 475
                    IRVINE, CA 92618


                    LASTPASS US LP
                    333 SUMMER STREET
                    BOSTON, MA 02210


                    LB OWNER, LLC
                    PO BOX 889229
                    LOS ANGELES, CA 90088


                    MARY'S ROSE VIDEO MARKETING
                    721 DEPOT DRIVE
                    ANCHORAGE, AK 99501


                    MARY'S ROSE VIDEO MARKETING
                    722 DEPOT DRIVE
                    ANCHORAGE, AK 99501


                    MARY'S ROSE VIDEO MARKETING
                    723 DEPOT DRIVE
                    ANCHORAGE, AK 99501


                    MOI - DC
                    BOX 826500
                    PHILADELPHIA, PA 19182


                    OC COMMUNICATIONS
                    C/O HOLMES WEDDLE BARCOTT
                    ATTN: NATALIE A. CALE
                    701 W 8TH AVE., SUITE 700
                    ANCHORAGE, AK 99051


                    OC COMMUNICATIONS ATTN CEO
                    C/O VICINITY COMMERCIAL MGMT
                    301 W NORTHERN LIGHT BLVD #303
                    ANCHORAGE, AK 99503




Case 23-12303-TWD   Doc 1   Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 123 of 127
                    ORACLE AMERICA, INC.
                    2300 ORACLE WAY
                    AUSTIN, TX 78741


                    PAC WEST OFFICE EQUITIES LP
                    C/O RUBICON PROPERTY MANAGER
                    555 CAPITOL MALL STE 130
                    SACRAMENTO, CA 95814


                    PERIMETER 81 LLC
                    157 W 18TH ST 7TH FLOOR
                    NEW YORK, NY 10011


                    REGUS MANAGEMENT GROUP LLC
                    C/OCA,SAN DIEGO,SPACES,UTWNCTR
                    4660 LA JOLLA VILLAGE DR
                    STE 100 & 200
                    SAN DIEGO, CA 92122


                    RN PROPERTIES THE PARK, LLC
                    4455 E CAMELBACK RD
                    STE C-140
                    PHOENIX, AZ 85018


                    RON DOTZAUER
                    1505 WESTLAKE AVE N,#1000
                    SEATTLE, WA 98109


                    RON DOTZAUER
                    1505 WESTERN AVE N #1000
                    SEATTLE, WA 98109


                    SAGO (SCHLESINGER GROUP)
                    PO BOX 360764
                    PITTSBURGH, PA 15251


                    SMITH BUNDAY BERMAN
                     BRITTON, P.S.
                    11808 NORTHUP WAY, SUITE 240
                    BELLEVUE, WA 98005


                    STRATEGIC RESEARCH ASSOC. LLC
                    29 W PACIFIC AVE.
                    SPOKANE, WA 99201




Case 23-12303-TWD   Doc 1   Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 124 of 127
                    TEAM LABS, INC.
                    228 PARK AVE S
                    PMB 85099
                    NEW YORK, NY 10003


                    TEAM LABS, INC. DBA TEAMPAY
                    234 5TH AVENUE
                    SUITE 502
                    NEW YORK, NY 10001


                    TEAMWORK CREW LIMITED
                    TEAMWORK CAMPUS ONE
                    BLACKPOOL RETAIL PARK
                    BLACKPOOL, CORK T23 F902


                    THE IRVINE COMPANY LLC
                    ATTN: PROPERTY MANAGER
                    200 SPECTRUM CENTER DR #1200
                    IRVINE, CA 92618


                    THE IRVINE COMPANY LLC
                    ATTN SR. VP, OPS. IRVINE OFF
                    550 NEWPORT CENTER DRIVE
                    NEWPORT BEACH, CA 92660


                    THE KNOWLEDGE MILL, LLC
                    ATTN: KATE DOVE
                    813 N FORD ST.
                    BURBANK, CA 91505


                    THE SIDECAR-HELENA INDEPENDENT
                    ATTN: FINANCE ADMINISTRATION
                    317 CRUSE AVE
                    STE 202
                    HELENA, MT 59601


                    TORII SOFTWARE, INC.
                    500 7TH AVE
                    NEW YORK, NY 10018


                    TREASURE VALLEY LITHO
                    29 N PHILLIPPI ST
                    BOISE, ID 83706




Case 23-12303-TWD   Doc 1   Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 125 of 127
                    TROUT JOUSTERS, LLC
                    4426 W DAWSON DR
                    MERIDIAN, ID 83646


                    USPA 601 NEW JERSEY, LLC
                    C/O PRINCIPAL RE INVESTORS
                    711 HIGH STREET
                    DES MOINES, IA 50392-1370


                    XEROX CORPORATION
                    PO BOX 660502
                    DALLAS, TX 75266-0501


                    XEROX FINANCIAL SERVICES
                    PO BOX 202882
                    DALLAS, TX 75320-2882


                    XEROX FINANCIAL SERVICES LLC
                    PO BOX 202882
                    DALLAS, TX 75320-2882


                    ZOOM VIDEO COMMUNICATIONS INC.
                    55 ALMADEN BLVD
                    6TH FLOOR
                    SAN JOSE, CA 95113




Case 23-12303-TWD   Doc 1   Filed 11/27/23   Ent. 11/27/23 17:49:33   Pg. 126 of 127
                                         United States Bankruptcy Court
                                             Western District of Washington
 In re   Strategies 360, Inc.                                                       Case No.
                                                            Debtor(s)               Chapter     11




                                CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Strategies 360, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




November 27, 2023                              /s/ Thomas A. Buford
Date                                           Thomas A. Buford
                                               Signature of Attorney or Litigant
                                               Counsel for Strategies 360, Inc.
                                               Bush Kornfeld LLP
                                               601 Union St., Suite 5000
                                               Seattle, WA 98101-2373
                                               (206) 292-2110 Fax:(206) 292-2104
                                               tbuford@bskd.com




         Case 23-12303-TWD           Doc 1    Filed 11/27/23       Ent. 11/27/23 17:49:33        Pg. 127 of 127
